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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


     In Re: National Prescription Opiate          )   MDL No. 1:17-cv-02804
     Litigation                                   )
                                                  )   CASE NO. 1:18-op-45090
     COUNTY OF SUMMIT, OHIO,                      )
     et al.,                                      )   JUDGE DAN AARON POLSTER
                                                  )
             Plaintiffs,                          )   MAGISTRATE JUDGE DAVID A. RUIZ
                                                  )
                     v.                           )
                                                  )   REPORT AND RECOMMENDATION
     PURDUE PHARMA L.P., et al.,                  )
                                                  )
             Defendants.                          )


             On May 25, 2018, the Distributor Defendants, 1 Pharmacy Defendants, 2 and

     Manufacturer Defendants 3 filed Motions to Dismiss the Second Amended Complaint. (R. 491,

     R. 497, R. 499). 4 On June 22, 2018, Plaintiffs filed an omnibus brief in opposition to the


1
  The motion to dismiss identifies the “Distributors” as AmerisourceBergen Drug Corporation,
Cardinal Health, Inc., and McKesson Corporation. (R. 491, PageID# 7455).
2
  The motion to dismiss identifies the “Pharmacies” as Walmart Inc., Rite Aid Corp., Walgreens
Boots Alliance, Inc., and CVS Health Corp. (R. 497, PageID# 7581).
3
  The motion to dismiss identifies the “Manufacturers” as Purdue Pharma LP, Purdue Pharma
Inc., and The Purdue Frederick Company Inc. (“Purdue”); Allergan Finance, LLC f/k/a Actavis,
Inc. f/k/a Watson Pharmaceuticals, Inc. (“Allergan/Actavis”); Watson Laboratories, Inc., Actavis
Pharma, Inc., Actavis LLC, Teva Pharmaceuticals, USA, Inc., and Cephalon, Inc. (“Teva”);
Johnson & Johnson (“J&J”); Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen
Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. (“Janssen”); Endo Health Solutions Inc.
and Endo Pharmaceuticals Inc. (“Endo”); Insys Therapeutics, Inc. (“Insys”); and Mallinckrodt
LLC (“Mallinckrodt”). (R. 499, PageID# 7632).
4
  On May 18, 2018, Plaintiffs filed their Second Amended Complaint (R. 477), which included
impermissible amendments. After the motions to dismiss were filed, Plaintiffs filed two
“corrected” Second Amended Complaints on May 29, 2018—a redacted version (R. 513) and a
sealed version. (R. 514). In order to maintain the integrity of the paragraph numbering from the
document initially filed on May 18, 2018, the Special Master advised the parties that the
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 motions. (R. 654). On July 13, 2018, Defendants filed their reply briefs. (R. 742, 744, 746). This

 report and recommendation addresses all three motions.

                                 I. Fed. R. Civ P. 12(b)(6) Standard

         When ruling upon a motion to dismiss filed under Fed. R. Civ. P. 12(b)(6), a court must

 accept as true all the factual allegations contained in the complaint. See Erickson v. Pardus, 551

 U.S. 89, 93-94 (2007); accord Streater v. Cox, 336 Fed. App’x 470, 474 (6th Cir. 2009).

 Nonetheless, a court need not accept conclusions of law as true. Under Fed. R. Civ. P. 8(a)(2), a

 pleading must contain a “short and plain statement of the claim showing that the pleader is

 entitled to relief.”

         As the Court held in [Bell Atlantic Corp. v.] Twombly, 550 U.S. 544, 127 S. Ct.
         1955, 167 L. Ed. 2d 929, the pleading standard Rule 8 announces does not require
         “detailed factual allegations,” but it demands more than an unadorned, the-
         defendant-unlawfully-harmed-me accusation. Id., at 555, 127 S. Ct. 1955, 167 L.
         Ed. 2d 929 (citing Papasan v. Allain, 478 U.S. 265, 286, 106 S. Ct. 2932, 92 L.
         Ed. 2d 209 (1986)). A pleading that offers “labels and conclusions” or “a
         formulaic recitation of the elements of a cause of action will not do.” 550 U.S., at
         555, 127 S. Ct. 1955, 167 L. Ed. 2d 929. Nor does a complaint suffice if it tenders
         “naked assertion[s]” devoid of “further factual enhancement.” Id., at 557, 127 S.
         Ct. 1955, 167 L. Ed. 2d 929.

         To survive a motion to dismiss, a complaint must contain sufficient factual matter,
         accepted as true, to “state a claim to relief that is plausible on its face.” Id., at 570,
         127 S.Ct. 1955. A claim has facial plausibility when the plaintiff pleads factual
         content that allows the court to draw the reasonable inference that the defendant is
         liable for the misconduct alleged. Id., at 556, 127 S.Ct. 1955. The plausibility
         standard is not akin to a “probability requirement,” but it asks for more than a
         sheer possibility that a defendant has acted unlawfully. Ibid. Where a complaint
         pleads facts that are “merely consistent with” a defendant's liability, it “stops short
         of the line between possibility and plausibility of ‘entitlement to relief.’” Id., at

 subsequent “corrected” filings not delete the impermissible amendments, but rather use strike-
 through font to denote those portions that were no longer operative. Although the parties’ briefs
 cite to R. 477, the court cites to R. 514 as it is the operative second amended complaint. For the
 sake of brevity, any reference to the “complaint” hereafter refers to R. 514. Public users unable
 to access the sealed version may refer to R. 513, where the paragraph numbers should parallel
 the citations to R. 514.


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        557, 127 S.Ct. 1955 (brackets omitted).

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. 544).

        A court “may dismiss a complaint for failure to state a claim ‘only if it is clear that no

 relief could be granted under any set of facts that could be proved consistent with the

 allegations.’” Trollinger v. Tyson Foods, Inc., 370 F.3d 602, 615 (6th Cir. 2004) (quoting

 Swierzkiewickz v. Sorema N.A., 534 U.S. 506, 514 (2002); Hishon v. King & Spalding, 467 U.S.

 69, 73 (1984)).

                             II. Factual Allegations of the Complaint 5

 A.     Increase in Opioid Use/Abuse and Overdose Deaths

        The complaint alleges that the Manufacturers and Distributors of opioids began in the late

 1990s to expand the use of opioids by developing a “deliberate marketing strategy” coupled with

 “deliberate efforts to evade restrictions on opioid distribution.” (R. 514 at ¶¶3-4). Plaintiffs

 allege that annual deaths from opioid overdoses increased sharply from 8,000 in 1999 to 20,000

 in 2009 and up to 33,000 in 2015. Id at ¶4. From 1999 through 2016, it is alleged that 350,000

 individuals died from an opioid overdose. Id at ¶5. More than 200,000 of those deadly overdoses

 involved prescription opioids. Id. For others who overdosed from non-prescription opioids, such

 as heroin, it is estimated that 80 percent of people who began abusing heroin in the past decade

 started with prescription opioids. Id. at ¶6. By 2014, nearly 2 million Americans were addicted to

 prescription opioids with another 600,000 addicted to heroin. (R. 514 at ¶16).




 5
   This report and recommendation provides only a brief overview of the voluminous factual
 allegations in the over 300 page complaint.



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 B.     Allegations of an Intentional Campaign to Increase Opioid Use

        Plaintiffs allege that the Manufacturers 6 initiated a massive marketing campaign based

 on false and misleading information to cause a dramatic increase in opioid prescriptions. (R. 514

 at ¶10). Despite knowing the highly addictive properties of opioids, the Manufacturers sought to

 dramatically increase sales by means of publications, websites, and educational programs,

 resulting in a fourfold increase in opioid sales since 1999 and $9.6 billion in opioid sales in 2015

 alone. Id. at ¶¶11-13. Plaintiffs allege the Manufacturers engaged in a series of marketing

 techniques that knowingly misrepresented both the risks and benefits of opioids for chronic pain

 treatment in order to “reverse the long-settled understanding of the relative risks and benefits of

 opioids.” (R. 514 at ¶¶174-175).

        1. Nine Categories of Misrepresentations

        Plaintiffs allege the Manufacturers employed the following “nine categories of

 misrepresentations” concerning opioid treatment: (1) the risk of addiction from chronic opioid

 therapy is low; (2) such risk can be easily identified and managed; (3) signs of addiction are

 “pseudoaddiction,” requiring more opioids; (4) withdrawal can be avoided by tapering; (5)

 dosage can be increased without additional risks; (6) long-term opioid use improves functioning;

 (7) alternative forms of pain relief are riskier; (8) OxyContin provides twelve hours of pain

 relief; and, (9) new formulas of certain opioids successfully deter abuse. (R. 514 at ¶177).

 Plaintiffs assert that all the above are false; that the Manufacturers knew them to be false; and,

 nonetheless, “set out to convince physicians, patients, and the public at large of the truth of each


 6
   Plaintiffs’ use of the term “Marketing Defendants” includes defendants that have
 “manufactured and sold” prescription opioids (R. 514 at ¶63), while those same defendants
 identify themselves as “Manufacturer Defendants” in their motion to dismiss. (R. 499). For the
 sake of consistency, the court refers to this category of defendants simply as “Manufacturers.”


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 of these propositions in order to expand the market for their opioids.” Id. at ¶178. The complaint

 proceeds to allege that each of the Manufacturers perpetuated the notion that the risk of addiction

 from opioid use is low. Id. at ¶¶180-232. The complaint also alleges how some of the other eight

 propositions were perpetuated. 7 Id. at ¶¶233-351.

        2.      Use of Front Groups, Key Opinion Leaders, and Continuing Medical
                Education Courses to Spread False and Misleading Information

        Plaintiffs further allege that Manufacturers funded and controlled advocacy groups,

 which Plaintiffs label as “front groups,” that distributed patient education materials and treatment

 guidelines that overstated the benefits of opioids for chronic pain treatment while understating

 the risks of addiction. (R. 514 at ¶¶350-354). The front groups were used to create the façade of

 “neutral and credible third parties” to influence opioid prescribing practices. Id. These front

 groups included both professional societies as well as patient advocacy organizations and

 received millions of dollars from the Manufacturers. Id. at ¶353. Plaintiffs further allege that

 individual executives, board members, and staff members of these front groups received

 substantial payments from the Manufacturers, many of whom were physicians on the

 Manufacturers’ payroll, as consultants or speakers at medical events. Id. at ¶¶354, 363. These

 front groups minimized addiction risks while promoting opioid use for chronic pain, criticized

 existing CDC guidelines for opioid prescribing, and lobbied against existing laws that curbed

 opioid use. Id. at 355. The Manufacturers allegedly guided, reviewed, and approved false and

 misleading statements issued by the front groups. Id. at ¶356.

        Plaintiffs identify numerous organizations that allegedly received funding from


 7
   The Plaintiffs acknowledge that “not every Marketing Defendant” propagated each of the nine
 misrepresentations, but asserts that liability is not predicated upon every Manufacturer
 perpetuating all nine misrepresentations. (R. 514 at ¶179).


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 Manufacturers and served as front groups to distribute tens of thousands of pamphlets and other

 materials containing misrepresentations regarding opioids. Those entities included: American

 Pain Foundation (APF), an off-shoot of APF, the National Initiative on Pain Control (NIPC),

 American Academy of Pain Medicine (AAPM), American Pain Society, Alliance for Patient

 Access (APA), the U.S. Pain Foundation, and the American Geriatrics Society. (R. 514 at ¶¶357-

 395). Plaintiffs also allege that the Federation of State Medical Boards (FSMB), a trade

 organization representing various state medical boards, received grants from Manufacturers for

 specific opioid and pain management programs. Id. at ¶¶377-382. Beginning in 1998, the FSMB

 began “developing treatment guidelines for the use of opioids for the treatment of pain,” that

 “was produced ‘in collaboration with pharmaceutical companies.’” Id. at ¶379. It is alleged that

 the 1998 Guidelines, as well as a subsequent FSMB publication entitled Responsible Opioid

 Prescribing, “convey[ed] the alarming message that ‘under-treatment of pain’ would result in

 official discipline, but no discipline would result if opioids were prescribed as part of an ongoing

 patient relationship and prescription decisions were documented.” (R. 514 at ¶¶381-382).

        Plaintiffs also allege that the Manufacturers “paid and cultivated a select circle of doctors

 who were chosen and sponsored” for their pro-opioid messages in order “to create the grave

 misperception science and legitimate medical professionals favored the wider and broader use of

 opioids.” (R. 514 at ¶396). Plaintiffs label these doctors “key opinion leaders” (KOLs). Id. at

 ¶¶176, 398. They were used “to present the appearance that unbiased and reliable medical

 research supporting the broad use of opioid therapy for chronic pain had been conducted and was

 being reported on by independent medical professionals.” Id. at ¶397. The publications of these

 physicians were funded by the Manufacturers as they supported the position that opioid

 treatment for chronic pain was appropriate, all while knowing these statements were false and


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 misleading. Id. at ¶¶401-403. According to the complaint, one of the KOLs later acknowledged

 in an interview that his earlier statements were “pseudoscience,” the primary goal of which was

 to destigmatize opioids. Id. at ¶¶410-11.

        The Manufacturers are alleged to have “created a body of false, misleading, and

 unsupported medical and popular literature about opioids that (a) understated the risks and

 overstated the benefits of long-term use; (b) appeared to be the result of independent, objective

 research; and (c) was likely to shape the perceptions of prescribers, patients, and payors.” (R.

 514 at ¶446). Plaintiffs allege the literature originated from the Manufacturers’ marketing

 departments and had no scientific research basis. Id. at ¶¶448-451. The Manufacturers

 “aggressively distributed their false message … through thousands of Continuing Medical

 Education Courses,” (CMEs), that physicians attended to maintain their licenses. (R. 514 at

 ¶¶429-432). These CMEs allegedly “inflate the benefits of opioids, and frequently omit or

 downplay their risks and adverse effects,” causing physicians that listened to these CMEs to be

 misled. Id. at ¶¶433, 440-41.

        3. Branded and Unbranded Advertising and Marketing

        Plaintiffs allege that the Manufacturers collectively spent more than $14 million on

 medical journal advertising of opioids in 2011, which included $8.3 million by Purdue, $4.9

 million by Janssen, and $1.1 million by Endo. (R. 514 at ¶442). These included journals

 targeting specialists, such as the Journal of Pain and Clinical Journal of Pain, as well as journals

 with a wider medical audience, such as the Journal of the American Medical Association. Id. It is

 further alleged that the Manufacturers promoted opioids through “unbranded advertising” that, in

 contrast to a “branded” advertisement, does not require the advertiser to include risks, possible

 side effects and contraindications. Id. at ¶444. Such advertising was directed at physicians and


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 consumers, as studies have shown that physicians are significantly more likely to prescribe a

 drug if a patient asks for it. Id. at ¶¶443-44. As an example one website contained testimonials

 from alleged pain advocates, who were paid significant sums by Defendant Purdue. Id. at ¶445.

        It is further alleged that the Manufacturers’ sales representatives met with “hundreds of

 thousands” of doctors “to disseminate their misrepresentations in targeted, one-on-one settings

 that allowed them to promote their opioids and to allay individual prescribers’ concerns about

 prescribing opioids for chronic pain.” Id. at ¶¶452-455. The Manufacturers, in 2014 alone, spent

 “$166 million on detailing branded opioids to doctors. This amount is twice as much as the

 Manufacturers spent on detailing in 2000. The amount includes $108 million spent by Purdue,

 $34 million by Janssen, $13 million by Teva, and $10 million by Endo.” Id. at ¶¶455-461.

 C. Distribution and Sales Allegations

       Since 1999, the onset of the Manufacturers’ alleged marketing actions, the amount of

 prescription opioids in the United States nearly quadrupled. (R. 514 at ¶12). Plaintiffs maintain

 that all Defendants were required to register as either manufacturers or distributors pursuant to

 21 U.S.C. § 823 and 21 C.F.R. §§ 1301.11, 1301.74. (R. 514 at ¶¶500-504). Plaintiffs allege the

 Defendants have a duty “to report suspicious orders and further to not ship those orders unless

 due diligence disproves those suspicions.” Id. at ¶¶501-505. Plaintiffs allege these duties stem

 from multiple sources including state law, common law, an assumed duty, and as registrants with

 the Drug Enforcement Agency (DEA) as manufacturers and/or distributors of Schedule II

 controlled substances. Id.

        Plaintiffs assert that the Controlled Substances Act (CSA) requires both the




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 Manufacturers and the Distributors 8 of Schedule II substances, such as opioids, to limit sales

 within a quota set by the DEA; register to manufacture or distribute opioids; maintain effective

 controls against diversion of the controlled substances that they manufacture or distribute; and to

 design and operate a system to identify suspicious orders of controlled substances, halt such

 unlawful sales, and report them to the DEA. Id. at ¶507. Plaintiffs allege Defendants failed to

 control the supply chain, prevent diversion, report suspicious orders, and halt shipments. Id. at

 ¶¶14, 518.

        Plaintiffs allege Defendants worked together to increase the supply of opioids and

 fraudulently increased the quotas that governed the manufacture and distribution of prescription

 opioids. (R. 514 at ¶¶526-528). It is alleged that the Manufacturers engaged in the practice of

 paying rebates and/or “chargebacks” to the Distributors for sales of prescription opioids to boost

 sales and refine their marketing efforts. Id. at ¶529. Defendants worked together through trade or

 other organizations, such as the Pain Care Forum (PCF) or the Healthcare Distribution Alliance

 (HDA) to increase opioid sales. Id. at ¶531. The PCF, which included the previously described

 front groups, Manufacturers and Distributors, spent $140 million to lobby state and national

 legislatures on an array of issues, including opioids. Id. at ¶¶533-535.

        Furthermore, Plaintiffs allege the HDA created a private network where representatives

 of the Manufacturers and Distributors could form relationships and create alliances between

 them and hold strategic business discussions between high-level executives. Id. at ¶¶535-540.


 8
   In the complaint, the Plaintiffs also classify the national retail pharmacy defendants as
 “Distributor Defendants.” (R. 514 at ¶¶107, 111-112, 124-128). These defendants, however,
 moved separately to dismiss the complaint and, in the Analysis section, the court differentiates
 between these two categories of defendants by referring to them either as “Distributors” or
 “Pharmacies.” For the purposes of this section only, the Plaintiffs’ references to the Distributor
 defendants in the complaint may encompass the Pharmacies.


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 Thus, Plaintiffs allege that the Manufacturers and Distributors were “not two separate groups

 operating in isolation or two groups forced to work together in a closed system,” but rather

 “operated together as a united entity, working together on multiple fronts, to engage in the

 unlawful sale of prescription opioids.” Id. at ¶¶543-46. It is alleged the Defendants worked

 together to ensure that the Aggregate Production Quotas, Individual Quotas and Procurement

 Quotas allowed by the DEA remained artificially high to ensure that suspicious orders were not

 reported to the DEA thereby giving the DEA no basis to refuse to increase production quotas due

 to diversion. Id. at ¶¶550-552. Defendants, it is alleged, were “on notice” of the problems of

 abuse and diversion caused “inescapably from the fact that they flooded communities with

 opioids in quantities that they knew or should have known exceeded any legitimate market for

 opioids-even the wider market for chronic pain.” Id. at ¶557.

        Further, Defendants were “in possession of national, regional, state, and local prescriber-

 and patient-level data that allowed them to track prescribing patterns over time.” Id. at ¶¶558-

 563. It is also alleged that “Defendants refused to identify, investigate and report suspicious

 orders to the DEA when they became aware of the same despite their actual knowledge of drug

 diversion rings.” Id. at ¶566. Plaintiffs allege Defendants also failed to report prolific prescribers,

 but instead focused their sales efforts on them to even further increase their prescribing. Id. at

 ¶¶569-578.

        Plaintiffs also allege that several Distributors and Manufacturers have either admitted,

 been fined for, or been charged with failing to report suspicious orders. (R. 514 at ¶¶580-593,

 595). The Defendants, through their trade associations, have acknowledged that “HDMA 9 and


 9
  HDMA is the Healthcare Distribution Management Association, the predecessor of HDA. (R.
 514 at ¶522).


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 NACDS members not only have statutory and regulatory responsibilities to guard against

 diversion of controlled prescription drugs, but undertake such efforts as responsible members of

 society.” Id. at ¶599. They further have stated in court filings that “Distributors take seriously

 their duty to report suspicious orders, utilizing both computer algorithms and human review to

 detect suspicious orders based on the generalized information that is available to them in the

 ordering process.” Id. (emphasis added).

        It is alleged that the Manufacturers marketed their products and disseminated their

 misrepresentations in the state of Ohio, and their nationwide “policies, plans, and procedures that

 were the same in Summit County as they were across the country.” (R. 514 at ¶¶671-672). Sales

 representatives from each of the Manufacturers visited prescribers in Summit County, which

 frequently coincided with payments to prescribers for “promotional speaking,” “food and

 beverage,” “consulting,” “travel and lodging,” “honoraria,” and “education.” Id. at ¶673. Summit

 County had an opioid prescription rate exceeding its population from 2008 to 2011—a rate that

 has remained higher than the national average. 10 Id. at ¶674.

                                             III. Analysis

 A. Counts One and Two: Federal RICO Claims

        In Count One of the complaint, Plaintiffs allege a civil violation of the Racketeer

 Influenced and Corrupt Organizations (RICO) Act § 1961 et seq. based on a marketing enterprise

 theory against the Manufactures, specifically Defendants Purdue, Cephalon, Janssen, Endo, and

 Mallinckrodt, whom the Plaintiffs refer to as “Marketing Defendants.” (R. 514, PageID# 11178).


 10
    The complaint states that from 2010 to 2016, according to Ohio data, Summit County, whose
 population is 540,000 residents, averaged 36.4 million doses of opioids dispensed per year, with
 a high of 39.5 million. (R. 514 at ¶689).



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 In Count Two, Plaintiffs allege a civil RICO violation based on a supply chain enterprise theory

 against both the Manufacturers and Distributors, specifically Defendants Purdue, Cephalon,

 Endo, Mallinckrodt, Actavis, McKesson, Cardinal, and AmerisourceBergen, whom Plaintiffs

 refer to as “Supply Chain Defendants.” Id. at PageID# 11187.

         The RICO Act includes a civil-suit provision that permits: “[a]ny person injured in his

 business or property by reason of” RICO’s substantive provisions to “sue…in any appropriate

 United States district court and shall recover threefold the damages he sustains and the cost of

 the suit, including a reasonable attorney’s fee….” 18 U.S.C. § 1964(c). If a defendant “engages

 in a pattern of racketeering activity in a manner forbidden by these provisions, and the

 racketeering activities injure the plaintiff in his business or property, the plaintiff has a claim

 under § 1964(c).” Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479, 495 (1985). The Supreme

 Court has instructed that “the RICO statute provides that its terms are to be ‘liberally construed

 to effectuate its remedial purposes.’” Boyle v. United States, 556 U.S. 938, 944 (2009) (citations

 omitted); accord Ray v. Spirit Airlines, Inc., 836 F.3d 1340, 1349 (11th Cir. 2016). The

 Defendants’ motions challenge Plaintiffs’ RICO standing, allege they failed to plead causation

 and necessary RICO elements, and assert that Plaintiffs’ supply chain enterprise theory attempts

 to bring a cause of action for violating the CSA for which they maintain there is no private right

 of action. (R. 491-1, PageID# 7477-7491, 499-1, PageID# 7664-7689).

         1. Standing

         “RICO’s civil-suit provision imposes two distinct but overlapping limitations on

 claimants—standing and proximate cause. Standing poses a threshold question involving

 constitutional, prudential and (as in this case) statutory limitations on who may sue, regardless of

 the merits of that person's claim.” Trollinger, 370 F.3d at 612 (citing Allen v. Wright, 468 U.S.


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 737, 750-51 (1984)). In addition,“[b]ecause Congress modeled this provision on similar language

 in the antitrust laws (§ 4 of the Clayton Act and § 7 the Sherman Act) and because the antitrust

 laws have been interpreted to require that a private plaintiff show proximate cause in order to

 have standing to sue, RICO civil claims also require proximate cause.” Trollinger, 370 F.3d at

 612 (citing Holmes v. Sec. Investor Prot. Corp., 503 U.S. 258, 267–68 (1992); Sedima, 473 U.S.

 at 496).

         The Defendants are correct in asserting that the standing requirements of a civil RICO

 claim require a plaintiff to allege (1) a direct injury, 11 and (2) the injury is to the plaintiff’s

 “business or property.” (R. 491-1, PageID# 7478-7486; R. 499-1, PageID# 7664). Plaintiffs

 summarize their alleged injuries into three categories: (1) public expenditures made in direct

 response to opioid use and trafficking; (2) lost tax revenue resulting from abuse, misuse, and

 addiction; and (3) losses caused by diminished property values. (R. 514 at ¶¶ 902, 934).

         a. Business or Property

         There is no dispute that a RICO claim requires injury to “business or property.” See, e.g.,

 Sedima, 473 U.S. at 496 (“the plaintiff only has standing [under RICO] if, and can only recover

 to the extent that, he has been injured in his business or property by the conduct constituting the

 violation”) (emphasis added); accord Ray, 836 F.3d at 1349. Plaintiffs do not contest that such a

 requirement exists, but rather argue that “[t]he harms that the Manufacturer and Distributor



 11
    The court views the “direct injury” requirement as a consideration in the proximate cause
 inquiry and, therefore, addresses it below. In re Neurontin Mktg. & Sales Practice Litig., 712
 F.3d 21, 36 (1st Cir. 2013) (citing Holmes, 503 U.S. at 274 (“our use of the term ‘direct’ should
 merely be understood as a reference to the proximate-cause enquiry”)); see also Wallace v.
 Midwest Fin. & Mortg. Servs., Inc., 714 F.3d 414, 419 (6th Cir. 2013) (stating that RICO
 incorporated “many traditional proximate-cause considerations,” and that “[o]ne such
 consideration is directness….”).


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 Defendants caused, which also impact the Plaintiffs’ revenue-generating function, are direct

 injuries to their ‘business and property.’” (R. 654, PageID# 15747).

        The Supreme Court in Reiter v. Sonotone Corporation analyzed the meaning of “business

 or property” under the Clayton Act and indicated that “monetary injury, standing alone, may be

 injury in one’s ‘property.’” 442 U.S. 330, 340 (1979). The Reiter court further noted in the most

 unambiguous terms that “Money, of course, is a form of property.” Id. at 338; see also

 Chattanooga Foundry and Pipe Works v. City of Atlanta, 203 U.S. 390, 396 (1906) (“[a] person

 whose property is diminished by a payment of money wrongfully induced is injured in his

 property.”). Plaintiffs have alleged loss of tax revenue and increased public expenditures as

 damages in both of their RICO claims. (R. 514 at ¶¶902, 934). “[I]njuries in the form of lost tax

 revenues and increased law enforcement costs…are at bottom, claims for lost money. Such

 inherently economic losses constitute injury to ‘property’ within the meaning of [RICO].”

 European Community v. RJR Nabisco, Inc., 150 F.Supp.2d 456, 492-93 (E.D.N.Y. 2001) (citing

 Reiter). Moreover, courts have determined that a government entities’ loss of tax revenue is a

 “business or property” interest under RICO. City of New York v. FedEx Ground Package Sys.,

 Inc., 91 F. Supp. 3d 512, 524 (S.D.N.Y. 2015); City of New York v. Gordon, 1 F. Supp. 3d 94,

 113 (S.D.N.Y. 2013) (finding the city’s complaint alleging lost tax revenue “easily satisfies

 [RICO’s injury to business or property] element); see also City of New York v. Smokes-

 Spirits.com, Inc., 541 F.3d 425, 445 (2d Cir. 2008) (“[L]ost taxes can constitute injury to

 ‘business or property’ for purposes of RICO....”), rev'd on other grounds sub nom., Hemi Group,

 LLC v. City of New York, 559 U.S. 1 (2010) (reversing on lack of proximate cause).

        In a criminal action, the Supreme Court held that a government’s “right to uncollected

 excise taxes … is ‘property’ in its hands. This right is an entitlement to collect money from


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 petitioners, the possession of which is ‘something of value’.…” Pasquantino v. United States,

 544 U.S. 349, 355–56 (2005) (“Valuable entitlements [to collect excise taxes] are ‘property’ as

 that term ordinarily is employed”) (citing Leocal v. Ashcroft, 543 U.S. 1, 9 (2004) (“When

 interpreting a statute, we must give words their ordinary or natural meaning” (internal quotation

 marks omitted); Black's Law Dictionary 1382 (4th ed. 1951) (defining “property” as “extend[ing]

 to every species of valuable right and interest”)).

        As such, Plaintiffs have alleged a facially plausible claim for injury to their property.

 Defendants, however, assert that a government entity, when suing as a plaintiff, “cannot rely on

 expenditures alone to establish civil RICO standing, and there is no indication that the County

 holds a property interest in the law enforcement or health care services that it provides to the

 public.” Canyon Cty. v. Syngenta Seeds, Inc., 519 F.3d 969, 976, 979 (9th Cir. 2008). (R. 491-1,

 PageID# 7480-7481; R. 499-1, PageID# 7665-7666)). Defendants, however, have not identified

 any Supreme Court or Sixth Circuit case directly on point with the facts of this case. Defendants

 rely almost exclusively on Canyon County and argue that RICO precludes the recovery of such

 government service expenditures. Id. This argument, however, is not persuasive on this record.

                i. “Business or Property” as Commercial Interests

        Canyon County determined that the “business or property language” found in both RICO

 and in the Clayton Act should be interpreted uniformly. 519 F.3d at 977. The court held to the

 view that an injury to business or property under the Clayton Act encompasses only “the

 interests of the [state] as a party to a commercial transaction.” 519 F.3d at 977 (acknowledging,

 however, that courts have “often, though not invariably, interpreted the two statutory provisions

 in a like manner.”); see also Welborn v. Bank of New York Mellon Corp., 557 Fed. App'x 383,

 387 (5th Cir. 2014) (“When a government sues under the civil RICO statute, the ‘business or


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 property’ element requires that the injury ‘refer to commercial interests or enterprises.’”). The

 Defendants, however, do not cite any Supreme Court or Sixth Circuit authority explicitly stating

 that a civil RICO action by a governmental entity is limited to property interests that stem from a

 commercial transaction or commercial interests.

        Indeed, the import of the phrase “business or property” in the Clayton Act context has

 been construed at one time to be limited to “commercial interests.” See, e.g., Hawaii v. Standard

 Oil Co. of Cal., 405 U.S. 251, 264 (1972) (“[T]he words ‘business or property,’ … refer to

 commercial interests or enterprises” and a state may not seek damages for other injuries under

 the Clayton Act). The language in the Hawaii decision was greatly softened by Reiter, which

 also considered the meaning of the phrase “business or property” in the Clayton Act. The Reiter

 Court explained that the Hawaii Court’s reference to “the phrase ‘commercial interests or

 enterprises,’ read [i]n context, in no sense suggests that only injuries to a business entity are

 within the ambit of [the Clayton Act].” Reiter, 442 U.S. at 339 (finding that Congress’ use of the

 disjunctive in the phrase “business or property” indicates that “‘business’ was not intended to

 modify ‘property,’ nor was ‘property’ intended to modify ‘business.’”) 12 The Seventh Circuit

 Court of Appeals has acknowledged the Hawaii decision’s interpretation of the “business and

 property” phrase under the Clayton Act as referring only to commercial interests and competitive

 injuries, but held that “this is not the case under RICO.” Illinois Dep't of Revenue v. Phillips, 771



 12
    The Canyon County decision appears to endorse a restrictive reading of Hawaii expressly
 rejected by Reiter. “[T]he language of an opinion is not always to be parsed as though we were
 dealing with language of a statute.” 442 U.S. at 341-342 (explaining that a “central premise” in
 Hawaii was a “concern over duplicative recoveries” and noting that the state of Hawaii was
 essentially trying to recover injuries to the business or property of consumers who could recover
 their own damage).



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 F.2d 312, 314 (7th Cir. 1985). Other Circuit decisions also cautioned against reflexively applying

 the Clayton Act’s antitrust principles to RICO. See, e.g., Schacht v. Brown, 711 F.2d 1343, 1357-

 58 (7th Cir. 1983), cert. denied sub nom. Arthur Andersen & Co., v. Schacht, 464 U.S. 1002

 (1983); Bennett v. Berg, 685 F.2d 1053, 1059 (8th Cir. 1982) (“In a RICO context, there are few

 countervailing reasons to lessen the impact of RICO remedies by imputing the limitations on

 standing which apply to antitrust law.”). The Schacht decision noted that “RICO was broadly

 aimed at ‘striking ... a mortal blow against the property interests of organized crime,” and,

 therefore, it was “reluctant to undermine that broad mission of RICO by engrafting onto its civil

 provisions a competitive injury requirement.” 711 F.2d at 1358.

                ii. Municipal Cost Recovery Rule

        Canyon County also applied the municipal cost recovery rule, a tort doctrine developed

 under state common law, as a basis for concluding the public expenditures alone were

 insufficient to create RICO standing. 519 F.3d at 974, 979-980. “The ‘municipal cost recovery

 rule,’ also called the ‘free public services doctrine,’ is a common-law rule which provides that,

 absent specific statutory authorization or damage to government-owned property, a county

 cannot recover the costs of carrying out public services from a tortfeasor whose conduct caused

 the need for the services.” 32 A.L.R.6th 261 (Originally published in 2008) (emphasis added).

 Although the Ninth Circuit acknowledged that “we are not dealing with state common law, but

 with a statutory cause of action created by Congress [RICO],” the court applied the common law

 tort doctrine. Id. at 980. Furthermore, relying on a prior Ninth Circuit decision—Diaz v. Gates,

 420 F.3d 897, 900 (9th Cir. 2005)—Canyon County found that “[f]inancial loss alone, however,

 is insufficient” to establish an injury to business or property under RICO “‘[w]ithout a harm to a

 specific business or property interest,’” and that said inquiry is “typically determined by


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 reference to state law.” 519 F.3d at 975.

        The Sixth Circuit, however, has expressed a different view, acknowledging that “some

 role” may exist for state law with respect to the question of “where to set the ‘business or

 property’ threshold” in RICO cases, but emphasizing that this question “depends on federal

 statutory purpose, and that purpose is likely to support a definition that is uniform throughout the

 country.” Jackson v. Sedgwick Claims Mgmt. Servs., Inc., 731 F.3d 556, 565 (6th Cir. 2013)

 (quoting DeMauro v. DeMauro, 115 F.3d 94, 96–97 (1st Cir.1997)). 13 The Canyon County court

 opted to apply the state law doctrine barring recovery of municipal costs based on the notion that

 had “Congress meant to disrupt settled expectations and alter the legislatively-chosen system of

 funding local government services[,]” and allow treble recovery “under RICO for injuries arising

 from [the] provision of governmental services[] …we believe that Congress would have been

 more explicit.” 519 F.3d at 980.

        The Sixth Circuit, in Jackson, however has stated:

        Concerns about the scope of RICO are not new. Courts have long recognized that
        RICO has evolved “into something quite different from the original conception of
        its enactors,” who sought to “supplement old remedies and develop new methods
        for fighting crime.” Nonetheless, the unexpected scope of RICO can largely be
        attributed to the terms of the statute itself. Congress chose “self-consciously
        expansive language” when it adopted RICO, defined the “predicate acts”
        necessary to establish a pattern of racketeering activity broadly, and directed
        courts to give the statute a liberal construction, Organized Crime Control Act of
        1970. As a consequence, courts have frequently rejected arguments that RICO
        should be given constructions that prevent it from reaching conduct that Congress
        may not have intended it to reach. “[T]he fact that RICO has been applied in
        situations not expressly anticipated by Congress does not demonstrate ambiguity.
        It demonstrates breadth.”
                                             ***

 13
    See also Miller v. York Risk Servs. Grp., 2013 WL 6442764, at *3 (D. Ariz. Dec. 9, 2013)
 (distinguishing between the Sixth Circuit’s federal statutory purpose inquiry and the Ninth
 Circuit’s state-law based approach with respect to determining whether there has been a RICO
 injury to business or property), adopted, 2013 WL 11739992 (D. Ariz. Dec. 19, 2013).


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        Another limitation in § 1964(c) that has its origins in the antitrust laws is the
        requirement that a plaintiff be “injured in his business or property” in order to
        bring a civil action. While the Supreme Court has yet to definitively interpret this
        phrase as it appears in § 1964(c), it has construed it in the context of the antitrust
        laws. In Reiter v. Sonotone Corp., … the Court held that “consumers who pay a
        higher price for goods purchased for personal use as a result of antitrust violations
        sustain an injury in their ‘business or property’” under § 4. In so doing, it rejected
        the respondents’ argument that “the phrase ‘business or property’ means ‘business
        activity or property related to one's business.’” While conceding the breadth of its
        ruling that “monetary injury, standing alone, may be injury in one’s ‘property,’”
        the Court pointed out that “[t]he phrase ‘business or property’ also retains
        restrictive significance.

 Jackson, 731 F.3d at 563-564 (internal citations omitted).

        In addition, the court finds instructive other decisions addressing the scope of the

 municipal cost recovery rule and declining to find that it creates an absolute shield for chronic

 wrongdoers engaged in a pattern of conduct that creates great public expense. For example,

 courts have found an exception when the government’s costs are the product of a public

 nuisance. The Ohio Supreme Court was not persuaded that the municipal cost recovery rule

 barred Cincinnati’s recovery of expenses for police, emergency, health, corrections, prosecution

 and other related public services, in an action brought against handgun manufacturers, trade

 associations, and handgun distributors—alleging tort claims of negligence, product liability, and

 public nuisance. Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136 (Ohio 2002). The Ohio

 Supreme Court stated:

        Although a municipality cannot reasonably expect to recover the costs of city
        services whenever a tortfeasor causes harm to the public, it should be allowed to
        argue that it may recover such damages in this type of case. Unlike the train
        derailment that occurred in the Flagstaff[ 14] case, which was a single, discrete

 14
    Canyon County relied upon City of Flagstaff v. Atchison, Topeka & Santa Fe Ry. Co., 719
 F.2d 322, 324 (9th Cir. 1983). The Flagstaff court applied the municipal cost recovery rule, but
 noted that it does not stand for the proposition that “a governmental entity may never recover the
 cost of its services. Recovery is permitted where it is authorized by statute or regulation … or


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        incident requiring a single emergency response, the misconduct alleged in this
        case is ongoing and persistent. The continuing nature of the misconduct may
        justify the recoupment of such governmental costs. Therefore, if appellant can
        prove all the elements of the alleged torts, it should be able to recover the
        damages flowing from appellees’ misconduct. Moreover, even the Flagstaff court
        recognized that recovery by a governmental entity is allowed “where the acts of a
        private party create a public nuisance which the government seeks to abate.”
        Flagstaff, 719 F.2d at 324. We therefore reject the court of appeals’ holding that
        appellant cannot recover its governmental costs.

 Id. at 1149-50.

        Similarly, in City of Boston v. Smith & Wesson Corp., 2000 WL 1473568 (Mass. Super.

 Ct. 2000), the court held that said rule did not bar the city’s claim to recover law enforcement

 and emergency services costs against the defendants—firearms manufacturers, distributors,

 sellers, and firearms industry trade associations. The court distinguished other decisions applying

 the doctrine, noting as follows:

        What each of these cases has in common is that the acts causing the damage were
        of the sort the municipality reasonably could expect might occur, and each of the
        results was a discrete emergency. Fires, fuel spills and ruptured gas mains are all
        frequent happenings which, while every effort is made to prevent them, can be
        expected to occur. Train derailments and airplane crashes are more unusual, but
        not so rare that a municipality can never expect to have to respond to such an
        emergency. The cases thus stand for the principle that such contingencies are part
        of the normal and expected costs of municipal existence, and absent legislation
        providing otherwise are costs to be allocated to the municipality’s residents
        through taxes. In addition, in those cases there is no evidence that the specific
        defendants had engaged in a repeated course of conduct causing recurring costs to
        the municipality.

 Id. at * 8; see also James v. Arms Tech., Inc., 820 A.2d 27, 48-49 (N.J. App. Div. 2003) (“We do

 not accept the proposition that [the municipal cost recovery rule’s] reasoning should apply in a

 case such as this, where the City claims a repeated course of conduct on defendants’ part,



 required to effect the intent of federal legislation [or] … where the acts of a private party create a
 public nuisance which the government seeks to abate.”).


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 requiring the City to expend substantial governmental funds on a continuous basis.”)(emphasis

 added); 15 City of Chicago v. Beretta U.S.A. Corp., 821 N.E.2d 1099, 1145 (Ill. 2004) (citing City

 of Flagstaff and noting the public nuisance exception).

        When balancing the fact that neither party has identified Supreme Court or Sixth Circuit

 precedent directly on point, with the Sixth Circuit’s emphasis on federal statutory purpose over

 state-law based property rules and the jurisprudence confirming that the municipal cost recovery

 rule does not apply to preclude remedying a repeated course of conduct that allegedly injures a

 governmental plaintiff, the court is not persuaded that it is applicable to the present set of facts.

 Moreover, the Sixth Circuit has not indicated that it would concur with the Ninth Circuit’s

 decision in Canyon County as it relates to the application of said rule. 16 The Cincinnati v.

 Beretta and City of Boston decisions declined to apply the doctrine to state law tort claims based

 on the persuasive reasoning that a doctrine that publicly spreads the costs caused by one-time

 tortfeasors, such as a negligent driver, is inappropriately applied where a defendant engages in a



 15
    The court determined the “Municipal Cost Recovery Rule does not apply to cases … where a
 municipality seeks to recover damages for the cost of abating a nuisance.” Further, it also
 indicated that “if the City has a worthy claim, application of the Municipal Cost Recovery Rule
 would leave the City without a remedy.” Arms Tech., Inc., 359 N.J. Super. at 327-28. The court
 noted: “[i]f tortious conduct exists, the consequence is that the gun manufacturers are subsidized
 for their wrongful acts, and the cost of the governmental services must be borne by the taxpayers
 of the City. This result is fundamentally unfair, given the City’s limited resources and strained
 ability to provide other essential services to its citizens. Application of the rule also serves as a
 disincentive; if culpable, the insulated defendants have no reason to obtain liability insurance to
 cover the cost of their conduct, or to take reasonable measures to eliminate, or at least reduce, the
 harm resulting from the use of their product.” Id. at 328.
 16
    The Sixth Circuit’s citations to Canyon County in three decisions cannot be construed as
 endorsing its holding with respect to the “municipal cost recovery rule,” as discussion of that
 doctrine is entirely absent from those cases. See Saia v. Flying J. Inc., 2017 WL 6398013, at *3
 (6th Cir. July 11, 2017), cert. denied, 138 S. Ct. 657, 199 L. Ed. 2d 533 (2018), reh'g denied, 138
 S. Ct. 1182, 200 L. Ed. 2d 328 (2018); Stooksbury v. Ross, 528 F. App'x 547, 555 (6th Cir. 2013);
 City of Cleveland v. Ameriquest Mort. Sec., Inc., 615 F.3d 496, 504, 506 (6th Cir. 2010).


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 course of repetitive conduct that causes harm of a substantial magnitude and imposes a repeated

 burden on government services. In addition, the court declines, in this case, to completely

 transplant that common law tort doctrine to defeat a claim arising under this federal statute.

 Doing so to defeat well pleaded allegations of an ongoing pattern of intentional racketeering

 activity is the antithesis of the construction of RICO that Congress designed it to have. 17

                 b. Personal Injuries

         The Defendants also argue that RICO’s aforementioned limitation to recovery for an

 injury to “business or property” eliminates recovery for personal injuries or pecuniary damages

 flowing from such injuries. (R. 491-1, PageID# 7478-7479; R. 499-1, PageID# 7665) (citing Doe

 v. Roe, 958 F.2d 763, 767 (7th Cir. 1992); Jackson, 731 F.3d at 565). The Jackson court observed

 that “those regional circuits that have construed the phrase business or property have uniformly

 recognized that ‘the ordinary meaning of the phrase injured in his business or property excludes


 17
   The court also notes that a recent New York supreme court decision addressed whether local
 governmental entities, who brought suit against opioid manufacturers, were barred from
 recovering the costs of governmental services by the municipal cost recovery rule. In re Opioid
 Litigation, 2018 WL 3115102 (N.Y. Sup. Ct., Jun. 18, 2018). The court found as follows:

         [A] review of the current state of the law revealed no case law supporting the
         Manufacturers’ contention that such rule bars recovery for municipal expenses
         incurred, not by reason of an accident or an emergency situation necessitating
         “the normal provision of police, fire and emergency services,” but to remedy
         public harm caused by an intentional, persistent course of deceptive conduct. The
         Manufacturers’ argument that, despite allegations they designed and implemented
         materially deceptive marketing campaigns to mislead the public and prescribers
         about the risks and benefits of prescription opioids, the municipal cost recovery
         rule forecloses the plaintiffs from recovering the costs for services to treat
         residents suffering from prescription opioid abuse, addiction or overdose, or for
         the increased costs of programs implemented to stem prescription opioid-related
         criminal activities, if accepted, would distort the doctrine beyond recognition.

 Id. (citations omitted).



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 personal injuries, including the pecuniary losses therefrom.” 731 F.3d at 564-565 (internal

 quotation marks omitted); accord Gucwa v. Lawley, 731 Fed. App’x 408, 412 (6th Cir. 2018)

 (“Even though personal injuries may lead to monetary damages, such personal injuries and their

 associated pecuniary losses—including medical expenses—do not confer relief under §

 1964(c).”).

         Plaintiffs do not contest that the law precludes recovering such damages, but rather argue

 that their “damages claims are not for personal injuries, but police and fire services, lost taxes,

 revenue and funding.” (R. 654, PageID# 15747). They further argue that “[t]he harms that the

 Manufacturer and Distributor Defendants caused, which also impact the Plaintiffs’ revenue-

 generating function, are direct injuries to their ‘business and property.’” Id. Plaintiffs deny (and

 the court does not construe) the complaint as seeking to directly recover for the personal injuries

 sustained by opioid users/addicts. Nevertheless, the law also bars losses flowing from those

 personal injuries. Whether Plaintiffs’ injuries flow from the personal injuries suffered by their

 residents is a crucial question in this litigation. Plaintiffs have alleged at least thirteen separate

 categories of damages with respect to their RICO claims in Counts One and Two. (R. 514,

 ¶¶902, 934).

         The Defendants fail to meaningfully differentiate among the categories, contending they

 are all derivative of residents’ personal injuries. (R. 491-1, PageID# 7478-7479; R. 499-1,

 PageID# 7665). Without a full record regarding the source of the various categories of damages,

 the court declines to paint with such a broad brush. While some of the claimed categories of

 damages may ultimately not survive if it is revealed through discovery that they fall into an area

 of prohibited recovery, the court cannot find at this preliminary stage in the proceedings that all

 thirteen categories are unrecoverable. For example, it is highly debatable whether Plaintiffs’


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 costs associated with training emergency personnel and first responders flow from an individual

 resident’s personal injuries. (R. 514 at ¶¶902(c), 934(c)). Even further removed from any

 personal injuries are Plaintiffs’ claimed losses associated with lost tax revenue and diminished

 property values. Id. at ¶¶902(k-n), 934(k-m). 18

        The Sixth Circuit has instructed that a court “may dismiss a complaint for failure to state

 a claim ‘only if it is clear that no relief could be granted under any set of facts that could be

 proved consistent with the allegations.’” Trollinger, 370 F.3d at 615 (quoting Swierzkiewickz,

 534 U.S. at 514). Defendants, as the moving party, have failed to meet their burden of

 demonstrating that all of Plaintiffs’ claimed damages are purely derivative of personal injuries

 and, therefore, do not constitute an injury to “business or property.” For the foregoing reasons,

 Defendants’ motion to dismiss on these grounds is not well taken.

        2. Causation

            a. “But for” Cause

        The Defendants assert that Plaintiffs have plead no facts establishing “but for” causation.

 (R. 491-1, PageID# 7516-7517; R. 499-1, PageID# 7666-7672, 7683-7684). First, they maintain

 that Plaintiffs have not alleged what they characterize as the “first step” in the causal chain—

 “that specific Ohio prescribers were exposed to the Manufacturers’ alleged deceptive marketing”

 or that but for the Manufacturers’ purported failure to monitor and report suspicious orders of

 prescription opioids to DEA Field Division Offices, Plaintiffs would not have suffered the


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    The court’s recommendation should not be misconstrued as an affirmative finding that none of
 Plaintiffs’ claimed damages are premised upon pecuniary damages flowing from personal
 injuries. In addition, to the extent that Plaintiffs seek damages for losses of property value in
 their communities, such claims may, after discovery, be too speculative. See, e.g. Ameriquest,
 615 F.3d at 505-506. However, in this case, such arguments are more appropriate after the record
 has been developed.


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 injuries associated with prescription opioid misuse, abuse, and addiction. Id. “But since ‘we

 presume that general allegations embrace those specific facts … necessary to support the

 claim,’…causal weaknesses will more often be fodder for a summary-judgment motion under

 Rule 56 than a motion to dismiss under Rule 12(b)(6).” Trollinger, 370 F.3d at 615. 19

         Further, the complaint’s allegations set forth a nationwide campaign targeting physicians

 throughout the United States to change their prescribing practices based on allegedly false

 statements and misrepresentations. The complaint alleges that the Marketing Defendants carried

 out this same marketing scheme in Ohio. (R. 514, PageID# 6966-6969, ¶¶671-683) (“The

 Marketing Defendants all marketed their products and disseminated their misrepresentations in

 the state of Ohio.”). Plaintiffs also alleged that “sales representatives from each of the Marketing

 Defendants visited prescribers in Summit County.” Id. at ¶673. 20 Thus, Defendants’ first

 assertion is rejected.

         Moreover, Defendants contend that Plaintiffs failed to allege that if they had reported

 suspicious orders to DEA, it would have led to enforcement actions and that would have averted

 prescription opioid diversion and “related societal harms in Summit County.” (R. 491-1,

 PageID# 7516; R. 499-1, PageID# 7684). The court disagrees that Plaintiffs are required to


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    To the extent Defendants argue that Plaintiffs allegations fail to satisfy Rule 9(b)’s pleading
 requirements, such argument is not persuasive, because courts have recognized that pleadings are
 sufficient so long as they provide enough detail to put the responding party on notice and enable
 a response. See infra Section III-A-4-a.
 20
    To the extent Defendants maintain that Plaintiffs were required to name specific prescribers,
 this court disagrees. Where the alleged scheme is so broad in scope, no meaningful purpose
 would be served by merely naming a doctor or several doctors to serve as examples of physicians
 who were misled by Defendants’ marketing scheme. The complaint alleges that Summit County
 physicians confirmed the existence of the alleged marketing scheme in Summit County. (R. 514
 at ¶675). Defendants will certainly have the opportunity to request the identity of these doctors
 during discovery, and Plaintiffs will need to support their theories with evidence to withstand a
 motion for summary judgment or persuade the trier of fact.


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 divine the actions that the DEA would have taken had the Defendants properly reported the

 suspicious orders as alleged or that Plaintiffs would be required to foresee the alternate series of

 events had such actions been taken. Contrary to Defendants contention, “but-for” causation is

 rather easily satisfied by the allegations in the complaint. Reading the complaint’s averments in

 favor of Plaintiffs, as required when considering a motion to dismiss, they assert but-for

 Defendants’ allegedly deceptive marketing scheme that changed the way physicians prescribe

 opioids, coupled with the systemic undermining of quotas and institutional controls as well as the

 failure to report suspicious orders by both the Marketing and Distributor Defendants, the number

 of opioids would not have tripled or quadrupled thereby directly giving rise to the opioid

 epidemic—the costs of which have resulted in Plaintiffs’ alleged injuries. Plaintiffs have

 sufficiently pled that the Defendants’ alleged actions were the “but for” cause of their injuries as

 required by 18 U.S.C. § 1964(c) and under Holmes, 503 U.S. at 268, and Anza v. Ideal Steel

 Supply Corp., 547 U.S. 451, 456-61 (2006).

                b. Proximate Cause

        The Defendants argue that Plaintiffs plead facts that are too attenuated and remote to

 establish proximate cause. They further contend that the causal chain is broken by: (1) the

 independent medical judgment of medical professionals who prescribe the opioid products; and

 (2) third-party criminal acts. (R. 491-1, PageID# 7481-7481; R. 499-1, PageID# 7667-7669).

 Defendants maintain that Plaintiffs fail to allege a direct relation between their injuries and the

 conduct of the Defendants. Id. Plaintiffs counter that their damages can be properly and

 efficiently apportioned among the Defendants, that their RICO damages cannot be sought or

 recovered by any other party, and that recovery is necessary to vindicate the purposes underlying

 RICO and deter future violations. (R. 654, PageID# 15749).


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        This court cannot say at this early stage of the proceedings that the Plaintiffs’ injuries are

 so remote as to bar any potential recovery. Plaintiffs, local governments, have been impacted by

 the opioid epidemic. Their injuries, alleged to be caused by the Defendants’ conspiracy to

 dramatically increase the usage and supply of opioids for off-label purposes, to some extent,

 stem from ills associated with opioid use and/or addiction. The connection between their injuries

 and the Defendants’ alleged racketeering and fraudulent activity is not so attenuated, as their

 injuries plainly stem from opioid use/abuse and not some possible other source. This court

 cannot find, absent any discovery, that Plaintiffs’ injuries were incidental to the alleged fraud or

 the oversupply/diversion of opioids. While Defendants’ alleged actions caused harm to others

 (i.e. those who became addicted to opioids), the ensuing harm to Plaintiffs—the costs associated

 with responding to and working to stem the opioid epidemic—cannot be deemed incidental.

 Taking into consideration Plaintiffs’ allegation that as many as 25 percent of patients who

 receive prescription opioids long-term for chronic pain in a primary care setting become addicted

 (R. 514 at ¶16), the costs associated with dealing with this surge in addictions cannot be

 described as incidental but, even if not inevitable in individual cases, it is inescapable in the

 aggregate.

        The Supreme Court has addressed proximate cause under RICO in Holmes, 503 U.S. at

 258, Anza, 547 U.S. at 451, and Hemi Group LLC, 559 U.S. at 1. The Manufacturers have

 asserted that Anza is analogous to the case at bar (R. 499-1, PageID# 7665), while the

 Distributors have asserted that Hemi is analogous. (R. 491-1, PageID# 7482-7483). While the

 court disagrees that any of these decisions are factually analogous to the case at bar, the

 decisions remain instructive in their application of the Holmes factors. The Holmes court

 identified the underlying rationale behind the need for proximate cause as follows: (1) “the less


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 direct an injury is, the more difficult it becomes to ascertain the amount of a plaintiff's damages

 attributable to the violation, as distinct from other, independent, factors,” (2) “recognizing claims

 of the indirectly injured would force courts to adopt complicated rules apportioning damages

 among plaintiffs removed at different levels of injury from the violative acts, to obviate the risk

 of multiple recoveries,” and (3) “directly injured victims can generally be counted on to

 vindicate the law as private attorneys general, without any of the problems attendant upon suits

 by plaintiffs injured more remotely.” Holmes, 503 U.S. at 268.

                        i. Directness

        Relying upon Anza, 547 U.S. at 460 and Jackson, 731 F.3d at 565, the Defendants, as

 discussed above, contend that Plaintiffs’ injuries are barred because they are derivative of

 personal injuries suffered by third-party opioid users. (R. 491-1, PageID# 7479-7479; R. 499-1,

 PageID# 7665). Unsurprisingly, Plaintiffs respond that their damages were directly caused by the

 Defendants’ actions; and, in addition, argue that the Holmes factors analysis weighs in favor of

 finding sufficient proximate cause at this early stage. The Supreme Court has cautioned that “the

 infinite variety of claims that may arise make it virtually impossible to announce a black-letter

 rule that will dictate the result in every case” and its use of “the term ‘direct’ should merely be

 understood as a reference to the proximate-cause enquiry ….” Holmes, 503 U.S. at 274, n. 20

 (citations omitted). 21 “The injurious conduct need not be the sole cause of the plaintiffs’ injuries,


 21
    Though not a RICO action, the Supreme Court recently addressed proximate cause under the
 Fair Housing Act (FHA). Bank of Am. Corp. v. City of Miami, Fla., 137 S. Ct. 1296 (2017).
 Significantly, the Court found that Miami’s allegations—that the Defendant banks had
 discriminated against minorities leading to property tax and municipal spending injuries—
 arguably fell within the “zone of interests” protected by the FHA. Id. at 1303. Further, with
 respect to proximate cause, despite the fact that Miami’s alleged injuries clearly went beyond the
 “first step” and flowed through individuals who had allegedly been the victims of racially
 discriminatory lending, the Supreme Court, rather than ordering dismissal, remanded the case for


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 but there must be ‘some direct relation’ between the conduct and the injury to sustain a claim.”

 Ray, 836 F.3d at 1349 (citing Williams, 465 F.3d at 1287–88; Anza, 547 U.S. at 457).

        The first of the Holmes factors requires the court to determine how difficult it would be to

 ascertain which portion of Plaintiffs’ damages resulted from Defendants’ allegedly unlawful

 conduct versus damages that may be attributable to other factors or to other parties. First, the

 court notes that injuries in Holmes and Anza, unlike the injuries asserted herein, were

 individualized, while the injury asserted herein is rather aggregative. 22

        Defendants suggest that there are too many possible intervening causes, identifying the

 “exercise of independent medical judgment” by physicians who acted as “learned

 intermediaries,” as well as “intervening third-party criminal acts.” (R. 491-1, PageID# 7483-

 7484; R. 499-1, PageID# 7669-7670). First, the notion that the physicians cut off the chain of

 causation ignores pertinent allegations in the complaint. While the complaint alleges that



 further analysis of proximate cause. Id. at 1306, 1311 (“The lower courts should define, in the
 first instance, the contours of proximate cause under the FHA and decide how that standard
 applies to the City’s claims for lost property-tax revenue and increased municipal expenses.”)
 Several lower courts have also noted that the fact that a plaintiff’s increased costs/damages “runs
 through a separate injury” to a third party or parties “does not by itself require dismissal on
 proximate cause grounds.” Cty. of Cook, Illinois v. Wells Fargo & Co., 2018 WL 1469003, at *6
 (N.D. Ill. Mar. 26, 2018); City of Oakland, 2018 WL 3008538 at *1 (N.D. Cal. June 15, 2018).
 Nor does the lack of a direct relationship between the plaintiff and defendant defeat nor
 necessarily frustrate proximate cause. The Sixth Circuit found there was sufficient directness
 where there is a “link between the scheme and the type of injury [plaintiff] suffered.” Wallace,
 714 F.3d at 420. “What matters . . . is not whether there is a direct relationship between the
 plaintiff and defendant, but whether there is a ‘sufficiently direct relationship between the
 defendant’s wrongful conduct and the plaintiff’s injury . . . .’” In re Volkswagen “Clean Diesel”
 Mktg., Sales Pracs., & Prod. Liab. Litig., 2017 WL 4890594, at *9 (N.D. Cal. Oct. 30, 2017)
 (citations omitted).
 22
    In City of Oakland, 2018 WL 3008538, at *1, a district court, when confronted with a
 proximate cause issue in a claim arising under the FHA, observed that “where damages are
 aggregative, precision is not expected. Invariably some approximation is required,” but noted
 that “aggregative injury itself does not obviate proximate cause analysis….”


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 Defendants directly targeted patients with their advertising, the lion’s share of the allegations

 point to a systematic campaign, based on allegedly false statements, that specifically targeted

 physicians. Not only is it alleged that Defendants, through their sales representatives, directly

 contacted hundreds of thousands of prescribers (R. 514, ¶¶452-455), it is also alleged that

 Defendants sponsored seminars, influenced medical associations, controlled third-party front

 groups to maintain the guise of impartiality, and finally directly paid KOLs—all to influence

 physicians’ prescribing decisions and to abolish concern regarding opioid addiction/abuse. (See

 generally R. 514). In other words, the complaint alleges that prescribing physicians were also

 targets of the misrepresentations. Given these allegations, the court declines to find that the

 physicians’ act of writing prescriptions breaks the causal chain, as a matter of law, when the very

 purpose of the Defendants’ alleged scheme was to achieve exactly that result. The complaint

 further alleges that the Manufacturers and Distributors conspired to increase opioid sales through

 trade organizations such as the PCF or HAD; they were in a unique position to recognize the

 diversion of drugs and did in fact make such a recognition; and they concealed this information

 despite an obligation to report suspicious orders, all in order to further their supply chain scheme.

 (R. 514, ¶¶498-593, PageID# 6918-6947). Defendants have no cogent rationale explaining how

 the prescribing physicians would be an intervening cause with respect to the supply-side

 allegations.

        The court also disagrees that the complaint’s RICO claims are rendered deficient by the

 failure to specifically identify a prescribing physician who relied on Defendants’ alleged

 fraudulent statements. The First Circuit Court of Appeals rejected a similar argument, in In re

 Neurontin Litigation, where the defendants had maintained that “its supposed misrepresentations

 went to prescribing doctors, and so the causal link to Kaiser [a healthplan provider and insurer]


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 must have been broken.” 712 F.3d 21, 37 (1st Cir. 2013). Relying on the Supreme Court’s

 holding in Bridge, 23 the circuit court rejected that argument. The court of appeals also rejected

 the argument that “no physician in this case, or in the Neurontin MDL as a whole, testified that

 he or she prescribed Neurontin because of defendants’ fraudulent off-label marketing,” an

 argument that mirrors Defendants’ argument herein. Id. at 29. The court reasoned that plaintiffs

 had presented “other evidence” of causation to the jury, as well as “evidence as to why such

 individual [physician] testimony was unreliable.” 24 Id. In addition, the defendants’ “scheme

 relied on the expectation that physicians would base their prescribing decisions in part on [their]

 fraudulent marketing.” 712 F.3d at 39.

        Further, the court is unconvinced that Defendants’ reliance on Ind./Ky./Ohio Reg’l


 23
    The Supreme Court in Bridge v. Phoenix Bond & Indemnity Co., 553 U.S. 639 (2008), held
 unanimously that a civil-RICO plaintiff does not need to show that it detrimentally relied on the
 defendant’s alleged misrepresentations. See also Wallace, 714 F.3d at 420 (“While reliance is
 ‘often used to prove ... the element of causation,’ that does not mean it is the only way to do so,
 nor does that ‘transform reliance itself into an element of the cause of action.’”) (citing Bridge).
 24
    The plaintiffs’ primary evidence came from expert testimony from a health economics
 professor, who used “aggregate data and statistical approaches to link patterns in promotional
 spending to patterns in prescribing for the drug.” 712 F.3d at 30. The expert’s regression analysis
 “found a causal connection between the fraudulent marketing and the quantity of prescriptions
 written for off-label indications. She also testified as to why Pfizer's proposed physician-by-
 physician analysis of causation was not a scientifically valid approach to causation.” Id. The
 expert testified “as to the well-recognized unreliability in the field of healthcare economics of
 asking doctors individually whether they were influenced by the many methods of off-label
 marketing. She said that self-reporting from physicians about patterns of practice that may be
 controversial shows both conscious reluctance and unconscious bias, which lead them to deny
 being influenced.” Id. Although such expert testimony is not before the court, this case cautions
 against prematurely determining, without a sufficiently developed record, that certain allegations
 must be present before causation can be determined to have been sufficiently pled. Defendants’
 reliance on City of Chicago v. Purdue Pharma, L.P., for the proposition that the complaint must
 specifically identify doctors is misplaced, as the district court was addressing state law claims
 and found that the plaintiffs failed to allege sufficient detail about the false claims. 2015 WL
 2208423, at *14 (N.D. Ill. May 8, 2015). Thus, the court finds that the absence “self-reports”
 from physicians in the complaint is not dispositive. In addition, the court finds the rationale of In
 re Neurontin more compelling.


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 Council of Carpenters Welfare Fund v. Cephalon, Inc. (“Carpenters”) compels a different result.

 2014 WL 2115498 (E.D. Pa. May 21, 2014). Defendants focus on the Carpenters court’s

 observation that “physician-prescribers are presumed to have knowledge of a drug label’s

 contents.” Id. at *6 (citing In re Schering Plough Corp. Intron/Temodar Consumer Class Action,

 678 F.3d 235, 240 (3d Cir. 2012)). However, the Carpenters decision was based on the finding

 that the allegations in the complaint were general and conclusory, it did not set forth a general

 rule that a physician’s knowledge of a drug label insulates a drug manufacturer or distributor

 from liability for fraudulent marketing or unlawful distribution practices. Id. at **6-7.

 Defendants make no meaningful attempt to illustrate that the current complaint is similarly

 defective, beyond making generalized statements of insufficiency. (R. 499-1, PageID# 7675-

 7680). Conversely, in In re Epogen, 590 F. Supp. 2d 1282, 1290 (C.D. Cal. 2008), a district court

 held that the plaintiff’s RICO claims were essentially trying to “shoehorn allegations that

 Defendants have engaged in off-label promotion in violation of the FDCA into [a] RICO

 [action].” Although the claims therein were dismissed—with leave to amend—the court

 observed that “[t]he existence of the FDCA does not completely preclude injured parties from

 asserting claims of fraud or false advertising.” Id. at 1290, 1292. In addition, the court observed

 that: “[Plaintiffs] may bring a RICO claim that is truly based on allegations of mail or wire fraud

 (in the form of deceptive advertising).…To the extent that Plaintiffs allege that Defendants made

 false statements or deliberately concealed material facts in order to mislead health care

 professionals and consumers about the safety of EPO, those claims are viable under RICO.” Id.

 at 1290 (emphasis in original).

        Second, Defendants’ statement that third party criminal acts break the chain of causation

 (R. 491-1, PageID# 7517-7519; R. 499-1, PageID# 7669), even if accepted as true, would fail to


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 break the chain of causation for those damages that were caused by the legal prescription of

 opioids. The complaint alleges that out of 350,000 fatal overdoes during the relevant time span,

 more than 200,000 overdoses involved prescribed opioids rather than illicit heroin. (R. 514 at

 ¶5). It is further alleged that the vast majority of persons who began using heroin in the relevant

 time period turned to the drug after becoming addicted to prescription opioids. 25 (R. 514 at ¶6).

 Thus, under the facts pled, the criminal acts involving heroin or the illegal use/trade of legal

 prescriptions do not, as a matter of law upon consideration of a motion to dismiss, break the

 chain of causation. Even these actions can to some extent, given the allegations, be attributed and

 foreseeable to Defendants, who allegedly both flooded the market with opioids and created the

 demand for them.

        Construing the allegations of the complaint as true, the court rejects Defendants’

 arguments and finds the first factor counsels in favor of proximate cause. The complaint contains

 sufficiently detailed allegations that a quantifiable causal link existed between Defendants’

 conduct and the damages suffered by Plaintiffs as a result of the opioid epidemic. The “direct

 causal connection” requirement has been met, as it is not apparent as a matter of law that

 “intricate, uncertain” inquiries are required to link the Defendants’ alleged conduct to Plaintiffs’

 injuries. Anza, 547 U.S. at 460. Hence, the first of the Holmes factor weighs in favor of a finding

 that proximate cause has been sufficiently plead.

                        ii. Complexity of Apportioning Damages/Repetitive Recovery

        The second Holmes factor is perhaps the easiest to apply to the allegations in the present


 25
   The court recognizes that overdoses involving prescribed opioids may also include individuals
 who were not the prescribed user of the drug. The fact that this category may include both illicit
 users as well as those who were prescribed the opioids in question does not preclude proximate
 cause or warrant dismissal at this preliminary stage.


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 case. Plaintiffs’ brief in opposition expressly states that they are not attempting to recover any of

 the following: (1) personal injuries incurred by individuals “suffering as a result of [opioid] over-

 prescription, overuse, and addiction,” (2) funds expended by competitors or non-purchasing

 customers, 26 or (3) “monies for health insurance plan members required to pay increased health

 insurance premiums….” (R. 654, PageID# 15755). The court also does not construe the

 complaint as seeking to recover these costs. Plaintiffs’ complaint seeks thirteen categories of

 damages, which can be summarized into three general categories—(1) public expenditures made

 in direct response to opioid use and trafficking; (2) reduced tax revenue resulting from that

 abuse, misuse, and addiction; and (3) losses caused by diminished property values—none of

 these damages are recoverable by those individuals who became addicted to opioids, as personal

 injuries. (R. 514 at ¶¶902, 934). These individuals cannot recover from Defendants the public

 expenditures of Plaintiffs, they cannot claim lost county or municipal tax revenue, and they

 cannot claim the diminished values of Plaintiffs’ property, or the reduced tax income to

 Plaintiffs. By way of example, if Plaintiffs seek to recover the costs associated with providing

 police, firefighters or other emergency personnel with Naloxone to block a potentially fatal

 overdose (Id. at ¶902), this cost cannot be claimed by any other entity except Plaintiffs. 27

        Therefore, the second Holmes factor also weighs in favor of a finding that proximate

 cause has been sufficiently pled.



 26
    It is not entirely clear whether Plaintiffs are merely differentiating case law with this statement
 or disclaiming any interest in monies spent by private providers of emergency services. In any
 event, it does not meaningfully impact the court’s conclusion.
 27
    If discovery were to reveal that Plaintiffs routinely assessed these costs to the individuals who
 required them and/or to their insurers, and that Plaintiffs actually recovered such costs,
 Defendants would in no way be precluded from arguing that no damages were incurred.



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                        iii. Other Injured Parties Vindicating the Law

        The third and final Holmes factor is an inquiry into whether more directly injured victims

 can bring suit. Plaintiffs argue that if their suit is barred “few, if any, victims of the RICO

 conspiracy will be able to ‘vindicate the law as private attorneys general.’” (R. 654, PageID#

 15754) (quoting Holmes, 503 U.S. at 269-270). Of course, it is too early to determine whether

 any laws have been violated. Nevertheless, taking the allegations as true, the court agrees with

 Plaintiffs that no other category of potential plaintiff groups, aside from states and their political

 subdivisions, can be counted on to vindicate the law in the same manner. 28

        The court again finds In re Neurontin instructive. Although the plaintiff therein was an

 insurer and not a government entity, the court noted that there was no risk of duplicative

 recovery because “[n]either the individual physicians, nor the [Drug Information Service]

 members, nor the [Pharmacy and Therapeutics] Committee members—the parties to whom

 [defendant] directly made its misrepresentations—ever paid anything toward a Neurontin

 prescription, so there is no risk of multiple recoveries due to a suit by another of those actors.”

 712 F.3d at 37. Defendants have not shown that another party would be able to recover for the

 specific damages Plaintiffs sustained from Defendants’ alleged enterprise. The third factor also

 favors a finding that proximate cause has been sufficiently pled.

        Based on the application of the Holmes factors, the court concludes that the connection

 between Plaintiffs’ injuries and the Defendants’ alleged scheme—to vastly increase opioid sales

 by changing physician prescribing practices through fraud coupled with increasing the supply of


 28
    Defendants have stridently asserted that civil RICO damages are unavailable for personal
 injuries. (R. 491-1, PageID# 7478-7479; R. 499-1, PageID# 7665). In such case, patients, who
 were inappropriately prescribed opioids and suffered physical or mental injuries as a result,
 would be precluded from bringing a RICO claim to recover for their personal injuries.


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 opioids by failing to report suspicious orders—“is not so indirect, unforeseeable, or illogical that

 the defendants must prevail as a matter of law.” Wallace, 714 F.3d at 422.

        3. Existence of an Enterprise

        “The [RICO] statute does not specifically define the outer boundaries of the ‘enterprise’

 concept but states that the term ‘includes any individual, partnership, corporation, association, or

 other legal entity, and any union or group of individuals associated in fact although not a legal

 entity.’” Boyle, 556 U.S. at 944 (citing § 1961(4)). The Boyle court recognized that the definition

 of enterprises was “obviously broad” and ensure[d] that the definition has a wide reach. Id. Some

 structure, however informal, was found to be necessary, because: “it is apparent that an

 association-in-fact enterprise must have at least three structural features: a purpose, relationships

 among those associated with the enterprise, and longevity sufficient to permit these associates to

 pursue the enterprise’s purpose.” Id.

        [A]n association-in-fact enterprise is simply a continuing unit that functions with
        a common purpose. Such a group need not have a hierarchical structure or a
        “chain of command”; decisions may be made on an ad hoc basis and by any
        number of methods—by majority vote, consensus, a show of strength, etc.
        Members of the group need not have fixed roles; different members may perform
        different roles at different times. The group need not have a name, regular
        meetings, dues, established rules and regulations, disciplinary procedures, or
        induction or initiation ceremonies. While the group must function as a continuing
        unit and remain in existence long enough to pursue a course of conduct, nothing
        in RICO exempts an enterprise whose associates engage in spurts of activity
        punctuated by periods of quiescence.

 Id. at 944, 948 (footnotes omitted).

        Defendants contend that Plaintiffs have not alleged any facts that could establish the three

 requisite structural features. (R. 499-1, PageID# 7673-7674, 7685-7686; R. 491-1, PageID#

 7490). Specifically, they argue that Plaintiffs have failed to allege that “each defendant had

 ‘some part in directing the enterprise’s affairs.’” Id. (quoting United States v. Fowler, 535 F.3d


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 408, 419 (6th Cir. 2008) (citing Reves v. Ernst & Young, 507 U.S. 170, 179 (1993)). Defendants

 also assert that the complaint fails to allege a “common purpose,” and merely alleges profit-

 seeking activity by competitors. The court disagrees. First, pursuit of profit is not the exclusive

 province of legitimate commercial endeavors. Second, Plaintiffs clearly allege a vast scheme that

 had a fundamental overarching purpose—to materially expand prescription opioid use by

 altering the medical community’s prescribing practices of opioids through repeated fraudulent

 statements and misrepresentations. The Defendants allegedly used front groups and KOLs, as

 well as their own sales representatives, to spread their false and misleading message. If such a

 conspiracy is established by the facts, a profit motive would not negate a common purpose.

 While Defendants would characterize the allegations as alleging merely “a pattern of crimes”

 “independently and without coordination,” (R. 499-1, PageID# 7673), it is alleged that front

 groups, such as APF, AAPM, and APA, were funded and directed by multiple Defendants to

 spread their false message under the guise of a neutral third party. (R. 514 at ¶¶357-428).

        On the supply side, the Distributors attempt to portray the allegations as establishing no

 more than “routine business relationships” or “membership in trade organizations.” (R. 491-1,

 PageID# 7491). Defendants’ contentions turn a blind eye to allegations that allege much more. It

 is alleged the PCF and the HDA created a private network where representatives of the

 Manufacturers and Distributors could form relationships and create alliances and hold strategic

 business discussions between high-level executives. (R. 514 at ¶¶534-553). Plaintiffs further

 allege that the Manufacturers and Distributors were “not two separate groups operating in

 isolation or two groups forced to work together in a closed system,” but rather they “operated

 together as a united entity, working together on multiple fronts, to engage in the unlawful sale of

 prescription opioids.” Id. at ¶¶543-546. Though Defendants may have competed over the ever-


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 mushrooming opioid market, that does not shield them from allegations of racketeering activity

 in furtherance of a scheme to grow that market.

         Defendants assert that their mere participation in trade associations is insufficient to form

 an enterprise. (R. 744, PageID# 17655; R. 746, PageID# 17711). “In Boyle, the [Supreme] Court

 upheld an instruction that allowed a jury to find an association-in-fact enterprise ‘form[ed] solely

 for the purpose of carrying out a pattern of racketeering acts’ and instructed that ‘[c]ommon

 sense suggests that the existence of an association-in-fact is oftentimes more readily proven by

 what it does, rather than by abstract analysis of its structure.’” Ouwinga v. Benistar 419 Plan

 Servs., Inc., 694 F.3d 783, 794 (6th Cir. 2012) (citing Boyle, 556 U.S. at 942). “[A] pattern of

 racketeering activity may be sufficient in a particular case to permit a jury to infer the existence

 of an association-in-fact [enterprise].” Id. at 951. It is alleged, for example, that the

 Manufacturers and Distributors used the HDA to jointly increase production quotas, to stymie

 efforts that would prevent the diversion of opioids, and to coordinate their refusal to report

 suspicious orders, including those made by direct competitors. (R. 514 at ¶¶545-552).

 Defendants do not meaningfully explain how these relationships are insufficient as a matter of

 law. (R. 746).

         An inability to describe the exact inner workings of these associations, without the

 benefit of discovery, is not dispositive at this stage. At the same time, the allegations in the

 complaint are significantly more detailed than a mere assertion that because the Defendants were

 members of a trade association that they must have been part of an illicit enterprise. Again,

 discovery may yield no fruit in this regard, but Plaintiffs should have an opportunity to prove the

 substance of their allegations.

         Finally, Plaintiffs have alleged longevity sufficient to pursue the enterprise’s purpose—


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 the 1990s to the present. (R. 514 at ¶¶829, 834).

        4. Racketeering Activity

        The Defendants argue that Plaintiffs fail to plead any actionable “racketeering activity.”

 (R. 491-1, PageID# 7486-7490; R. 499-1, PageID# 7674-7678, 7686). “RICO takes aim at

 ‘racketeering activity,’ which it defines as any act ‘chargeable’ under several generically

 described state criminal laws, any act ‘indictable’ under numerous specific federal criminal

 provisions, including mail and wire fraud ….” Sedima, 473 U.S. at 481. Plaintiffs allege

 Defendants engaged in mail and wire fraud under 18 U.S.C. §§ 1341 and 1343. (R. 514 at ¶¶888-

 890, 911-916).

                  a. Marketing Enterprise Claim

        “When pleading predicate acts of mail or wire fraud, in order to satisfy the heightened

 pleading requirements of Rule 9(b), a plaintiff must ‘(1) specify the statements that the plaintiff

 contends were fraudulent, (2) identify the speaker, (3) state where and when the statements were

 made, and (4) explain why the statements were fraudulent.’” Heinrich v. Waiting Angels

 Adoption Servs., Inc., 668 F.3d 393, 404 (6th Cir. 2012) (citing Frank v. Dana Corp., 547 F.3d

 564, 570 (6th Cir. 2008)). Nevertheless, a RICO plaintiff is not required to plead or prove first-

 party reliance on an allegedly false statement. See Bridge, 553 U.S. at 648. In addition, “courts

 have relaxed Rule 9(b)'s heightened pleading requirements in cases involving complex

 fraudulent schemes or those occurring over a lengthy period of time and involving thousands of

 billing documents.” In re U.S. Foodservice Inc. Pricing Litig., 2009 WL 5064468, at *18 (D.

 Conn. Dec. 15, 2009) (“dates, times and places need not be pleaded with absolute precision, so

 long as the allegations sufficiently put the defendant on notice as to the circumstances of the

 charged misrepresentations.”) (citations omitted); In re Sumitomo Copper Litig., 995 F. Supp.


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 451, 456 (S.D.N.Y. 1998) (“In complex civil RICO actions involving multiple defendants,

 therefore, Rule 9(b) does not require that the temporal or geographic particulars of each mailing

 or wire transmission made in furtherance of the fraudulent scheme be stated with particularity.”).

        The Manufacturers assert that the marketing enterprise and supply chain enterprise RICO

 claims are based entirely on allegations that they fraudulently marketed opioids, but the

 complaint fails to plead “any such fraudulent marketing anywhere in Summit County as to any

 Manufacturer Defendant with the particularity required by Rule 9(b).” (R. 499-1, PageID# 7678,

 7688). They further aver that the so-called “nine categories of misrepresentations” alleged in the

 complaint do not satisfy the particularity requirements of Rule 9(b). Id. at PageID# 7679. They

 further contend that Plaintiffs impermissibly rely on the statements of third-parties. Id. at

 PageID# 7681. Plaintiffs point to Williams v. Duke Energy Intern., Inc., wherein the Sixth

 Circuit Court of Appeals stated:

        [T]his court has held that “[i]t is a principle of basic fairness that a plaintiff should
        have an opportunity to flesh out her claim through evidence unturned in
        discovery. Rule 9(b) does not require omniscience; rather the Rule requires that
        the circumstances of the fraud be pled with enough specificity to put defendants
        on notice as to the nature of the claim.” Michaels Bldg. Co. v. Ameritrust Co.,
        N.A., 848 F.2d 674, 680 (6th Cir. 1988). “Especially in a case in which there has
        been no discovery, courts have been reluctant to dismiss the action where the facts
        underlying the claims are within the defendant's control.” Id.

 681 F.3d 788, 803 (6th Cir. 2012). A recent decision from this district supports that notion and

 cautions that “Rule 9’s pleading requirement of particularity must be read in harmony with Rule

 8’s ‘policy of simplicity in pleading[.]’ [and] … courts should not be ‘too exacting’ or ‘demand

 clairvoyance from pleaders’ in determining whether the requirements of Rule 9(b) have been

 met.” Ford v. Pa. Higher Educ. Assist. Agency, 2018 WL 1377858 at *4 (N.D. Ohio Mar. 19,

 2018) (Lioi, J.) (citations omitted); see also In re Sumitomo Copper Litig., 995 F. Supp. at 456



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 (“In cases in which the plaintiff claims that the mails or wires were simply used in furtherance of

 a master plan to defraud, the communications need not have contained false or misleading

 information themselves [and] a detailed description of the underlying scheme and the connection

 therewith of the mail and/or wire communications, is sufficient to satisfy Rule 9(b).”) (citing

 Schmuck v. U.S., 489 U.S. 705, 715 (1989)).

          Plaintiffs have sufficiently alleged that the Manufacturers engaged in an “Opioid

 Marketing Enterprise.” At a minimum, they have sufficiently alleged that mail and wire

 communications were a “step in the plot” of the overarching fraudulent scheme. 29 It is alleged

 that the “[t]he pattern of racketeering activity used by the RICO Marketing Defendants … likely

 involved thousands of separate instances of the use of the U.S. Mail or interstate wire facilities in

 furtherance of the unlawful Opioid Marketing Enterprise, including essentially uniform

 misrepresentations, concealments and material omissions regarding the beneficial uses and non-

 addictive qualities for the long-term treatment of chronic, non-acute and non-cancer pain….” (R.

 514 at ¶¶839, 840-848). As set forth in the summary above, the complaint details nine categories

 of specific misrepresentations. It further sets out how the so-called misrepresentations were

 disseminated, including through speakers’ programs, front groups, KOLs, and directly through

 sales representatives.


 29
      In Schmuck, 489 U.S. at 710-711, the Supreme Court explained that:

          The federal mail fraud statute does not purport to reach all frauds, but only those
          limited instances in which the use of the mails is a part of the execution of the
          fraud, leaving all other cases to be dealt with by appropriate state law.” To be part
          of the execution of the fraud, however, the use of the mails need not be an
          essential element of the scheme. It is sufficient for the mailing to be “incident to
          an essential part of the scheme,” or “a step in [the] plot.”

 (internal citations and footnotes omitted).


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        Whether these so-called misrepresentations were indeed false or misleading is an issue of

 fact. Defendants’ motion to dismiss demands an untenable level of specificity above and beyond

 the pleading rules. Plaintiffs cannot be expected to plead the minutiae of their case without the

 benefit of discovery. 30 Further, the court finds compelling the reasoning of a decision from the

 Southern District of New York:

        [I]t is difficult to see any useful purpose in requiring that a RICO complaint
        specifically allege each mailing in furtherance of a complex commercial scheme,
        at least where, as here, the complaint alleges that numerous mailings of particular
        kinds were made in furtherance of the scheme. Once the plaintiff alleges with
        particularity the circumstances constituting the fraudulent scheme, neither the
        reputational interests nor the notice function served by Rule 9(b) would be
        advanced in any material way by insisting that a complaint contain a list of letters
        or telephone calls.

 Spira v. Nick, 876 F. Supp. 553, 559 (S.D.N.Y. 1995) (footnotes omitted). Taking into

 consideration the clandestine nature of the alleged conspiracy to swell the market for opioids by

 undermining the medical community’s apprehension towards prescribing them, it is unsurprising

 that Plaintiffs cannot connect each dot in the conspiracy without the benefit of discovery, as the

 evidence necessary to prove their allegations, if it exists, undoubtedly lies primarily in the hands

 of Defendants. Given the detailed allegations of the complaint, it cannot reasonably be deemed a

 fishing expedition.



 30
    Defendants repeated statement that Plaintiffs have failed to identify even one Summit County
 prescriber who relied on the misrepresentations is a red herring. Plaintiffs allege that interviews
 with Summit County doctors have confirmed that Defendants’ sales representatives “carried the
 deceptive messages to local prescribers.” (R. 514 at ¶675). Defendants will have ample
 opportunity to ascertain the identity of these doctors in discovery. The allegation that Ohio is one
 of the hardest hit states by the opioid epidemic, with 39.5 million opioid doses dispensed in
 Summit County in 2012 alone for a county-wide population of 540,000, coupled with the
 allegation that it leads the nation in overdose deaths per capita, when accepted as true, renders
 hollow any notion that the Defendants’ more than a decade long nationwide push to expand
 prescription opioid use failed to permeate Summit County. Id. at ¶¶689, 714-719.


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        Finally, the Manufacturers’ assertion that Plaintiffs are relying on statements made by

 third parties fails to read the complaint as a whole. (R. 499-1, PageID# 7681-7682). Plaintiffs

 have alleged that the Manufacturers spent millions of dollars on both advertising as well as direct

 contact with physicians through sales representatives, through which they spread their alleged

 misrepresentations concerning the safety and efficacy of opioids; that the Manufacturers created

 the body of literature to support false assertions; and that so-called third parties were merely

 front groups or KOLs sponsored and controlled directly by the Manufacturers. (R. 514 at ¶¶442-

 445, 448-455). Although the veracity of these allegations may be in dispute, they cannot be

 challenged in a 12(b)(6) motion.

                b. Supply Chain Enterprise

                        i. Mail and Wire Fraud

        The Distributors also assert that Plaintiffs have failed to allege with sufficient

 particularity any predicate acts of mail or wire fraud under RICO. (R. 491-1, PageID# 7486-

 7487). Without repeating the requirements of mail or wire fraud pleading set forth above, the

 complaint itself appears to concede that a high level of specificity is lacking, but asserts that

 “[m]any of the precise dates of the fraudulent uses of the U.S. mail and interstate wire facilities

 have been deliberately hidden by Defendants and cannot be alleged without access to

 Defendants’ books and records. However, Plaintiffs have described the types of, and in some

 instances, occasions on which the predicate acts of mail and/or wire fraud occurred.” (R. 514 at

 ¶871). The complaint does broadly aver that the Distributors used the mail and/or the wires to

 ship the opioids themselves, to seek higher production/procurement quotas, to submit reports to

 the DEA that contained material omissions and/or misrepresentations, to transmit documents that

 facilitated the transport of the opioids, to process rebates and chargebacks, to make payments to


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 trade organizations such as the HDA—all while being aware that many of the orders were

 suspicious, exceeded any reasonable amount for legitimate purposes, and subject to diversion. Id.

 at ¶¶855-877.

         Furthermore, all three of the moving Distributors are alleged to have paid millions of

 dollars in civil penalties and/or settlement agreements with the United States and/or the state of

 West Virginia involving similar allegations that they failed to report suspicious orders of

 controlled substances: in 2016 AmerisourceBergen Drug Corporation settled a lawsuit with West

 Virginia for $16 million (R. 514 at ¶585); in 2016 Cardinal Health, Inc. agreed to pay $44

 million to the United States and $20 million to West Virginia (Id. at ¶¶584-585); and, in 2017

 McKesson Corporation agreed to pay $150 million to the United States. (Id. at ¶¶581-582).

 While the court does not construe any of these allegations as admissions by the Distributors,

 these facts do bolster the plausibility of Plaintiffs’ allegations.

         Finally, as stated above, the specific evidence of a conspiracy, if indeed one existed,

 would lie in the hands of Defendants.

                 ii.     Felonious Manufacture, Importation, Receiving, Concealment,
                         Buying, Selling, or Otherwise Dealing in a Controlled Substance as a
                         Predicate Act

         The Defendants also challenge the alleged supply chain enterprise, asserting that

 Plaintiffs have failed to allege a predicate act under RICO. (R. 491-1, PageID# 7486, 7488-7489;

 R. 499-1, PageID# 7686-7687). “Section 1961(1) [of the RICO Act] contains an exhaustive list

 of acts of ‘racketeering,’ commonly referred to as ‘predicate acts.’” Beck v. Prupis, 529 U.S.

 494, 497 at n. 2 (2000). Under RICO, “racketeering activity” includes “the felonious

 manufacture, importation, receiving, concealment, buying, selling, or otherwise dealing in a

 controlled substance or listed chemical (as defined in section 102 of the Controlled Substances


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 Act), punishable under any law of the United States.” 18 U.S.C. § 1961(1)(D) (emphasis added).

 The Manufacturers concede that “certain conduct involving the manufacture and distribution of

 controlled substances may constitute a predicate act if it is ‘punishable by imprisonment for more

 than one year.’” (R. 499-1, PageID# 7686). They maintain, however, that the alleged “failure to

 monitor and report suspicious orders amounts to (at most) a violation of 21 U.S.C. § 842(a)(5)”

 and is not punishable by more than a year. (R. 499-1, PageID# 7687). Defendants fail to cite any

 authority that limits Plaintiffs’ allegations to § 842, a position not compelled by the plain

 language of the code. 31 (R. 746, PageID# 17717).

        Plaintiffs counter that Defendants’ failure to report suspicious orders instead violates §

 843, which makes it unlawful to “knowingly or intentionally … furnish false or fraudulent

 material information in, or omit any material information from, any application, report, record, or

 other document required to be made, kept, or filed under this subchapter or subchapter II…” (R.

 654, PageID# 15770, citing 21 U.S.C. § 843(A)(4)(a)). Such a violation is punishable by up to

 four years imprisonment. 21 U.S.C. § 843(d)(1). Despite the admission in their motion to dismiss

 that the felonious dealing in a controlled substance constitutes a predicate act, Defendants assert

 that a violation of § 843(a)(4)(A) would not qualify as a predicate act because it is not

 specifically enumerated in § 1961(1)(D). 32 (R. 491-1, PageID# 7488; R. 499-1, PageID# 7694-


 31
    § 842 applies to persons who “refuse or negligently fail to make, keep, or furnish any record,
 report, notification, declaration, order or order form, statement, invoice, or information required
 under this subchapter or subchapter II….” The complaint alleges intentional conduct that goes
 well beyond negligence—that Defendants knew about suspicious orders from their own sales
 representatives and the exacting data they kept but concealed them. (R. 514 at ¶¶554-593).
 32
    The Distributors cite one non-binding decision in their argument: In re Epogen & Aranesp Off-
 Label Mktg. & Sales Practices Litig., 590 F. Supp. 2d 1282, 1290 (C.D. Cal. 2008). (R. 491-1,
 PageID# 7488-7489). That case, however, is inapposite and contains no discussion at all as to
 whether a violation of § 843(a)(4)(A) may serve as a predicate act under the language of §
 1961(1)(D). Further, the plaintiff therein alleged RICO liability solely on the basis of off-label


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 7695). Without relying on any binding case law to support their argument, Distributors assert

 that “[v]iolations of Section 843(a)(4) do not fall within that language [of 18 U.S.C. §

 1961(1)(D)]” because providing false information or making material omissions does not

 constitute “buying, selling, or otherwise dealing” in controlled substances. (R. 491-1, PageID#

 7488). First, the court is skeptical whether providing false information, as alleged, does not

 constitute “concealment” or “otherwise dealing in a controlled substance” as Distributors

 suggest. Second, the court takes note that in making the above assertion, the Distributors

 completely cut out the provision of § 1961(1)(D) that expressly references “concealment” of a

 controlled substance and furnishing false information as alleged may constitute concealment.

 Thus, the plain language of § 1961(1)(D) does not appear to preclude the use of a violation of §

 843(a)(4)(A) as a predicate act. The argument that § 843 is not expressly enumerated as a

 predicate act by § 1961(1)(D) is untenable, as § 1961(1)(D) does not identify any single, specific

 section of the United States Code that would constitute a predicate act under the subsection. If

 Defendants’ construction were adopted, the entirety of § 1961(1)(D) would be rendered a nullity.

        While Defendants maintain their alleged conduct is more akin to a violation of § 842, the

 question of whether § 842, § 843, or neither was violated is ultimately an issue of fact that cannot


 marketing relying exclusively on mail and wire fraud as racketeering activities. In re Epogen,
 590 F. Supp. 2d at 1287 (“Plaintiffs allege that Defendants' unlawful promotion of EPO for
 unsafe, off-label uses constituted a pattern of racketeering activity, including mail and wire
 fraud.”). The district court did hold that “[a]llowing Plaintiffs to proceed on a theory that
 Defendants violated RICO by engaging in off-label promotion, without specific allegations that
 Defendants made false or misleading statements, would, in effect, permit Plaintiffs to use RICO
 as a vehicle to enforce the FDCA and the regulations promulgated thereunder.” Id. at 1289-1290.
 Plaintiffs correctly note that “the In re Epogen plaintiff did not assert felony predicate acts,
 claims under the CSA, or the existence of a felony violation of the FDCA.” (R. 654, PageID#
 15774). Defendants’ attempt to portray In re Epogen as holding that a felony violation of either
 the FDCA or the CSA can never serve as a RICO predicate act under § 1961(1)(D) is far too
 broad and distorts the limited scope of the decision.


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 be resolved on a motion to dismiss. Plaintiffs’ argument—that the Manufacturers and

 Distributors, by allegedly suppressing or refusing to identify and report suspicious orders

 effectively engaged in activity tantamount to “concealment” or “otherwise dealing in controlled

 substances”—is construed as true at this pleading stage. Thus, Plaintiffs have sufficiently pled a

 predicate act pursuant to section 1961(1)(D) with respect to their supply side RICO theory.

        Alternatively, the Manufacturers argue that they “have no duty to monitor, prevent, or

 report the downstream diversion of prescription opioids at the pharmacy or physician level,

 where diversion occurs.” (R. 499-1, PageID#7687). They maintain that under the “plain text” of

 21 C.F.R. § 1301.74(b), their duty extends only to monitoring and reporting suspicious orders

 placed with them by their direct customers (i.e., pharmaceutical distributors). Id. Plaintiffs

 counter that such an argument reads words into the text of the CSA and its regulations that do not

 exist. (R. 654, PageID# 15770). 21 C.F.R. § 1301.74(b) states:

        The registrant shall design and operate a system to disclose to the registrant
        suspicious orders of controlled substances. The registrant shall inform the Field
        Division Office of the Administration in his area of suspicious orders when
        discovered by the registrant. Suspicious orders include orders of unusual size,
        orders deviating substantially from a normal pattern, and orders of unusual
        frequency.

        The plain text of the regulation is not so limiting, and does not state that a registrant’s

 obligation to report suspicious orders applies only to orders from its direct customers. Rather, the

 plain text requires the registrant to report suspicious orders whenever one is “discovered by the

 registrant.” 33 Further, Defendants cite no case law interpreting the provisions of § 1301.74(b) so



 33
    Undoubtedly, a registrant manufacturer would have the most precise information about orders
 from its direct customers. However, the complaint alleges that the Manufacturers, in concert with
 the Distributors, collected vast amounts of data that, at least plausibly, led to Defendants’
 discovery of suspicious orders by parties other than their direct customers.


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 narrowly. Plaintiffs also fail to cite any authority interpreting the regulation, save for a DEA

 enforcement action against Mallinckrodt and Mallinckrodt’s ensuing admission that “[a]s a

 registrant under the CSA, [it] had a responsibility to maintain effective controls against

 diversion, including a requirement that it review and monitor these sales and report suspicious

 orders to DEA.” (R. 654, PageID# 15770, citing R. 514 at ¶520). Nonetheless, the onus is on

 Defendants as the moving party to demonstrate that Plaintiffs fail to state a claim.

        For the forgoing reasons, it is recommended that the court deny the motions to dismiss

 Counts One and Two.

 B. Preemption

        The Manufacturers argue that all state law claims are preempted, as they conflict with the

 FDA’s decisions regarding approval and labeling of medications. (R. 499-1, PageID# 7689-93).

        1. Claims Involving Marketing of Opioids

        The Manufacturers portray the complaint as alleging that they falsely represented opioids

 as safe and effective for the long-term treatment of chronic non-cancer pain. (R. 499-1, PageID#

 76989-7690). They argue the FDA has approved this use, which demonstrates that it found

 “substantial evidence that the drug will have the effect it purports or is represented to have” and

 that the opioids in question are safe and effective for treating chronic pain. Id. citing 21 U.S.C. §

 355(d). They cite cases holding that state law claims are preempted where a claim would require

 a drug manufacturer to make statements about safety or efficacy that differ from what the FDA

 required. Id. (citing Rheinfrank v. Abbott Labs., Inc., 680 Fed. App’x 369, 386 (6th Cir. 2017); In

 re Celexa & Lexapro Mktg. & Sales Practices Litig., 779 F.3d 34, 42-43 (1st Cir. 2015); Utts v.

 Bristol-Meyers Squibb Co., 251 F. Supp. 3d 644, 663-73 (S.D.N.Y. 2017)).




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        Conversely, Plaintiffs dispute that their claims are based on allegations that Defendants

 falsely claimed their medications were “safe and effective for the long-term treatment of chronic

 non-cancer pain.” (R. 654, PageID# 15826). Rather, they insist their allegations revolve around

 Defendants’ “false and misleading promotion of these drugs.” Id. They argue that there is no

 preemptive conflict between their state law claims and federal law, because the latter did not

 require the Manufacturers to misleadingly promote their products. (R. 654, PageID# 15826).

 Plaintiffs assert that they do not seek to stop the Manufacturers from selling opioids, but only to

 stop their deceptive marketing. Id. Plaintiffs cite cases in support of the proposition that,

 “because drug manufacturers are under no federal obligation to promote their products, courts

 have consistently refused to find preemption of fraud-based marketing claims involving FDA-

 approved drugs even where the manufacturer would be precluded from altering its label (as in

 the case of generic drugs for which the manufacturer is required to maintain a label identical to

 the branded equivalent.)” Id., PageID# 15827 (citing Arters v. Sandoz Inc., 921 F. Supp. 2d 813,

 819-20 (S.D. Ohio 2013) (state law fraud claims based on defendants’ allegedly fraudulent or

 unreasonably dangerous promotion of generic drug were not preempted); Priest v. Sandoz, Inc.,

 2016 WL 11162903, at *7 (W.D. Tex. Dec. 29, 2016), report and recommendation adopted,

 2016 WL 8896188 (W.D. Tex. Jan. 31, 2017) (obligation to refrain from falsely promoting drugs

 does not make it impossible to comply with federal law regarding labelling); Beavers-Gabriel v.

 Medtronic, Inc., 2015 WL 143944, at *6 (D. Haw. Jan. 9, 2015) (no impossibility preemption for

 fraud claims); Elmore v. Gorsky, 2012 WL 6569760, at *3 (S.D. Tex. Dec. 17, 2012)).

        The cases upon which Defendants rely are all distinguishable. Rheinfrank is inapposite

 because it was argued the defendant should have added a warning label the FDA had twice

 refused. 680 Fed. App’x at 384-388. In In re Celexa, it was argued that the FDA should not have


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 approved Lexapro, and that defendant should have shared negative efficacy information with the

 FDA. 779 F.3d at 36-43. Because the FDA had reviewed this information and approved the drug,

 the state law claim was in conflict with federal law. Id. In Utts, the plaintiffs’ fraud-based claims

 were preempted, because they alleged a fraud upon the FDA. 251 F. Supp. 3d at 679-680 (citing

 Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 350 (2001) (holding that state law fraud

 on the FDA claims conflict with federal law and are impliedly preempted)). Herein, the state law

 claims are not premised upon inappropriate labeling or a fraud upon the FDA, but rather

 fraudulent marketing in the promotion and sale of their opioids. 34

        At this current stage of the proceedings, Defendants have not met their burden to show

 that Plaintiffs’ claims are preempted.

        2. Claims Involving Off-Label Uses

        The Manufacturers also argue that claims related to the inappropriate promotion of

 opioids for off-label uses are preempted. (R. 499-1, PageID# 7689-7691). Preemption is

 required, they assert, because the FDA is invested with exclusive authority and a variety of

 enforcement options to address off-label promotion. Id. Moreover, the FDCA does not create a

 private right of action to enforce its provisions. Perdue v. Wyeth Pharms., Inc., 209 F.Supp.3d

 847, 851-52 (E.D.N.C. 2016); see also McDaniel v. Upsher-Smith Pharms., Inc., 229 F.Supp.3d

 707, 713 (W.D. Tenn. 2017).

        Plaintiffs assert they are not suing to enforce FDCA off-label use rules, but rather

 contend that Defendants misrepresented the risks associated with off-label opioid use. (R. 514,


 34
   The Manufacturers’ reply characterizes Plaintiffs’ brief as conceding that various claims are
 preempted. (R. 746, PageID# 17706-17707). The court does not construe Plaintiffs’ brief as
 abandoning or conceding any of their state law claims as preempted. But after discovery, the
 Plaintiffs may narrow their claims and Defendants may renew their arguments upon a full record.


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 PageID# 6818-6869, ¶¶177-349). They argue that state law claims may proceed on such grounds

 even where the alleged wrongful conduct might also violate the FDCA. (R. 654, PageID# 15829-

 15830). Moreover, Plaintiffs assert that state law claims founded on violations of federal law

 duties are precluded only to the extent that they “exist solely by virtue of” the federal law in

 question and do not “rely on traditional state tort law.” Buckman, 531 U.S. at 352-353. They rely

 upon cases in which state law claims proceeded on such grounds even where the alleged

 wrongful conduct might also have violated the FDCA. Id.; see also Loreto v. Procter & Gamble

 Co., 515 Fed. App’x 576, 580 (6th Cir. 2013); Desiano v. Warner-Lambert & Co., 467 F.3d 85

 (2d Cir. 2006), aff’d sub nom. Warner-Lambert Co., LLC v. Kent, 552 U.S. 440 (2008); Arters,

 921 F. Supp. 2d at 819-20.

        The Sixth Circuit, in Loreto, indicated that “plaintiffs may not bring a state-law claim

 against a defendant when the state-law claim is in substance (even if not in form) a claim for

 violating the FDCA.” 515 Fed. App’x 576 at 579. The Loreto court explained its method for

 distinguishing between state law claims that seek to enforce the FDCA and those that actually

 arise under state law; only the former are preempted. Id. The Loreto court noted,

        [T]he conduct on which the claim is premised must be the type of conduct
        that would traditionally give rise to liability under state law—and that
        would give rise to liability under state law even if the FDCA had never
        been enacted. If the defendant’s conduct is not of this type, then the
        plaintiff is effectively suing for a violation of the FDCA (no matter how
        the plaintiff labels the claim), and the plaintiff’s claim is thus impliedly
        preempted under Buckman.

 Id. The Loreto court found no preemption of a claim that a manufacturer’s marketing materials

 misrepresented the health benefits of vitamin C in its over-the-counter cold remedy, ruling that

 the claim relied “solely on traditional state tort law predating the FDCA,” even though the

 conduct also violated the FDCA. Id. at 580. In Arters, it was alleged that the defendants had


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 promoted Amiodarone as a routine treatment, rather than as a drug of last resort. 921 F. Supp. 2d

 at 819-820. The court held that claims arising from off-label promotion did not seek to enforce

 the FDCA, because plaintiff did not allege that defendants violated their duty on the ground that

 the promotion was off-label, but rather because it was fraudulent. Id.

        Here, Plaintiffs do not seek to enforce the provisions of the FDCA, instead they allege

 that Defendants fraudulently and misleadingly promoted their opioids. These allegations are of

 the type that would traditionally be brought as state law claims and, therefore, are not preempted.

        3. Obstacle Preemption

        The Manufacturers next argue that Plaintiffs’ diversion monitoring theory “stands as an

 obstacle to the accomplishment and execution of the full purposes and objectives of Congress”

 under the FDCA. (R. 499-1, PageID# 7691, citing Crosby v. Nat’l Foreign Trade Council, 530

 U.S. 363, 372-73 (2000)). They frame the allegations as an assertion that the Manufacturers “had

 a duty not to sell their prescription opioids due to concerns with opioid diversion,” and a prayer

 for damages and an injunction against any further violations. Id. at PageID# 7693. Defendants

 contend that “allowing these claims to proceed would undermine the FDA’s decision to make

 (and keep) [the Manufacturers’] prescription opioids available to the public” and are thus

 preempted. Id. (internal quotation marks omitted).

        The complaint cannot be reasonably construed as alleging that Defendants should have

 stopped selling opioids altogether, but rather alleges that they failed in their duty to prevent or

 actively concealed opioid diversion and misuse. Plaintiffs contend that their allegations focus on

 Defendants’ “duty to use due care in selling their dangerous products and that they are liable for

 failing to use such care.” (R. 654, PageID# 15832). Plaintiffs further argue that their diversion

 and monitoring claims are consistent with federal standards of care applicable to the sale of


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 opioids, and thus create no obstacle to the implementation of the FDCA. Id., PageID# 15830-

 15832.

          Federal law preempts state law under the doctrine of obstacle preemption when state law

 “stands as an obstacle to the accomplishment and execution of the full purposes and objectives of

 Congress.” Crosby, 530 U.S. at 372-373. State tort actions related to the sale and marketing of

 pharmaceuticals raise the specter of obstacle preemption. In Wyeth v. Levine, the Supreme Court

 considered obstacle preemption in the context of a state tort claim alleging that the manufacturer

 of Phenergan had failed to provide adequate warnings about the risks of injecting the drug. 555

 U.S. 555 (2009). The Supreme Court rejected Wyeth’s obstacle preemption argument, noting

 that with limited resources to monitor the 11,000 drugs on the market, the FDA appears to view

 state tort law as a “complementary” form of drug regulation indicating:

          If Congress thought state-law suits posed an obstacle to its objectives, it surely
          would have enacted an express pre-emption provision at some point during the
          FDCA's 70–year history. But despite its 1976 enactment of an express pre-
          emption provision for medical devices ... Congress has not enacted such a
          provision for prescription drugs. See Riegel v. Medtronic, Inc., 552 U.S., at 327
          (2008) (“Congress could have applied the pre-emption clause to the entire FDCA.
          It did not do so, but instead wrote a pre-emption clause that applies only to
          medical devices.”) Its silence on the issue, coupled with its certain awareness of
          the prevalence of state tort litigation, is powerful evidence that Congress did not
          intend FDA oversight to be the exclusive means of ensuring drug safety and
          effectiveness. As Justice O'Connor explained in her opinion for a unanimous
          Court: “The case for federal pre-emption is particularly weak where Congress has
          indicated its awareness of the operation of state law in a field of federal interest,
          and has nonetheless decided to stand by both concepts and to tolerate whatever
          tension there [is] between them.” Bonito Boats, Inc. v. Thunder Craft Boats,
          Inc., 489 U.S. 141, 166–167, 109 S.Ct. 971, 103 L.Ed.2d 118 (1989) (internal
          quotation marks omitted).

 Wyeth, 555 U.S. at 574-575 (internal footnotes omitted).

          The Manufacturers assert that one of Congress’ core objectives in enacting the FDCA

 was to “ensure that any product regulated by the FDA is safe and effective for its intended use.”


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 FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000). They state that courts

 have consistently “held that this regulatory scheme preempts any state law claim seeking to

 prohibit drug manufacturers from selling their FDA-approved products as permitted by FDA.”

 See, e.g. Zogenix, Inc. v. Patrick, 2014 WL 1454696, at *1-2 (D. Mass. Apr. 15, 2014); Gross v.

 Pfizer, Inc., 825 F. Supp. 2d 654, 659 (D. Md. 2011) (requiring a drug manufacturer “to stop

 production of a drug” “would directly conflict with” FDA’s “sole authority ... to determine

 whether a drug may be marked.”), aff’d sub nom. Drager v. PLIVA USA, Inc., 741 F.3d 470 (4th

 Cir. 2014). Both Zogenix and Gross are distinguishable because they, respectively, involved an

 attempt to enforce a state regulatory ban on the sale of certain drugs and a challenge to the

 adequacy of label warnings approved by the FDA. By contrast, Plaintiffs here seek to enforce an

 alleged state law duty to, for example, monitor the sale of drugs with due care—a claim that is

 not inconsistent with the purposes of the FDCA, and thus not preempted.

 C. Statute of Limitations

        Noting that the complaint is based on facts dating back to the 1990s, the Manufacturers

 assert that applying the most generous of the applicable statute of limitations—the 5-year period

 for an OCPA claim—would bar claims relying on conduct predating early 2013. (R. 499-1,

 PageID# 7708-7709). Plaintiffs counter that dismissal based on affirmative defenses at the

 pleading stage is inappropriate where issues of fact concerning tolling exceptions exist.

        Resolving a motion to dismiss based on statute-of-limitations grounds is appropriate

 when the undisputed facts “conclusively establish” the defense as a matter of law. Estate of

 Barney v. PNC Bank, 714 F.3d 920, 926 (6th Cir. 2013); Cataldo v. U.S. Steel Corp., 676 F.3d

 542, 547 (6th Cir. 2012), cert. denied, 568 U.S. 1157 (2013). But where there are disputed factual

 questions, for example “relating to the accrual date, ... claims that the defendant fraudulently


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 concealed facts thereby preventing the plaintiff from learning of its injury, … and complex

 issues about whether information in the plaintiff's possession sufficed to alert it of the claim[,]”

 then a statute of limitations defense is more appropriately addressed in the context of a summary

 judgment motion or at trial. Am. Premier Underwriters, Inc. v. Nat'l R.R. Passenger Corp., 839

 F.3d 458, 464 (6th Cir. 2016); Lutz v. Chesapeake Appalachia, LLC, 717 F.3d 459, 473-476 (6th

 Cir. 2013) (reversing and remanding to the district court to resolve issue of fraudulent

 concealment). Moreover, parties “are entitled to have their cause tried on the merits if they can

 prove that the doctrine of fraudulent concealment should be applied to their case.” Jones v.

 TransOhio Sav. Ass'n, 747 F.2d 1037, 1043 (6th Cir. 1984) (“We are unprepared to hold, prior to

 any discovery on the issue, that Appellants can prove no set of facts consistent with these

 allegations sufficient to toll the statute of limitations.”).

         The complaint alleges that the fraudulent concealment and continuing violation doctrines

 extend the applicable limitations periods, because “Defendants were deliberate in taking steps to

 conceal their conspiratorial behavior and active role in the deceptive marketing and the

 oversupply of opioids through overprescribing and suspicious sales, all of which fueled the

 opioid epidemic.” (R. 514 at ¶¶770, 767-777). The complaint also alleges that Defendants,

 including the Manufacturers, purposefully concealed their unlawful conduct while assuring the

 government and the public that they were complying with applicable laws and cooperating with

 law enforcement to curb the opioid crisis, thereby, it is alleged, depriving Plaintiffs of any actual

 or implied notice of potential claims. (R. 514, ¶¶768-777). It further contends that Defendants’

 wrongful conduct has not ceased, continues to cause Plaintiffs’ injuries, that the opioid epidemic

 continues to spread, and that the resulting claimed injuries are ongoing. Id. at ¶¶715, 718, 724,

 727, 729, 744, 767-768, 780, 818, 827. These allegations are sufficient to raise a plausible


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 inference that the applicable limitation periods are subject to tolling.

 D. Counts Three and Four: Ohio RICO Statute Claims

        In Counts Three and Four, Plaintiffs allege a violation of Ohio’s Corrupt Practices Act

 (OCPA), O.R.C. § 2923.31 et seq. against the Marketing Defendants and Supply-Chain

 Defendants respectively. (R. 514, ¶¶939- 973). OCPA, sometimes referred to as the “Ohio

 RICO” statute, is “patterned after” the federal RICO statute.35 Consequently, Ohio courts look to

 federal case law applying RICO to determine how to apply OCPA. O’Rourke, 640 N.E.2d at

 240; Durrani, 2014 WL 996471, at *8.

        Defendants assert that Plaintiffs’ OCPA claims must be dismissed for the same reasons as

 the federal RICO claims. (R. 491-1, PageID# 7489-7490; R. 499-1, PageID# 7693-7694).

 Because the court finds Plaintiffs have sufficiently pleaded the former, the court rejects

 Defendants’ argument. Defendants, however, raise an additional argument: to establish a

 “pattern” of racketeering activity under the OCPA, a plaintiff must allege “at least one incident

 other than a violation of” federal mail, wire, or security fraud statutes. O.R.C. § 2923.34(A).

 Plaintiffs do not challenge the existence of such a requirement, but assert they also pleaded

 “telecommunications fraud,” and “felony dealing in controlled substances pursuant to RICO

 section 1961(1)(D).” (R. 654, PageID# 15778). Plaintiffs have alleged a felony violation of the

 CSA, specifically § 843(a)(4)(A) (“to furnish false or fraudulent material information in, or omit

 any material information from, any application, report, record, or other document required to be

 made, kept, or filed under this subchapter or subchapter II…”). Id. Defendants contention—that

 a violation of § 843 does not constitute a predicate act—was addressed and rejected above. Thus,


 35
   See, e.g., Aaron v. Durrani, 2014 WL 996471, at *8 (S.D. Ohio Mar. 13, 2014) (citing U.S.
 Demolition & Contracting v. O'Rourke, 640 N.E.2d 235, 240 (Ohio Ct. App. 1994)).


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 Defendants’ motion to dismiss the OCPA claims should be denied.

 E. Ohio Product Liability Act and Abrogation

        The Distributors, joined by the Pharmacies and Manufacturers, argue that Plaintiffs’

 common law negligence and public nuisance claims, as well as Plaintiffs’ statutory public

 nuisance claim, should be dismissed because they are abrogated by the Ohio Product Liability

 Act (OPLA), O.R.C. §§ 2307.71 through 2307.80. (R. 491-1, PageID# 7492-7496, 7502-7505;

 R. 497-1, PageID# 7599; R. 499-1, PageID# 7695). OPLA, by its terms, abrogates a significant

 swath of common law tort litigation. O.R.C. § 2307.71(B) expressly states that “Sections

 2307.71 to 2307.80 of the Revised Code are intended to abrogate all common law product

 liability claims or causes of action.” Pursuant to the statute, a product liability claim is defined as

 follows:

        “Product liability claim” means a claim or cause of action that is asserted in a
        civil action pursuant to sections 2307.71 to 2307.80 of the Revised Code and that
        seeks to recover compensatory damages from a manufacturer or supplier for
        death, physical injury to person, emotional distress, or physical damage to
        property other than the product in question, that allegedly arose from any of the
        following:

            (a) The design, formulation, production, construction, creation, assembly,
            rebuilding, testing, or marketing of that product;

            (b) Any warning or instruction, or lack of warning or instruction, associated
            with that product;

            (c) Any failure of that product to conform to any relevant representation or
            warranty.

        “Product liability claim” also includes any public nuisance claim or cause of
        action at common law in which it is alleged that the design, manufacture, supply,
        marketing, distribution, promotion, advertising, labeling, or sale of a product
        unreasonably interferes with a right common to the general public.




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 O.R.C. § 2307.71(A)(13). 36 Thus, there are essentially two types of product liability claims that

 fall under OPLA’s abrogation provisions: (1) product-related causes of action seeking

 compensatory damages for physical injury or for physical property damage (other than the

 product in question); and (2) public nuisance-type actions alleging unreasonable interference

 with a right common to the general public. 37

        1. Abrogation of Negligence Claim

        The Distributors argue that Plaintiffs’ common law negligence claim is, “at its core, a

 product liability claim—precisely the kind of claim abrogated by the OPLA.” (R. 491-1,

 PageID# 7504, citing Volovetz v. Tremco Barrier Sols., Inc., 74 N.E.3d 743, 753 (Ohio. Ct. App.

 2016) (stating courts look to “[t]he essential nature of the substantive allegations of the plaintiff’s

 claim, not the artificial label attached to the claim”)). Plaintiffs argue that their negligence claim

 is not abrogated because they do not seek compensation for physical injuries caused by

 Defendants’ products, but rather “to recover for economic harms inflicted on their communities

 by Defendants’ conduct in marketing and distributing their products.” (R. 654, PageID# 15799).

 Plaintiffs’ negligence action does not implicate a Type 2 product liability claims, as it does not

 allege an unreasonable interference with a right common to the general public. It does, however,

 potentially implicate a Type 1 product liability claim, as Plaintiffs do not challenge that their

 action involves the “design, formulation, production, construction, creation, assembly,

 rebuilding, testing, or marketing of that product.” O.R.C. § 2307.71(A)(13)(a). Nevertheless,



 36
    The last paragraph emphasizing the inclusion of public nuisance claims was added by
 amendment and went into effect on August 1, 2007. State ex rel. Ohio Gen. Assembly v. Brunner,
 873 N.E.2d 1232, 1235 (Ohio, 2007).
 37
    For the sake of brevity, these will be referred to as “Type 1” and “Type 2” product liability
 claims respectively.


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 Plaintiffs assert that OPLA divides compensatory damages into two distinct categories: “harm”

 and “economic loss.” (R. 654, PageID# 15798). They maintain that only claims for “harm”

 constitute “product liability claims” under OPLA, whereas, “claims solely for ‘economic loss’

 are expressly exempted from the statute and remain available at common law.” Id. The complaint

 alleges Defendants breached their duties resulting in “economic damages including, but not

 limited to, significant expenses for police, emergency, health, prosecution, corrections,

 rehabilitation, and other services,” as well as “non-physical property damage, and damage to its

 proprietary interests.” 38 (R. 514 at ¶¶1062-1063). Thus, the dispositive issue is whether

 Plaintiffs’ negligence action seeks to recover damages for a loss defined as “harm” by OPLA.

        The statute also clarifies that injuries defined as “harm” do not constitute “economic

 loss” under OPLA, O.R.C. § 2307.71(A)(2). OPLA defines “economic loss” as “direct,

 incidental, or consequential pecuniary loss, including, but not limited to, damage to the product

 in question, and nonphysical damage to property other than that product.” Id. Damages that fall

 into this category are excluded from the definition of “harm.” O.R.C. § 2307.71(A)(7). Type 1

 product liability claims encompass claims for compensatory damages for death, physical injury

 to person, emotional distress, or physical damage to property other than the product in

 question—the same categories of injuries defined as “harm” by O.R.C. § 2307.71(A)(7).

        These distinctions are crucial with respect to Type 1 actions, as another section of OPLA

 states that: “Any recovery of compensatory damages for economic loss based on a claim that is

 asserted in a civil action, other than a product liability claim, is not subject to sections 2307.71

 to 2307.79 of the Revised Code, but may occur under the common law of this state or other


 38
   Though Plaintiffs allege an unreasonable interference with a right common to the general
 public with their common law public nuisance claim, pleading in the alternative is permissible.


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 applicable sections of the Revised Code.” O.R.C. § 2307.72(C) (emphasis added). Because civil

 actions that implicate Type 1 product liability only fall within OPLA’s ambit if they allege harm,

 a claim for solely economic loss by its very definition excludes harm and is not abrogated. This

 natural reading of the statutory language was confirmed by an Ohio Supreme Court decision,

 which predated the 2007 amendment:

        [O.R.C. §] 2307.72 makes it clear that although a cause of action may
        concern a product, it is not a product liability claim within the purview of
        Ohio’s product liability statutes unless it alleges damages other than
        economic ones, and that a failure to allege other than economic damages
        does not destroy the claim, but rather removes it from the purview of those
        statutes.

 LaPuma v. Collinwood Concrete, 661 N.E.2d 714, 716 (Ohio 1996) (emphasis added); Volovetz,

 74 N.E.3d at 752 (acknowledging LaPuma’s holding in a footnote, but finding that plaintiff’s

 negligence claim was barred because it sought recovery for compensatory damages stemming

 from physical damage to property).

        Because Plaintiffs’ negligence claim seeks only damages for non-physical property

 damage and expenses related to governmental expenditures, it is not abrogated by OPLA to the

 extent it seeks recovery solely for economic loss and not for harm. 39

        2. Abrogation of Public Nuisance Claims

        Plaintiffs’ Fifth (“Statutory Public Nuisance”) and Sixth (“Common Law Absolute Public

 Nuisance”) Claims for Relief allege that Defendants created and maintained a public nuisance in

 the marketing and distribution of prescription opioids. (R. 514 at ¶¶974-1038). Defendants assert


 39
   Defendants argue that framing Plaintiffs’ injury as economic loss elevates form over
 substance, and that the personal injury to the users of opioids is the gravamen of the claim. (R.
 744, PageID# 17663-17664). The court cannot find, without the benefit of any factual discovery,
 that all of Plaintiffs’ claimed injuries stem from death, physical injuries, or physical damage to
 property.


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 that Plaintiffs’ public nuisance claims are abrogated by OPLA and can only be brought as

 product liability claims under OPLA, if at all. 40 (R. 491-1, PageID# 7492-7496). OPLA was

 amended in 2007 to expressly include in the definition of a “product liability claim” “any public

 nuisance claim or cause of action at common law in which it is alleged that the design,

 manufacture, supply, marketing, distribution, promotion, advertising, labeling, or sale of a

 product unreasonably interferes with a right common to the general public.” O.R.C. §

 2307.71(A)(13).

                a. Application to Statutory Public Nuisance Claim

        Defendants contend that the reference to “any public nuisance claim” abrogates both

 common law and statutory public nuisance claims (R. 744, PageID# 17658-17659), while

 Plaintiffs contend that statutory public nuisances are not abrogated because the phrase “at

 common law” in the statute modifies both “public nuisance claim” and “cause of action.” (R.

 654, PageID# 15729). Under Ohio law, “[t]o determine the intent of the legislature,” a court

 must “first look to the plain language of the statute,” and if it is “plain and unambiguous,” the

 statute should be applied as written. State v. Gordon, 2018 WL 2356650, at *2 (Ohio May 23,

 2018) (citations omitted). The court finds the phrase “any public nuisance claim or cause of

 action at common law” to be ambiguous. Accordingly, the court looks to the legislative history,

 which notes:

        SECTION 3. The General Assembly declares its intent that the amendments made
        by this act to sections 2307.71 and 2307.73 of the Revised Code are not intended
        to be substantive but are intended to clarify the General Assembly’s original
        intent in enacting the Ohio Product Liability Act, sections 2307.71 to 2307.80 of
        the Revised Code, as initially expressed in Section 3 of Am. Sub. S.B. 80 of the

 40
    “Claims that are authorized by the Ohio Products Liability Act should be pled with reference
 to the applicable provision of the Act.” Greenway v. Kimberly-Clark Corp., 2016 WL 3460229,
 at *2 (N.D. Ohio June 24, 2016) (citations omitted).


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        125th General Assembly, to abrogate all common law product liability causes of
        action including common law public nuisance causes of action, regardless of how
        the claim is described, styled, captioned, characterized, or designated, including
        claims against a manufacturer or supplier for a public nuisance allegedly caused
        by a manufacturer’s or supplier’s product.

 2006 Ohio Laws File 198 (Am. Sub. S.B. 117) (emphasis added).

        Given that the legislature explained it intended to abrogate “common law public nuisance

 causes of action,” the court agrees with Plaintiffs’ statutory construction. Therefore, Plaintiffs’

 statutory public nuisance claim in Count Five is not abrogated by OPLA.

                b. Application to Common Law Absolute Public Nuisance Claim

        Despite asserting that the 2007 amendment to OPLA intended to abrogate common law

 public nuisance actions, Plaintiffs aver that their self-styled “common law absolute public

 nuisance claim” is not abrogated by OPLA because their claim is an “equitable nuisance” claim.

 (R. 654, PageID# 15729). Plaintiffs rely on an observation from the Ohio Supreme Court in State

 ex rel. Miller v. Anthony that an abatement action was “not a common law action, but a summary

 proceeding more in the nature of a suit in equity.” 647 N.E.2d 1368, 1371 (Ohio 1995) (quoting

 Cameron v. United States, 148 U.S. 301, 304 (1893)). The court does not construe the dicta from

 this decision as an affirmative finding that an absolute public nuisance claim is not a common

 law cause of action within the meaning of OPLA. 41 Moreover, “the distinction between legal and



 41
    Notably, State ex rel. Miller did not involve an absolute public nuisance action, but instead
 considered whether a nuisance abatement action brought pursuant to statute—O.R.C. §
 3719.10—required a jury trial under Ohio’s constitution. The court concluded that a jury trial
 was not required because “the nuisance abatement provisions of R.C. Chapter 3767 are equitable
 in nature and not created by common law.” 647 N.E.2d at 1371. Thus, it appears the court was
 focused on the equitable nature of the abatement remedy. Furthermore, by Plaintiffs’ logic, the
 statutory-based nuisance action in State ex rel. Miller would not be considered a statutory
 nuisance claim simply because the court characterized the remedy as equitable in nature. The
 court declines to elevate form over substance.


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 equitable claims [has been] abolished.” Hodges v. Ettinger, 189 N.E. 113, 115 (Ohio 1934).

 Finally, numerous courts, including a recent decision of the Sixth Circuit Court of Appeals, have

 recognized that an absolute public nuisance claim in Ohio is a common law action.

        Under Ohio law, a common law public nuisance is “an unreasonable interference
        with a right common to the general public.” Examples of such rights, from Ohio
        and elsewhere, include: a right of public passage (e.g., obstruction of highways); a
        right to use public space (e.g., pollution of fisheries); a right to navigable
        waterways (e.g., obstruction of public streams); a right to public health (e.g.,
        exposure to diseased animals); a right to public safety (e.g., negligent
        marketing/sale of dangerous weapons); a right to public morality (e.g., houses of
        ill-repute); a right to public peace (e.g., excessive noise); and a right to public
        comfort (e.g., excessive odors or fumes).

        Ohio law recognizes two types of public nuisances: qualified and absolute. A
        qualified public nuisance mirrors a negligence tort…. An absolute public
        nuisance, sometimes called nuisance per se, comes in two forms, one requiring
        more evidence of intent (akin to an intentional tort), the other requiring less (akin
        to a strict liability tort). The action thus requires either the “intentional” creation
        of a public nuisance or “an abnormally dangerous condition that cannot be
        maintained without injury to property, no matter what care is taken.”

 City of Cincinnati v. Deutsche Bank Nat'l Trust Co., 863 F.3d 474, 477 (6th Cir. 2017) (emphasis

 added); see also Cleveland v. JP Morgan Chase Bank, N.A., 2013 WL 1183332, at *3 (Ohio Ct.

 App Mar. 21, 2013) (describing a public nuisance claim as a common law tort action used to

 vindicate interference with a general public right); Brown v. Scioto Cty. Bd. of Commrs., 622

 N.E.2d 1153, 1158 (Ohio Ct. App. 1993) (describing the common law elements of a public

 nuisance claim and recognizing that, in addition, there are also statutorily defined public

 nuisances).

        Plaintiffs concede that a public nuisance claim, which they label as an “equitable” action,

 requires an unreasonable interference with a right common to the general public. (R. 654,

 PageID# 15719). The Sixth Circuit ascribed the same elements to common law public nuisance

 claims under Ohio law. Deutsche Bank Nat'l Trust Co., 863 F.3d at 477. These are identical


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 causes of action that are not derived from statute. Under Plaintiffs’ reasoning, common law

 public nuisance claims essentially do not exist in Ohio, because public nuisance claims are

 properly designated as suits arising in equity. Such a conclusion is untenable, as it would render

 the Ohio Legislature’s 2007 amendment a nullity. 42 Furthermore, Plaintiffs’ argument is

 contrary to the only Ohio decision that appears to have squarely addressed the operation of the

 2007 amendment. See City of Toledo v. Sherwin-Williams Co., 2007 Ohio Misc. LEXIS 5632,

 2007 WL 4965044 (Ohio C.P. December 12, 2007) (finding that plaintiff’s public nuisance claim

 was “expressly subsumed by the OPLA”). Thus, the court finds that Plaintiffs’ absolute public

 nuisance claim constitutes a common law public nuisance claim and, therefore, falls within the

 purview of OPLA.

        However, Plaintiffs raise an additional argument as to why their absolute public nuisance

 claim should not be construed as abrogated by OPLA—that the 2007 amendment that added the

 Type 2 product liability claims definition should be read as covering only those public nuisance

 actions that seek compensatory damages defined as harm elsewhere in the statute. (R. 654,

 PageID# 15730). This argument is similar to Plaintiffs’ argument above with respect to OPLA’s

 inapplicability to their negligence claim. Plaintiffs’ argument here is contrary to the plain

 language of the statute. O.R.C. § 2307.71, as amended, abrogated Type 2 claims—public

 nuisance claims alleging that “the design, manufacture, supply, marketing, distribution,

 promotion, advertising, labeling, or sale of a product unreasonably interferes with a right



 42
    In other words, Plaintiffs contend that non-statutory public nuisance actions in Ohio are
 equitable actions not common-law actions, and the 2007 amendment applies only to common
 law public nuisance actions. Such a result would completely frustrate the Ohio Legislature’s
 clear intent to abrogate common-law public nuisance actions, as the amendment would have no
 applicability.


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 common to the general public.” (emphasis added). Notably absent from the Type 2 product

 liability definition is the language contained in Type 1 claims that apply only to actions seeking

 compensatory damages for “death, physical injury to person, emotional distress, or physical

 damage to property other than the product in question” (i.e. “harm”). O.R.C. § 2703.71(A)(13).

 Thus, the distinction between harm and economic loss is conspicuously absent in the Type 2

 definition of product liability claims. 43 Therefore, the issue of whether Plaintiffs’ damages under

 its public nuisance theory are properly categorized as economic loss is immaterial.

        Consequently, O.R.C. § 2307.72(C), which states that “[a]ny recovery of compensatory

 damages for economic loss based on a claim that is asserted in a civil action, other than a

 product liability claim, is not subject to [OPLA]….” is also inapplicable. The Ohio Supreme

 Court’s holding in LaPuma interpreted OPLA as it existed in 1996; it did not create a judicial

 rule exempting product liability claims if they asserted only economic loss. 661 N.E.2d at 716.

 Before the 2007 amendment, only the Type 1 definition of product liability claims existed, and

 the definition expressly excluded claims for economic loss rather than harm. This distinction was

 not maintained with respect to the Type 2 definition. Therefore, Plaintiffs’ argument—that its

 absolute public nuisance claim is not abrogated because it seeks to recover only economic loss—



 43
    The argument that the harm requirements of Type 1 claims should be bootstrapped to Type 2
 claims is not well taken. As noted above, the court should apply the plain language of the statute
 where it is unambiguous. Although this court above found that the statute was ambiguous with
 respect to the question of whether the term “common law” modified both the phrase “any public
 nuisance claim” and “cause of action,” the decision not to include the preexisting language from
 the Type 1 definition into the Type 2 definition speaks volumes. Had the legislature intended
 such limiting language in the application of OPLA as it relates to public nuisance claims, it could
 easily have repeated the language contained in the Type 1 definition. It opted not to do so. It is
 also telling that the Type 2 definition was not made a subsection of the Type 1 definition,
 revealing a clear intent to create an alternative or additional definition of a “product liability
 claim.”


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 does not exempt its common law public nuisance claim from OPLA. It is recommended that

 Count Six be dismissed.

 F. Count Five: Statutory Public Nuisance

        Count Five alleges a statutory public nuisance against all Defendants. (R. 514, PageID#

 11208). It seeks “abatement, recovery of abatement costs, injunctive relief, and to prevent injury

 and annoyance from any nuisance,” as well as “all other legal and equitable relief as allowed by

 law.” Id. at ¶¶995-996.

        The Pharmacies and Distributors assert that, among the Plaintiffs, only the Summit

 County Prosecutor may maintain a statutory public nuisance action brought pursuant to O.R.C.

 §4729.35. (R. 491-1, PageID# 7501; 497-1, PageID# 7608-7609; R. 742, PageID# 17613-

 17615). In addition, the Distributors and Manufacturers assert that Plaintiffs’ remedies for a

 statutory public nuisance are limited to an injunction. (R. 491-1, PageID# 7501-7502; R. 499-1,

 PageID# 7700, n. 39). This latter argument does not provide a basis for dismissal. While the

 category of damages recoverable may be a legal issue proper for the court’s consideration,

 Defendants have not identified any authority supporting their proposed statutory construction. Id.

        1. Ohio Rules of Statutory Interpretation and Applicable Laws

        First, under the express rules of Ohio statutory construction, a court should construe

 various statutes in harmony unless their provisions are irreconcilably in conflict:

        If a general provision conflicts with a special or local provision, they shall be
        construed, if possible, so that effect is given to both. If the conflict between the
        provisions is irreconcilable, the special or local provision prevails as an exception
        to the general provision, unless the general provision is the later adoption and the
        manifest intent is that the general provision prevail.

 O.R.C. §1.51; see also United Tel. Co. v. Limbach, 643 N.E.2d 1129, 1131 (Ohio 1994)

 (“All provisions of the Revised Code bearing upon the same subject matter should be


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 construed harmoniously. ... [and] in the interpretation of related and co-existing statutes

 must harmonize and give full application to all such statutes unless they are irreconcilable

 and in hopeless conflict.”) (citations omitted).

        The following Ohio statutes address the issue of public nuisance and are relevant

 to the court’s discussion. First, Chapter 3767 of the Ohio Revised Code addresses

 nuisances generally, and gives several definitions of a nuisance, including the following:

 “That which is defined and declared by statutes to be a nuisance.” O.R.C. §

 3767.01(C)(1). A separate chapter of the Ohio Revised Code, dealing with occupations

 and professions, identifies one such public nuisance:

        The violation by a pharmacist or other person of any laws of Ohio or of the United
        States of America or of any rule of the board of pharmacy controlling the
        distribution of a drug of abuse as defined in section 3719.011 44 of the Revised
        Code or the commission of any act set forth in division (A) of section 4729.16 of
        the Revised Code, is hereby declared to be inimical, harmful, and adverse to the
        public welfare of the citizens of Ohio and to constitute a public nuisance. The
        attorney general, the prosecuting attorney of any county in which the offense was
        committed or in which the person committing the offense resides, or the state
        board of pharmacy may maintain an action in the name of the state to enjoin such
        person from engaging in such violation. Any action under this section shall be
        brought in the common pleas court of the county where the offense occurred or
        the county where the alleged offender resides.

 O.R.C. §4729.35. Returning to the general chapter on nuisances, O.R.C. § 3767.03 states that:

 “[w]henever a nuisance exists,” an authorized party 45 “may bring an action in equity in the name

 of the state … to abate the nuisance and to perpetually enjoin the person maintaining the



 44
    O.R.C. §§ 3719.01(R) & 3719.011 define opiate as “a drug of abuse.”
 45
    O.R.C. § 3767.03 includes a significantly broader list of authorized parties who may maintain
 a public nuisance action than O.R.C. § 4729.35, as it includes the attorney general, the village
 solicitor, the city or township law director, the county prosecutor, or any person who is a citizen
 of the county in which the nuisance exists so long as the action is brought in the name of the
 state. The ramifications of this discrepancy is addressed below.


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 nuisance from further maintaining it.”

        2. Available Remedies

        Defendants assert that any violation of O.R.C. § 4729.35 limits Plaintiffs’ recovery to

 injunctive relief and that abatement costs are unrecoverable. (R. 491-1, PageID# 7501-7502; R.

 499-1, PageID# 7700). However, Defendants’ argument—that O.R.C. § 4729.35’s provision that

 an authorized individual “may maintain an action in the name of the state to enjoin” a public

 nuisance is tantamount to a limitation on the remedies available—is an untenable interpretation

 of the plain text of the statute. Nothing in this statute can reasonably be construed as addressing

 or expressly limiting the categories of relief available for the nuisance. Rather, it identifies and

 defines a public nuisance, identifies who may bring the action to enjoin a nuisance, and finally

 where the claim should be brought. Further, Defendants’ interpretation of the remedies available

 for a violation of O.R.C. § 4729.35 is not supported by any authority cited in their briefs.

        Finally, Defendants’ interpretation of O.R.C. § 4729.35 contravenes Ohio’s laws

 on statutory construction, as stated above, that require a court to construe statutes so as to

 give effect to both the special and general provisions, and to construe all provisions of the

 Revised Code bearing upon the same subject as being in harmony. Defendants’

 construction does the opposite—it manufactures a conflict where none exists on the face

 of the statute. Because O.R.C. § 4729.35 is silent as to what remedies are available and

 the more general statute explains that an action seeking to abate a nuisance is equitable in

 nature, the court declines to recommend limiting the recovery or remedies available for a

 violation of O.R.C. § 4729.35 from what is typically recoverable in public nuisance

 actions.




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           3. City of Akron’s Authority to Bring Public Nuisance Suit

           Turning to the argument that the City of Akron is barred from bringing a nuisance claim,

 Defendants assert that O.R.C. § 4729.35 limits the authority for bringing an action to enjoin a

 violation of Ohio or federal drug laws to the state attorney general, the county prosecutor of the

 county in which the offense occurred, and the state board of pharmacy. Plaintiffs’ contention that

 the City of Akron may, nevertheless, maintain a nuisance action for an ostensible violation of

 federal or Ohio drug laws based on other more generalized nuisance statutes flies in the face of

 the another portion of the Revised Code that they specifically rely upon—O.R.C. §1.47 (“In

 enacting a statute, it is presumed that: (B) The entire statute is intended to be effective”). 46

 Plaintiffs’ position—that municipalities could maintain a statutory public nuisance action for

 violation of a state or federal drug law—would eviscerate the express statutory provision limiting

 who can bring suit. Plaintiffs’ reliance on State ex rel. DeWine v. Fred’s Party Center, Inc., 13

 N.E.3d 699 (Ohio Ct. App. 2014) is misplaced. (R. 654, PageID# 15726). Therein, not only was

 the suit brought by the Ohio Attorney General, but the court’s passing reference to O.R.C. §

 4729.35 in a footnote neither states nor implies that any party, other than the attorney general,



 46
      Plaintiffs also rely on O.R.C. § 715.44, which states as follows:

           A municipal corporation may:

           (A) Abate any nuisance and prosecute in any court of competent jurisdiction, any person
           who creates, continues, contributes to, or suffers such nuisance to exist;

                                                   ***

           (C) Prevent injury and annoyance from any nuisance;

                                                   ***



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 the county prosecutor, or the board of pharmacy is vested with authority to bring an action under

 that statute. Id. at n. 1. Although O.R.C. § 4729.35 is not the exclusive avenue for a municipal

 plaintiff to bring a public nuisance claim, the City of Akron cannot claim that the very nuisance

 it seeks to abate is the one caused by a violation of Ohio or federal drug laws, as set forth in

 O.R.C. § 4729.35, but then attempt to circumvent the limitations on who may bring such a suit as

 set forth in the same statute simply by claiming to rely on a different portion of the Revised

 Code. In the complaint, Plaintiffs, including the City of Akron, clearly identify the public

 nuisance they seek to enjoin as violations of Ohio or federal drug laws (or the rules of the board

 of pharmacy). (R. 514, PageID# 7068, ¶¶979, 983-984, 986, 988). As such, the City of Akron

 lacks standing to pursue a statutory public nuisance claim based on violations of Ohio or federal

 drug laws, or the rules of the board of pharmacy.

        4. Sufficiency of the Factual Allegations

        The Manufacturers argue that Plaintiffs’ statutory nuisance claim should be dismissed for

 failure to allege facts demonstrating a statutory violation. See Brown, 622 N.E.2d at 1158

 (explaining that Ohio statutes and regulations that define certain conduct as being a public

 nuisance “amount to a legislative declaration that the proscribed conduct is an unreasonable

 interference with a public right”); O.R.C. § 3767.01(C)(1) (defining “nuisance” as “that which is

 defined and declared by statutes to be a nuisance”). The Manufacturers’ statement that they

 “have complied with all relevant federal and state controlled substances requirements” (R. 499-1,

 PageID# 7702) is merely an assertion of fact that is disputed by Plaintiffs and does not support

 dismissal at this stage. They also contend that the alleged violations of Ohio law apply only to

 distributors and not to pharmaceutical manufacturers. (R. 499-1, PageID# 7700-7701; R. 746,

 PageID# 17724-17725). Plaintiffs state that certain other laws and rules governing the


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 distribution of controlled substances do apply to the Manufacturers’ alleged conduct, including

 those requiring them to maintain diversion controls and to create a system to disclose suspicious

 orders, report such orders, and adhere to sales quotas set by the DEA. (R. 654, PageID# 15726-

 15728, citing R. 514 at ¶¶504, 507, 510, 863, 915, 961). The complaint alleges that all

 Defendants have aided and abetted the violation of federal and state laws controlling the

 distribution of a drug of abuse as defined in O.R.C. § 3719.011. 47 (R. 514 at ¶¶981-986).

        The complaint also alleges violations of O.R.C. § 2925.02(A)(1) and (3), which prohibit

 the administering, inducing, or causing another to use a controlled substance “[b]y force, threat,

 or deception” (§ 2925.02(A)(1)), as well as the administering, inducing, or causing another to use

 such a substance “by any means,” with the additional requirement that the actions “cause serious

 harm” or “cause the other person to become drug dependent” (§ 2925.02(A)(3)). (R. 514 at

 ¶¶986-987). The Manufacturers argue that to the extent these violations are asserted in an

 attempt by Plaintiffs to hold them liable for failing to stop the sale of prescription opioids that

 have been approved by the FDA and are regulated by the DEA, any such claim is preempted. (R.

 499-1, PageID# 7701-7702). But nowhere in the complaint is it alleged that the Manufacturers

 should be prevented from operating their business in a lawful manner; rather, Plaintiffs seek to

 abate the alleged public nuisance.

        Like the Manufacturers, the Pharmacies assert that the complaint fails to allege specific

 details of nuisance-creating conduct on their part affecting Summit County or even the State of

 Ohio and that the complaint contains “no more than conclusory factual allegations …” (R. 497-1,


 47
    The Manufacturers also assert that Plaintiffs’ Opposition cites to statutory violations not
 specifically pled, but the complaint identifies specific statutes as bases for alleged liability and
 also states that the claimed violations include, but are not limited to, conduct proscribed by Ohio
 and federal law. (R. 514 at ¶984).


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 PageID# 7609-7610). They concede, however, that Plaintiffs have alleged several violations of

 Ohio and federal law, but protest that the allegations are not sufficiently specific with respect to

 recordkeeping defaults and contend the allegations that they failed to maintain effective controls

 against diversion or failed to disclose suspicious orders are implausible. Id. Indeed, the complaint

 contains allegations that the Pharmacies engaged in misconduct and violated federal and state

 laws, and references numerous fines and settlements involving the Pharmacies. (R. 514, ¶¶ 504,

 612-659, 684-686). Furthermore, where the facts at issue may be in the control of others,

 dismissal prior to discovery is not appropriate. Ohio Pub. Emps. Ret. Sys. v. Fed. Home Loan

 Mortg. Corp., 830 F.3d 376, 383 (6th Cir. 2016) (explaining that the pleading standards only

 require enough facts to demonstrate a reasonable expectation that discovery will reveal evidence

 to support the allegations).

        5. Safe Harbor

        “Ohio courts have long imposed the following concrete limitation on public nuisance

 claims: What the law sanctions cannot be held to be a public nuisance.” City of Cleveland v.

 Ameriquest, 621 F. Supp.2d 513, 526 (N.D. Ohio 2009), aff’d, 615 F.3d 496 (6th Cir. 2010)

 (citations omitted). The Manufacturers claim that they are shielded from nuisance liability by

 virtue O.R.C. § 2925.02(B), which provides a “safe harbor” for persons whose conduct is in

 accordance with Ohio controlled substance regulations. (R. 499-1, PageID# 7001-7002). They

 assert that they “have complied with all relevant federal and state controlled substances

 requirements.” Id.

        But as Ameriquest makes clear, safe harbor immunity from nuisance liability is available

 only to those who perform in accordance with their applicable regulatory obligations. 621 F.

 Supp. 2d at 528 (“Under a long line of decisions, a showing that the challenged conduct is


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 subject to regulation and was performed in conformance therewith insulates such conduct from

 suit as a public nuisance”). The complaint alleges that all Defendants failed to do so. (R. 514 at

 ¶¶981-988). It also alleges misconduct unrelated to Defendants’ respective regulated activities,

 for example, as to the Manufacturers, an extensive deceptive marketing scheme that intended to

 change the perception of opioids and boost sales by misleading doctors and the public about the

 risks of long-term opioid use. (R. 514 at ¶¶174-179, 989).

        While regulatory oversight is a factor to be considered when determining the sufficiency

 of a public nuisance claim, “extensive regulation does not automatically bar a public nuisance

 claim.” City of Cleveland v. JP Morgan Chase Bank, N.A., 2013 WL 1183332, *6 (Ohio Ct.

 App. March 21, 2013); Cincinnati v. Beretta, 768 N.E.2d at 1143. The Beretta court rejected

 defendants’ assertion that they were engaged in “legislatively authorized conduct,” and were not

 subject to liability. 768 N.E.2d at 1143. The court concluded that “even though there exists a

 comprehensive regulatory scheme involving the manufacturing, sales, and distribution of

 firearms, ... the law does not regulate the distribution practices alleged in the complaint,” i.e.,

 practices that “fostered the criminal misuse of firearms [and] helped sustain the illegal firearms

 market in Cincinnati ….” Id. at 1140. Contrary to Manufacturers’ contention that the complaint

 is defective because it fails to plead “any facts to show that any Manufacturer Defendant

 somehow deceived a particular resident in Summit County into using opioids, much less into

 becoming opioid dependent,” that level of specificity is not required prior to discovery. (R. 499-

 1, PageID# 7702).

        Accordingly, it is recommended that Defendants’ motions to dismiss be partially granted

 to the extent they seek to bar the City of Akron from maintaining a statutory public nuisance

 action based on either: (1) a violation of an Ohio or federal drug law; or (2) any rule of the board


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 of pharmacy controlling the distribution of a drug of abuse. It is otherwise recommended that

 Defendants’ motions to dismiss count five, or to limit Plaintiffs’ statutory remedies, be denied. 48

 G. Count Seven: Negligence

         The complaint alleges a negligence claim against all Defendants. (R. 514, PageID#

 11220). A negligence claim must allege (1) a duty owed by the defendant to the plaintiff to

 conform to a certain standard of conduct, (2) that the defendant breached that duty, and (3) that

 the breach of the duty proximately caused the plaintiff’s injury. Cromer v. Children’s Hosp.

 Med. Ctr. of Akron, 29 N.E.3d 921, 928-929 (Ohio 2015). Defendants challenge the sufficiency

 of the complaint with respect to the first and third elements. (R. 491-1, PageID# 7505-7513,

 7515-7519; R. 497-1, PageID# 7599-7608; R. 499-1, PageID# 7702-7703).

         1. Duty of Care

         “The existence of a duty is a question of law for a court to determine.” Mussivand v.

 David, 544 N.E.2d 265, 270 (Ohio 1989) (“There is no formula for ascertaining whether a duty

 exists. Duty…is the court’s expression of the sum total of those considerations of policy which

 lead the law to say that the particular plaintiff is entitled to protection.”) (citations and quotations

 omitted). “The Ohio Supreme Court has explained that ‘[t]he existence of a duty depends on the

 foreseeability of the injury.’” Jaycox v. Setty Family Veterans Residential Care Home, 2004 WL



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    Although the Distributors broadly argued that both Plaintiffs’ negligence and nuisance claims
 should be dismissed based on the economic loss doctrine, they made no attempt to distinguish
 between common law public nuisance claims and statutory public nuisance claims. (R. 491-1,
 PageID# 7513-7514; R. 744, PageID# 17672-17673). “The doctrine bars tort plaintiffs from
 recovering purely economic loss that ‘do not arise from tangible physical injury’ to persons or
 property.’” Deutsche Bank, 863 F.3d at 477 (quoting Queen City Terminals v. Gen. Am. Trans.,
 653 N.E.2d 661, 667 (Ohio 1995)). The movant has presented the court with no compelling
 reason to apply such a tort doctrine to a statutory claim, especially where it does not appear that
 Plaintiffs seeks any relief beyond that which is permitted by statute.


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 1171348, *3 (6th Cir. May 24, 2004) (quoting Menifee v. Ohio Welding Products, Inc., 472

 N.E.2d 707, 710 (Ohio 1984)). Moreover,

        The concept of foreseeability is an important part of all negligence claims,
        because “[t]he existence of a duty depends on the foreseeability of the injury.”
        Menifee at 77, 472 N.E.2d 707. As a society, we expect people to exercise
        reasonable precautions against the risks that a reasonably prudent person would
        anticipate. Commerce & Industry Ins. Co. v. Toledo, 45 Ohio St.3d 96, 98, 543
        N.E.2d 1188 (1989). Conversely, we do not expect people to guard against risks
        that the reasonable person would not foresee. Menifee at 77, 472 N.E.2d 707;
        Keeton, Dobbs, Keeton & Owen, Prosser and Keeton on the Law of Torts,
        Section 43, 280 (5th Ed.1984). The foreseeability of the risk of harm is not
        affected by the magnitude, severity, or exact probability of a particular harm, but
        instead by the question of whether some risk of harm would be foreseeable to the
        reasonably prudent person. See Gedeon v. E. Ohio Gas Co., 128 Ohio St. 335,
        339, 190 N.E. 924 (1934). Accordingly, the existence and scope of a person's
        legal duty is determined by the reasonably foreseeable, general risk of harm that
        is involved.

 Cromer, 29 N.E.3d at 928-29 (“The existence of an actor’s duty to another person usually arises

 from the foreseeability of injury to someone in that other person’s ‘general situation.’”) (quoting

 Gedeon, 190 N.E. at 926). The “foreseeability of harm usually depends on the defendant’s

 knowledge.” Menifee, 472 N.E.2d at 710. But in order to owe a duty of care, it is not necessary

 that the defendant foresee the injury in the precise form in which it occurred. Bohme, Inc. v.

 Sprint Int’l Comm. Corp., 686 N.E.2d 300, 303 (Ohio Ct. App. 1996); Pavlides v. Niles Gun

 Show, Inc., 637 N.E.2d 404 (Ohio Ct. App. 1994) (holding that an actor cannot necessarily avoid

 the imposition of a legal duty merely because he did not foresee the exact consequences of his

 actions).

        In Cincinnati v. Beretta, the Ohio Supreme Court addressed the question of whether gun

 manufacturers owed a duty of care to a local government concerning harms caused by negligent

 manufacturing, marketing and distributing of firearms. Beretta involved allegations that the

 defendants failed to exercise sufficient control over the distribution of their guns, thereby


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 creating an illegal secondary market in the weapons. The Beretta court concluded that the harms

 that resulted from selling these weapons were foreseeable—that Cincinnati was a foreseeable

 plaintiff. 768 N.E.2d at 1144. Plaintiffs argue that the harm caused by the marketing and

 distribution of opioids are similarly foreseeable.

        Plaintiffs assert that Defendants have a common law duty “to not expose Plaintiffs to an

 unreasonable risk of harm[;] ... a legal duty to exercise reasonable and ordinary care and skill in

 accordance with applicable standards of conduct in manufacturing, advertising, marketing,

 selling and/or distributing opioids.” (R. 514 at ¶¶1040-1041). Defendants deny that they owed

 any common law duty to Plaintiffs. (R. 499-1, PageID# 7702-7703; R. 491-1, PageID# 7511-

 7512; R. 497-1, PageID# 7599-7601; R. 744, PageID# 17666-17667). Defendants claim that the

 common law does not recognize the duty of care that Plaintiffs assert; that Plaintiffs are actually

 alleging a statutory duty of care under the CSA which creates duties owed only to the DEA and

 the Ohio Board of Pharmacy, and which provides for no private right of action; that Plaintiffs are

 attempting to use negligence per se to plead around the absence of a private right of action; that

 there is no duty to prevent a third person from causing harm; and that the learned intermediary

 doctrine forecloses any duty running from Defendants to Plaintiffs. Moreover, Distributors deny

 any foreseeable harm caused by their actions and characterize themselves as mere “middlemen”

 who “do not write prescriptions or determine whether opioid medications are appropriate for

 patients” or “meet directly with patients and furnish them with opioids” as pharmacists do. (R.

 491-1, PageID# 7511). The Pharmacies assert that Ohio imposes no common law duty “to

 exercise due care in the distribution of opioids, and specifically to detect, identify, or report

 suspicious orders.” (R. 497-1, PageID# 7599).

        Plaintiffs, for their part, do not argue that there is a private right of action under these


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 statutes, but rather argue that the complaint’s references to statutes merely identified a statutory

 standard of care that they contend could serve as a basis to support their theories of a common

 law duty and breach. (R. 654, PageID# 15787). Here, Plaintiffs base their duty and breach

 arguments on Defendants’ own conduct—failing to report suspicious orders or otherwise act to

 prevent diversion—which caused their harm. (R. 514 at ¶¶546, 568-569, 607-659, 989, 1046-

 1071). Plaintiffs’ Opposition references allegations in their complaint to argue that Defendants

 sold opioids “without regard to the likelihood that the opioids would be placed in the hands of

 criminals, addicts, juveniles, and others not permitted to use or possess prescription opioids” (id.

 at ¶1050); that the Marketing Defendants disseminated deceptive marketing about the safety and

 addictiveness of opioids through front groups and KOLs (id. at ¶¶350-428); that Marketing

 Defendants funded CMEs to encourage doctors to increase their prescriptions of opioids (id. at

 ¶¶429-442); that Defendants marketed, distributed and sold opioids “in a way that created and

 fostered an illegal, secondary prescription opioids market that resulted in a foreseeable and

 unreasonable risk of harm to Plaintiffs” (id. at ¶1049); that Manufacturers knew of doctors who

 were writing large quantities of opioids “[b]ut ... were singularly focused on maintaining,

 capturing, or increasing their sales” (id. at ¶574); that the Pharmacies knew of oversupply of

 prescription opioids (id. at ¶607); that Marketing and Supply Chain Defendants were aware of

 suspicious orders from their facilities (id. at ¶¶763, 589); that Marketing Defendants provided

 incentives to sales representatives and ignored red flags of diversion during regular visits to

 pharmacies and doctors (id. at ¶¶516, 568-569); and their sales representatives frequently

 promoted opioids in Summit County (id. at ¶673).

        Plaintiffs argue that these allegations are sufficient to establish that their resulting harm

 (i.e. dramatically increased expenditures on public health and safety) was the foreseeable and


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 likely result of Defendants’ actions. (R. 654, PageID# 15783-15784). Taking Plaintiffs’

 allegations as true, Plaintiffs have stated a plausible claim that it was reasonably foreseeable that

 they would be forced to bear the public costs of increased harm from the over-prescription and

 oversupply of opioids in their communities if Defendants failed to implement and/or follow

 adequate controls in their marketing, sales, distribution, and dispensing of opioids.

         Defendants argue, however, that Ohio law imposes no duty “to prevent a third person

 from causing harm to another absent a special relation between the parties.” (R. 499-1, PageID#

 7687; R. 497-1, PageID# 7600; R. 491-1, PageID# 7512). Defendants argue that Plaintiffs have

 not alleged any special relationship that would give rise to such a duty. Id. The defendants in

 Cincinnati v. Beretta raised a similar argument against municipal expenditures following the

 actions of firearm manufacturers. 768 N.E.2d at 1144-46. Therein, the city alleged that

 defendants marketed and distributed their firearms in such a way as to “ensure the widespread

 accessibility of the firearms to prohibited users” thereby fostering criminal misuse and an illegal

 aftermarket. Id. at 1140. The Ohio Supreme Court determined that the “special relationship rule

 [was] not determinative” because plaintiffs were not alleging a duty to control third persons.

 Instead, the court maintained that “the issue is whether appellees are themselves negligent by

 manufacturing, marketing, and distributing firearms in a way that creates an illegal firearms

 market that results in a foreseeable injury.” Id. In this case, Plaintiffs’ do not assert a duty to

 prevent the actions of third persons, but rather a duty owed by Defendants to Plaintiffs to use

 reasonable care in, for example, marketing, monitoring, reporting, and selling their opioids. The

 wrongful conduct alleged is that of Defendants, and not of third persons.

         The Pharmacies contend that they do not owe a duty as a result of the learned

 intermediary doctrine. The learned intermediary doctrine is not applicable as explained supra in


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 the RICO analysis. Distributors also argue that any duty they may owe to “report suspicious

 order is a duty that was created by statute, and the duty runs to the DEA and the Ohio Board of

 Pharmacy, not the County.” This duty, they argue, is “unknown at common law.” They maintain

 that when Plaintiffs assert a common law duty of care, they are actually seeking to enforce the

 CSA and Ohio’s pharmacy regulations for controlled substances. (R. 491-1, PageID# 7505-7511;

 R. 497-1, PageID# 7602-05). Because the court finds that Plaintiffs have plausibly pleaded facts

 sufficient to establish that Defendants owed them a common law duty, the court does not reach

 this argument based upon the limited record before it. 49

        2. Proximate Cause

        Plaintiffs must allege facts that, if proven, plausibly establish a causal link between

 Defendants’ actions and Plaintiffs harm that is not too remote. The Ohio Supreme Court and the

 Sixth Circuit have employed the proximate cause test devised by the U.S. Supreme Court in

 Holmes in negligence cases like this one. 503 U.S. at 268-70; see also Cincinnati v. Beretta, 768

 N.E.2d at 1147-49; Ameriquest, 615 F.3d at 504.

        Plaintiffs argue that Defendants’ alleged negligent sales practices, including failing to

 comply with obligations to monitor and report suspicious orders, halt suspicious orders, and

 implement effective diversion controls have led directly to the creation of a population of

 addicted patients and nourished the illegal secondary market, both of which lie at the root of the

 opioid crisis, resulting in complex and costly consequences to Plaintiffs’ provision of public

 health, social, and criminal justice services. (R. 514 at ¶¶1040-1060).



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   Nor is it necessary to address Defendants’ arguments with regard to negligence per se, as those
 arguments presuppose Plaintiffs’ failure to plead a common law duty.



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         Defendants insist that Plaintiffs’ alleged injuries are far too remote and indirect to

 establish proximate cause. (R. 491-1, PageID# 7515-7518; R. 497-1, PageID# 7605-7608). 50

 They argue that there are numerous intervening causes which break the causal link between their

 own actions and Plaintiffs’ harms. These include the actions of prescribing doctors, criminals in

 the secondary market, and addicted users, among others. Id. Defendants also argue that

 Plaintiffs’ harms were not proximately caused by Defendants actions, because those harms are

 derivative of harms sustained by third parties. Defendants urge the court to reach the same result

 on causation as the one reached by courts in the recent mortgage finance cases. See JP Morgan

 Chase Bank, 2013 WL 1183332, at *6; Ameriquest, 621 F. Supp. 2d at 536.

         The Ohio Supreme Court has explained that in order to establish proximate causation,

 “there must be some direct relation between the injury asserted and the injurious conduct

 alleged.” Cincinnati v. Beretta, 768 N.E.2d at 1148. The Ohio Supreme Court in Beretta adopted

 Holmes’ analysis for remoteness and proximate cause, concluding that the complaint had set

 forth facts sufficient to establish proximate cause. As to the first factor, the court reasoned that

 concerns with the difficulty of proof were minimal, in part, because “the complaint…alleged that

 as a direct result of misconduct …[the city] has suffered ‘actual injury and damages including

 but not limited to, significant expenses for police, health, prosecution, emergency, corrections

 and other services.’” Id. at 1148. The second factor did not pose a problem because there was

 “little risk of double recovery, since [the city] is seeking recovery for injuries to itself only.” Id.

 Finally, invoking the deterrence principle embedded in the third Holmes factor, the court stated


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   While asserting that Plaintiffs’ negligence claim should be dismissed, the Manufacturers do
 not meaningfully develop any new argument and adopt earlier arguments. (R. 499-1, PageID#
 7702). For the reasons stated elsewhere in this report and recommendation, such reiterated
 arguments, including the assertion that proximate cause is lacking, fail.


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 that “[a]lthough appellant is indirectly attempting to protect its citizens from the alleged

 misconduct by the gun manufacturers and trade associations, appellant is seeking recovery for its

 own harm. Under these circumstances, the general interest will be best served by having this

 plaintiff bring this lawsuit.” Id. The court reversed the appellate court ruling that the city’s

 claims were “too remote for recovery.” Id.

        Although the facts of this case differ in some respects from Beretta, its analysis of

 remoteness under Holmes is persuasive. Furthermore, the court has conducted a proximate cause

 analysis regarding the Holmes factors in section III-A-2-b above that need not be repeated here. 51

        Noting that Plaintiffs plead criminal acts, Defendants assert that their position is

 analogous to sellers who supply to independent retailers from whom drugs are obtained for

 diversion. See, e.g., Ashley Cty. v. Pfizer, Inc., 552 F.3d 659, 663 and n.5 (8th Cir. 2009)

 (applying Arkansas law to find that intervening acts by retailers and methamphetamine cooks to

 whom they sold pseudoephedrine were independent causes relieving distributors of liability

 based on the legal sale of products later used for illicit purpose); City of Philadelphia v. Beretta

 U.S.A. Corp., 277 F.3d 415, 424 (3d Cir. 2002) (affirming dismissal of public nuisance claim

 against gun distributors because of the many “links that separate a manufacturer’s sale of a gun

 to a licensee and the gun’s arrival in the illegal market through a distribution scheme that is not

 only lawful, but also is prescribed by statute with respect to the manufacturers’ conduct”). The


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    Although the Pharmacies were not subject to the RICO claims addressed above, the
 differences between the allegations against them and the remaining Defendants do not compel a
 different result when addressing the issue of proximate cause. The Pharmacies are alleged to
 have “failed to report suspicious orders, prevent diversion, or otherwise control the supply of
 opioids [flowing] into communities across America,” (R. 514 at ¶¶579, 607-626), and have been
 the subject of fines by the DEA for failing to do so. (Id. at ¶¶627-659). Moreover, the
 Pharmacies, the ultimate dispenser of opioids, are arguably a step closer to the injured parties
 than the other Defendants.


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 Distributors also argue that Plaintiffs plausibly allege that only Manufacturers could have

 foreseen that intervening criminal or intentional acts would occur and, therefore, do not establish

 that the alleged harm was foreseeable to Distributors. (R. 744, PageID# 17672, citing Feichtner

 v. Ohio Dep’t of Trans., 683 N.E.2d 112, 119-20 (Ohio Ct. App. 1995) (recognizing that there is

 no common law duty to anticipate or foresee criminal activity); Volter v. C. Schmidt Co., 598

 N.E.2d 35, 39 (Ohio Ct. App. 1991) (“Where the harm is intentionally caused by a third person

 and is not within the scope of the risk created by the actor’s conduct, the intentional act is

 considered a superseding cause because such acts are typically not foreseeable.”)).

        Not only does the complaint allege that the opioid addiction epidemic and its attendant

 injury to government entities were foreseeable to all Defendants, it also alleges that even after

 Defendants were aware of the opiate addiction crisis they continued distributing commonly

 abused and diverted drugs in quantities and with frequency that they knew or should have known

 could not be justified by legitimate medical need and they manipulated quotas to evade reporting

 duties and maintain that inflated level of sale. 52 (R. 514 at ¶¶18, 518, 550, 557, 565, 579, 496,

 606-08, 763, 929, 1012, 1019-1020). The Distributors’ argument is also refuted by allegations

 that they conspired with the Manufacturers in a concerted scheme to expand the opioid market,

 to ensure that distribution quotas remained artificially high and that suspicious orders were not

 reported. (R. 514 at ¶¶760-766). In addition, Defendants’ arguments concerning third-party

 intervening acts and alleged superseding events raise significant factual issues not suitable for

 resolution on a motion to dismiss.


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    As the cited paragraphs illustrate, the Pharmacies’ argument to the contrary is misplaced. (R.
 742, PageID# 17611). The complaint does claim the Distributors could have foreseen, and were
 aware of, unnecessary prescriptions and the operation of pill mills, but nevertheless supplied
 them.


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        3. Economic Loss Rule

        The Defendants argue that the economic loss doctrine requires dismissal of Plaintiffs’

 negligence claim. (R. 491-1, PageID# 7513-7514; R. 497-1, PageID# 7601-7602.). 53 They assert

 that the doctrine prohibits a negligence claim unless the plaintiff incurred a physical injury to

 person or property. Id.; see Corporex Dev. & Constr. Mgt., Inc. v. Shook, Inc., 835 N.E.2d 701,

 704 (Ohio 2005); Floor Craft Floor Covering, Inc. v. Parma Cmty. Gen. Hosp. Ass’n, 560

 N.E.2d 206, 208 (Ohio 1990); see also Deutsche Bank Nat’l Tr. Co., 863 F.3d at 477 (noting,

 “The premise of the economic loss rule is that tort law does not impose an independent duty to

 avoid consequential economic damages.”); Pavlovich v. Nat’l City Bank, 435 F.3d 560, 569 (6th

 Cir. 2006). Defendants also rely upon, Queen City Terminals, Inc. v. Gen. Am. Transp., in which

 the Ohio Supreme Court held that “in order to recover indirect economic damages in a

 negligence action, the plaintiff must prove that the indirect economic damages arose from

 tangible physical injury to persons or from tangible property damage. Indirect economic

 damages that do not arise from tangible physical injury to persons or from tangible property may

 only be recovered in contract.” 653 N.E.2d 661, 667 (Ohio 1995); see also Ashtabula River

 Corp. Grp. II v. Contrail, Inc., 549 F.Supp.2d 981, 987 (N.D. Ohio 2008) (R. 744, PageID#

 17675).

        Plaintiffs argue that the doctrine primarily applies to bar recovery in cases between

 parties in a contractual relationship. See Corporex, 835 N.E.2d at 701; Chemtrol Adhesives, Inc.

 v. Am. Mfrs. Mut. Ins. Co., 537 N.E.2d 624 (Ohio 1989); Digiknow, Inc. v. PKXL Cards, Inc.,


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    Manufacturers make only cursory reference to the economic loss doctrine as a reason to
 dismiss Plaintiffs’ negligence claim. (R. 499-1, PageID# 7702). They simply cite to Corporex in
 a bullet point, and then refer to a single paragraph of argument in their public nuisance section.
 Also, the Pharmacies adopt Distributors’ arguments. (R. 742, PageID# 17613).


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 2011 WL 2899600, at *1 (Ohio Ct. App. July 21, 2011). Plaintiffs argue that the doctrine does

 not apply to their negligence claim because it is not based on the negligent performance of

 contractual duties. (R. 654, PageID# 15795-15797).

        The Ohio Supreme Court in Corporex explained that the rule “stems from the recognition

 of a balance between tort law, designed to redress losses suffered by a breach of duty imposed by

 law to protect societal interests, and contract law, which holds that parties to a commercial

 transaction should remain free to govern their own affairs.” 835 N.E.2d at 704 (“Tort law is not

 designed to compensate parties for losses suffered as a result of a breach of duties assumed only

 by agreement.”). In other words, the economic loss rule recognizes that the risk of consequential

 economic loss is something that the parties can allocate by agreement when they enter into a

 contract. This allocation of risk is not possible where, as here, the harm alleged is caused by

 involuntary interactions between a tortfeasor and a plaintiff. Thus, courts have noted that in cases

 involving only economic loss, the rule “will bar the tort claim if the duty arose only by contract.”

 Campbell v. Krupp, 961 N.E.2d 205, 211 (Ohio Ct. App. 2011). By contrast, “the economic loss

 rule does not apply—and the plaintiff who suffered only economic damages can proceed in

 tort—if the defendant breached a duty that did not arise solely from a contract.” Id.; see also

 Corporex, 835 N.E.2d. at 705 (“When a duty in tort exists, a party may recover in tort. When a

 duty is premised entirely upon the terms of a contract, a party may recover based upon breach of

 contract.”); Ineos USA LLC v. Furmanite Am., Inc., 2014 WL 5803042, at *6 (Ohio Ct. App.

 Nov. 10, 2014) (“[W]here a tort claim alleges that a duty was breached independent of the

 contract, the economic loss rule does not apply.”).

        As discussed elsewhere in this opinion, Plaintiffs have pleaded facts which, if proven,

 plausibly establish the existence of a common law tort duty. Moreover, it would be premature on


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 this limited record to apply the economic-loss rule as Defendants have characterized Plaintiffs’

 economic damages as purely derivative of personal injuries, which if ultimately successful at

 summary judgment or before the trier-of-fact, could foreclose this argument. In addition,

 Plaintiffs have facially pled damages to their proprietary interests. (R. 514 at ¶1063). As such,

 Defendants have not shown that Plaintiffs’ negligence claim runs afoul of the economic loss rule.

 H. Count Eight: Fraud

        In Count Eight, Plaintiffs assert a common law fraud claim against the Marketing

 Defendants. (R. 514, PageID# 11227). To state a cognizable cause of action for fraud under Ohio

 law, a complaint must plead the following elements:

        (a) a representation or, where there is a duty to disclose, omission of a fact; (b)
        which is material to the transaction at hand; (c) made falsely, with knowledge of
        its falsity, or with such utter disregard and recklessness as to whether it is true or
        false that knowledge may be inferred; (d) with the intent of misleading another
        into relying upon it; (e) justifiable reliance upon the representation or
        concealment; and (f) a resulting injury proximately caused by the reliance.

 Lucarell v. Nationwide Mutual Ins. Co., 97 N.E.3d 458, 472 (Ohio 2018) (citations omitted).

        The briefs focus on the element of justifiable reliance. Generally, whether a plaintiff

 justifiably relied on an allegedly fraudulent misrepresentation or omission is a question of fact

 and not appropriate for determination on a motion to dismiss. See, e.g., Jewell Coke Co., L.P. v.

 ArcelorMittal USA, Inc., 756 F. Supp. 2d 858, 867 (N.D. Ohio 2010). The Manufacturers assert

 that because the claim is based on alleged misrepresentations made to third parties, it fails to

 plead the essential element of justifiable reliance (R. 499-1, PageID# 7703). Specifically, they

 contend that the misrepresentations and omissions alleged by Plaintiffs were made to induce

 reliance by third-party payors (R. 514 at ¶1074), or directed at state and federal regulators (id. at

 ¶856), and with intent that others rely on their omissions. Id. at ¶1075. As such, they contend



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 first-party reliance is lacking.

         Plaintiffs respond that the complaint avers justifiable reliance and alleges that “Plaintiffs

 ... did in fact rightfully, reasonably, and justifiably rely on Marketing Defendants’

 representations and/or concealments both directly and indirectly ...” (R. 514 at ¶1081) and

 “proceeded under the misapprehension that the opioid crisis was simply a result of conduct by

 persons other than Defendants [and] [a]s a consequence, these Defendants prevented Plaintiffs

 from a more timely and effective response to the opioid crisis” (id. at ¶1082). (R. 654, PageID#

 15801). In addition, they argue that Ohio recognizes a theory of recovery based on false

 statements made to third parties that are known or intended to deceive the pleader, i.e.,

         that where a party makes false representations to another with the intent or
         knowledge that they be exhibited or repeated to a third party for the purpose of
         deceiving him or her, the third party can maintain an action in tort against the
         party making the false statements for the damages resulting from the fraud.

 50 Ohio Jur. 3d, Fraud and Deceit § 79 (2018). “The maker of a fraudulent misrepresentation is

 subject to liability for pecuniary loss to another who acts in justifiable reliance upon it if the

 misrepresentation, although not made directly to the other, is made to a third person and the

 maker intends or has reason to expect that its terms will be repeated or its substance

 communicated to the other, and that it will influence his conduct in the transaction or type of

 transaction involved.” Restatement of the Law (Torts) § 533 (2018). Plaintiffs also cite to

 authority from the Sixth Circuit and this court recognizing that a prima facie common fraud

 claim is stated based on that theory. See Nernberg v. Pearce, 35 F.3d 247, 250–51 (6th Cir.

 1994) (stating that “[i]t is generally accepted that a plaintiff is not required to prove direct

 reliance on a fraudulent misrepresentation to state a claim for fraud.”); accord Lewis v. Horace

 Mann Ins. Co., 410 F. Supp. 2d 640, 664 (N.D. Ohio 2005) (denying summary judgment and



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 reasoning that reliance may be satisfied where a fraudulent statement or omission becomes

 known to a complainant who acts upon it, even if indirectly communicated by others) (also citing

 Oh. Jur.3d. Ed., Fraud & Deceit § 89, and Lin v. Gatehouse Constr. Co., 616 N.E.2d 519, 524

 (Ohio 1992)). 54

        The Manufacturers are correct in stating that the complaint alleges that they intentionally

 made misrepresentations and omissions to the medical community, patients, and government

 regulators with the intent of inducing reliance. (R. 499-1, PageID# 7703-7704). Their contention

 that this claim fails by not alleging any first-party reliance, however, is not well-taken, as noted

 above. In addition, Plaintiffs also aver that the Manufacturers knowingly set out to convince

 physicians, patients and the public at large that false propositions regarding the safety and

 efficacy of opioids were true (R. 514, e.g., ¶¶177-178, 1076-1078); issued press releases falsely

 minimizing the risks of addiction and abuse potential of the drugs (id. e.g., ¶¶190, 340-341); and

 in public outreach and pronouncements, falsely portrayed their compliance with regulatory

 obligations, cooperation with law enforcement, and commitment to preventing diversion (id. e.g.,

 ¶¶595-98, 601-606). The complaint further alleges:

        Defendants also concealed from Plaintiffs the existence of Plaintiffs’ claims by
        hiding their lack of cooperation with law enforcement and affirmatively seeking
        to convince the public that their legal duties to report suspicious sales had been
        satisfied through public assurances that they were working to curb the opioid
        epidemic. They publicly portrayed themselves as committed to working diligently

 54
    The cases that defendants cite, as plaintiffs note, are distinguishable because there was a lack
 of evidence supporting reliance. See Lucarell, 97 N.E.3d at 473-474 (finding that plaintiff “failed
 to prove that any fraudulent representation had been made to her” where fraud claim was based
 on misrepresentation made by defendant to lender to induce lender to approve plaintiff’s
 business loan); Mike McGarry & Sons, Inc. v. Constr. Res. One, LLC, 2018-Ohio-528, ¶ 78-79
 (Ohio Ct. App. Feb. 9, 2018) (reversing denial of summary judgment, reasoning that fraud claim
 could not be maintained where party presented no evidence that it took action in reliance on the
 allegedly false statement).



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        with law enforcement and others to prevent diversion of these dangerous drugs
        and curb the opioid epidemic, and they made broad promises to change their ways
        insisting they were good corporate citizens. These repeated misrepresentations
        misled regulators, prescribers and the public, including Plaintiffs, and deprived
        Plaintiffs of actual or implied knowledge of facts sufficient to put Plaintiffs on
        notice of potential claims.

 Id. at ¶772. These allegations support a reasonable inference that these Defendants intended to

 induce Plaintiffs to rely on their false assurances and omissions in order to deter potential

 liability for injuries such as those alleged in the complaint. Based on the foregoing, a genuine

 dispute of fact exists as to whether Plaintiffs’ justifiably relied on alleged fraudulent statements

 and omissions, and it is not appropriately decided on a motion to dismiss.

 I. Count Nine: Injury Through Criminal Acts

        In Count Nine, Plaintiffs seek relief against all Defendants for injury through criminal

 acts pursuant to O.R.C. § 2307.60(A)(1), which states:

        Anyone injured in person or property by a criminal act has, and may recover full
        damages in, a civil action unless specifically excepted by law, may recover the
        costs of maintaining the civil action and attorney’s fees if authorized by any
        provision of the Rules of Civil Procedure or another section of the Revised Code
        or under the common law of this state, and may recover punitive or exemplary
        damages if authorized by section 2315.21 or another section of the Revised Code.

 O.R.C. § 2307.60(A)(1). 55 Defendants argue that the vast majority of courts have held that “a

 conviction for the alleged predicate criminal act” is required before a cause of action accrues. (R.

 499-1, PageID# 7704; R. 497-1, PageID# 7614). 56 Defendants maintain that Plaintiffs have

 failed to allege the requisite criminal conviction against any of them and, therefore, their claims



 55
    Defendants acknowledge the lone exception is inapplicable. (R. 499-1, PageID# 7704).
 56
   Citing Jane v. Patterson, 2017 WL 1345242, at *4 (N.D. Ohio Apr. 12, 2017); A.A. v. Otsego
 Local Sch. Bd. of Educ., 2016 WL 7387261, at *9 (N.D. Ohio Dec. 21, 2016); Ortiz v. Kazimer,
 2015 WL 1400539, at *12 (N.D. Ohio Mar. 26, 2015), aff’d, 811 F.3d 848 (6th Cir. 2016); Tri-
 State Comp. Exch., Inc. v. Burt, 2003 WL 21414688, at *6 (Ohio Ct. App. June 20, 2003).


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 must be dismissed. Id. Conversely, Plaintiffs contend that the cases upon which Defendants rely

 are irreconcilable with a 2016 decision from the Supreme Court of Ohio—Jacobson v. Kaforey,

 75 N.E.3d 203 (Ohio 2016). (R. 654, PageID# 15802-15805). Therein, the Ohio Supreme Court

 held that:

         R.C. 2307.60(A)(1), by its plain and unambiguous terms, creates a statutory cause
         of action for damages resulting from any criminal act. The wording chosen by the
         Ohio General Assembly is explicit: any person “injured * * * by a criminal act
         has * * * a civil action” unless a civil action “is specifically excepted by law.”
         (Emphasis added.) R.C. 2307.60(A)(1).

 Jacobson, 75 N.E.3d at 206 (emphasis in original). A few weeks before Jacobson, a decision

 from this district found that “Ohio Rev. Code § 2307.60(A)(1) clearly authorizes a civil action

 for damages for anyone injured by a criminal act, regardless of whether any person has pleaded

 guilty to or been convicted of a criminal offense.” Chem. Bank v. Kausmeyer, 2016 WL

 7178662, at *7 (N.D. Ohio Dec. 9, 2016) (Pearson, J.) (citing Cuyahoga Hts. Local School Dist.

 v. Palazzo, 2016 WL 4037309 (Ohio Ct. App. July 28, 2016)). In addition, a recent decision

 from this district observed that O.R.C. § 2307.60 authorizes a civil action for damages caused by

 criminal acts, noting:

         Interestingly, in 2007, the Ohio General Assembly amended ORC § 2307.60 to
         create a presumption of civil liability when the defendant had been convicted of a
         criminal violation. Am. Sub. S.B. 117. Had the General Assembly wanted to
         make a criminal conviction a condition precedent to establishing an ORC §
         2307.60 claim, they presumably could have done so. However, the creation of this
         presumption does not conclusively establish that a conviction is not required for
         civil liability.

         Accordingly, the Court will deny the motion to dismiss at this time. Defendants
         may renew their challenge in the form of a motion for summary judgment after
         discovery and further research.

 Buddenberg v. Weisdack, 2018 WL 3159052, at *5-6 (N.D. Ohio June 28, 2018) (Polster, J.)

 (emphasis in original).


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        Given that Defendants, as the moving party, bear the burden of demonstrating that

 Plaintiffs fail to state a claim, dismissal cannot be recommend at this time, especially given the

 not unreasonable inference from the Ohio Supreme Court’s Jacobson decision that a conviction

 may not be a necessary prerequisite.

        The Pharmacies also assert that Plaintiffs have not alleged any “injur[y]” to their “person

 or property” pursuant to O.R.C. § 2307.60(A)(1). (R. 497-1, PageID# 7615). They allege O.R.C.

 § 2307.60(A)(1) does not provide for recovery for purely economic loss, but cite no authority in

 support of this proposition, and the statute itself does not contain such an express limitation. Id.

 The only case cited by the Pharmacies is inapposite. See Pavlovich, 435 F.3d at 569 (“Under

 Ohio law, “[t]he economic-loss rule generally prevents recovery in tort of damages for purely

 economic loss.”) (emphasis added). The Pavlovich decision contains no discussion concerning a

 statutory action brought under O.R.C. § 2307.60(A)(1), and Defendants cite no other authority

 suggesting claims arising under that section should be construed identically to tort claims.

        Finally, the Pharmacies argue that they are “specifically excepted by law” from liability

 under § 2307.60, by virtue of O.R.C. §§ 2925.02(B), 2925.03(B). (R. 497-1, PageID# 7615).

 Defendants fail to meaningfully develop this argument. The complaint alleges that Defendants

 are not in compliance with multiple provisions of the Revised Code rendering any exceptions

 unavailable. (R. 514 at ¶¶1095-1097). The Pharmacies protest that “such unsupported and

 generic legal conclusions should be disregarded.” (R. 497-1, PageID# 7615). This statement

 cannot be credited, as Plaintiffs’ assertions or conclusions, as Defendants phrase it, cannot be

 construed in a vacuum ignoring the other voluminous allegations in the complaint that support

 the conclusion. To the extent Defendants merely reiterate the safe harbor argument addressed

 above, it fails for the same reasons.


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 J. Count Ten: Unjust Enrichment

        In Count Ten, Plaintiffs assert an unjust enrichment claim against all Defendants. (R.

 514, PageID# 11235). The following elements comprise a valid unjust enrichment cause of

 action: “(1) a benefit conferred by a plaintiff upon a defendant; (2) knowledge by the defendant

 of the benefit; and (3) retention of the benefit by the defendant under circumstances where it

 would be unjust to do so without payment.” Hambleton v. R.G. Barry Corp., 465 N.E.2d 1298

 (Ohio 1984) (internal quotations omitted). Plaintiffs allege that they conferred a benefit upon

 Defendants “by paying for Defendants’ externalities: the cost of the harms caused by

 Defendants’ improper distribution practices,” and that retention of that benefit would be unjust.

 (R. 514 at ¶¶1114-1115; 1108-1121).

        The Defendants assert that Plaintiffs do not properly allege that they conferred a benefit

 upon them. (R. 491-1, PageID# 7519-7522; R.497-1, PageID# 7612; R. 499-1, PageID# 7705-

 7706). The Distributors argue that under Ohio law, “[i]t is not enough that a plaintiff suffers a

 loss and defendant receives a benefit; rather, ‘a plaintiff must establish that a benefit has been

 conferred upon that defendant by that particular plaintiff.’” (R. 491-1, PageID# 7520-21)

 (quoting Ohio Edison Co. v. Direct Energy Bus., LLC, 2017 WL 3174347, at *3 (N.D. Ohio July

 26, 2017) (emphasis in original); Bihn v. Fifth Third Mortg. Co., 980 F. Supp. 2d 892, 904 (S.D.

 Ohio 2013)). Moreover, the Distributors construe Johnson v. Microsoft Corp., 834 N.E.2d 791,

 799 (Ohio 2005) and its progeny to announce a “rule of law” holding that unjust enrichment

 claims may only be sustained if they arise from an economic transaction between the parties. 57

 (R. 491-1, PageID# 7520-21; R. 744, PageID# 17675-17676).


 57
    The Manufacturers raise this same argument, citing Randleman v. Fid. Nat’l Title Ins. Co., 465
 F. Supp. 2d 812, 824 (N.D. Ohio 2006) in support. (R. 499-1, PageID# 7706).


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        Plaintiffs assert Ohio Edison is distinguishable, arguing that this case does not raise the

 same concerns—namely, an inability to allocate benefits and losses where multiple actors bought

 and sold from each other in a complicated market. They also argue that Johnson “is even farther

 afield” because its concern was that indirect purchasers would invoke unjust enrichment to

 accomplish an end-run around antitrust laws limiting recovery to direct purchasers. According to

 Plaintiffs, the reasoning does not mandate the same privity in this case. (R. 654, PageID# 15808).

 In the present action, Plaintiffs’ theory of recovery is not based on a financial transaction,

 therefore the claim is not barred by Johnson’s limiting indirect purchasers from maintaining

 unjust enrichment claims against parties other than those with whom they dealt with directly.

 Johnson, 834 N.E.2d at 799.

        Further, the Pharmacies argue that the alleged expenditures did not save them any

 expense or loss, but rather the money benefited Plaintiffs’ residents by increasing healthcare

 services and addiction treatment for opioid users. City & Cty. of San Francisco v. Philip Morris,

 Inc. 957 F. Supp. 1130 (N.D. Cal 1997) (finding that the City could not recover the costs of

 providing medical care to indigent smokers where there was no allegation that defendant tobacco

 company had a duty to cover those costs and plaintiff did not show that defendant was enriched);

 Ashley Cty., Ark. v. Pfizer, Inc., 552 F.3d 659, 666 (8th Cir. 2009) (explaining that Arkansas law

 only implies a contract to pay for services when they were rendered in expectation of payment

 from a defendant, and finding that plaintiff had no expectation that the defendant drug

 manufacturer would pay for municipal services provided in dealing with the methamphetamine

 crisis). (R. 497-1, PageID# 7612; R. 742, PageID# 17617).

        Plaintiffs assert that “[u]njust enrichment arises not only where an expenditure by one



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 party adds to the property of another but also where the expenditure saves the other from expense

 or loss.” (R. 654, PageID # 15806-15807, quoting White v. Smith & Wesson, 97 F. Supp. 2d 816,

 829 (N.D. Ohio 2000) (Nugent, J.)). Therein, the court found that a municipal plaintiff

 adequately plead an unjust enrichment claim where it was alleged that plaintiff “conferred a

 benefit upon Defendants, i.e., that the City paid for what may be called the Defendants’

 externalities—the costs of the harm caused by Defendants’ [conduct].”). 58 Id. Courts applying

 White’s analysis have arrived at the same result. See, e.g., City of Los Angeles v. Wells Fargo &

 Co., 22 F. Supp. 3d 1047, 1061 (C.D. Cal. 2014) (citing White and finding a sufficient restitution

 theory where plaintiff alleged the benefits conferred were “externalities—the costs of harm

 caused by Defendants’ discriminatory lending that the City has had to shoulder”); City of Los

 Angeles v. Bank of Am. Corp., 2014 WL 2770083, at *12–13 (C.D. Cal. June 12, 2014) (finding

 a valid claim for unjust enrichment where plaintiff alleged that the defendants’ predatory lending

 resulted in their enrichment at plaintiffs’ expense, which paid for defendants’ “externalities, or

 costs of harm caused by its mortgage lending discrimination”); City of Boston, 2000 WL

 1473568, at *18 (finding plaintiffs stated a claim for unjust enrichment by alleging that they

 “conferred a benefit upon Defendants by paying for the costs of the harm caused by Defendants’

 conduct (“externalities”)”). 59


 58
    Because the Plaintiffs theory of recovery is not based on an economic transaction, the
 Distributors assertion that White was “effectively overruled” by Johnson does not follow. (R.
 744, PageID# 17676).
 59
    Plaintiffs also note that potential recovery under unjust enrichment and restitution theories are
 recognized where third parties have assumed costs of pollution remediation necessitated by
 defendant activities. See, e.g., Little Hocking Water Ass'n, Inc. v. E.I. du Pont Nemours & Co.,
 91 F. Supp. 3d 940, 985-986 (S.D. Ohio 2015) (observing that unjust enrichment may serve as an
 alternative theory of recovery where actual damages are too difficult to determine, but it would
 be unjust to allow the defendant to benefit from the savings it enjoyed without payment to the
 plaintiff) (citing cases). (R. 654, PageID # 15807-08).


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        Distributors also argue that the complaint fails to plead that they had “knowledge” of the

 claimed benefit allegedly bestowed upon them, maintaining that alleging that “Defendants were

 aware of these obvious benefits ….” (R. 514, ¶1115) is too vague and conclusory to state the

 element. (R. 491-1, PageID# 7521). An identical allegation has been recognized by this court as

 adequately supporting the unjust enrichment element of knowledge at the pleading stage. White,

 97 F. Supp. 2d at 829. Distributors further argue that no injustice occurred because Plaintiffs are

 responsible for the alleged social service expenditures, but cite no authority for that proposition.

 (R. 491-1, PageID# 7522). Conversely, the White decision rejected a similar argument noting

 that “Defendants fail to cite a single case from Ohio that even comes close to advocating [the]

 view” that a municipality should be prohibited from recovering “for all governmental functions,

 such as police, medical, fire and emergency services, and other related expenditures, because

 these are the kinds of traditional services and functions that a municipality is expected to provide

 and which are most efficiently and fairly spread among the public.” 97 F. Supp. 2d at 821-822

 (internal quotations omitted). Here, the complaint pleads that the costs Plaintiffs assumed “are

 not part of the normal and expected costs of a local government’s existence,” and that

 “Defendants’ alleged wrongful acts are neither discrete nor of the sort a local government can

 reasonably expect.” (R. 514, ¶¶1118-1119).

        Finally, the Defendants contend the claim should be dismissed, arguing they are

 derivative of Plaintiffs’ other claims, and would permit “‘an end run around policies’ barring a

 plaintiffs’ other failed claims.” (R. 491-1, PageID# 7519-7520, citing Johnson, 834 N.E.2d at

 799; R. 499-1, PageID# 7705). While that proposition is correct, the propriety of any application




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 to this case would be determined at a later stage of these proceedings. In addition, multiple

 causes of action based on the same conduct may be asserted alternatively. PCA Minerals, LLC v.

 Merit Energy Co., LLC, 725 F. App'x 342, 349 (6th Cir. 2018) (“nothing prohibits a plaintiff from

 pleading multiple claims when there are…multiple theories…that are legally viable and

 consistent with the facts; where a plaintiff has a contract claim, tort claim, and a claim for

 statutory violation, all may be pled”); Hutchings v. Nationstar Mortg. LLC, 2013 WL 5670939

 (N.D. Ohio Oct. 16, 2013) (“[A] plaintiff is not precluded from arguing or pursuing multiple

 theories in the alternative throughout the course of the litigation.”); Auto Chem Labs., Inc. v.

 Turtle Wax, Inc., 2008 WL 4372697, at *15 (S.D. Ohio Sept. 23, 2008) (“[A] party may plead

 alternative causes of action for the same matter, but may only prevail under one or the other.”).

        Based on the alleged facts in this case, Plaintiffs state a facially plausible unjust

 enrichment claim on the theory that they conferred a benefit upon all Defendants by alleging that

 they paid for the cost of harm caused by the defendant’s conduct, i.e., the defendant’s

 externalities. See, e.g., City of Everett v. Purdue Pharma L.P., 2017 WL 4236062, *9 (W.D.

 Wash. Sept. 25, 2017) (finding that plaintiffs’ unjust enrichment claim based on their payment of

 the “so called externalities” of a defendant’s conduct was not facially implausible). Accordingly,

 it is recommended that the court deny the motions to dismiss Count Ten of the complaint.

 K. Count Eleven: Civil Conspiracy

        Count Eleven of the complaint alleges a civil conspiracy claim against all Defendants. (R.

 514, PageID# 11237). “An underlying unlawful act is required before a civil conspiracy claim

 can succeed.” Williams v. Aetna Fin. Co., 700 N.E.2d 859, 868 (Ohio 1998). “Conspiracy in and

 of itself does not normally establish a basis for recovery in a civil action in Ohio; rather, there

 must be an actionable wrong committed as a result of the conspiracy.” Glassner v. R.J. Reynolds


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 Tobacco Co., 223 F.3d 343, 354 (6th Cir. 2000) (quoting NPF IV, Inc., v. Transitional Health

 Servs., 922 F. Supp. 77, 83 (S.D. Ohio 1996)); Hale v. Enerco Grp., Inc., 2011 WL 49545, at *5

 (N.D. Ohio Jan. 5, 2011) (reciting the elements of a cognizable conspiracy claim as “(1) a

 malicious combination; (2) two or more persons; (3) injury to person or property; and (4)

 existence of an unlawful act independent from the actual conspiracy”) (citation and internal

 quotation marks omitted).

        1. Unlawful Acts

        Defendants argue that the cause of action should be dismissed “for failure to allege any

 actionable underlying tort” or an “underlying unlawful act.” (R. 491-1, PageID# 7524; R. 497-1,

 PageID# 7613; R. 499-1, PageID# 7706-7708). With respect to the Manufacturers, as addressed

 above, Plaintiffs have sufficiently pled a claim for fraud—an intentional tort. In Williams, the

 Ohio Supreme Court found that the evidence supported a finding of a civil conspiracy where the

 defendants committed a fraud upon the plaintiff. 700 N.E.2d at 869. With respect to the other

 Defendants, Plaintiffs also note that under Ohio law, “the unlawful acts of any one member of

 the conspiracy will satisfy the underlying unlawful act requirement”. (R. 654, PageID# 15814,

 quoting Hale, 2011 WL 49545, at *5 (citations and internal quotation marks omitted); Williams,

 700 N.E.2d 868 (“[i]n a conspiracy, the acts of co-conspirators are attributable to each other.”)).

 They contend that the complaint, moreover, alleges facts demonstrating that each Defendant

 engaged in unlawful acts supporting the causes of action therein. With the exception of the

 negligence claim, each of Plaintiffs’ claims is based on alleged wrongful acts pursued

 “purposely, without a reasonable or lawful excuse” and therefore may serve to fulfill the

 underlying unlawful act element. See Williams, 700 N.E.2d at 868. Thus, the statutory public

 nuisance, Ohio RICO, and injury through criminal acts claims would also suffice.


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        2. Conspiratorial Agreement

        Likewise, the Defendants’ arguments that a conspiratorial agreement or malicious

 combination has not been alleged is not well taken. (R. 491-1, PageID# 7522-7524; R. 497-1,

 PageID# 7613-7614; 499-1, Page ID#7707). Pleading the existence of a malicious conspiracy

 requires “only a common understanding or design, even if tacit, to commit an unlawful act.”

 Gosden v. Louis, 687 N.E.2d 481, 496-98 (Ohio Ct. App. 1996). “All that must be shown is that

 … the alleged coconspirator shared in the general conspiratorial objective ....” Aetna Cas. & Sur.

 Co. v. Leahey Const. Co., Inc., 219 F.3d 519, 538 (6th Cir. 2000) (citation and internal quotation

 marks omitted). Direct evidence of an express agreement to undertake unlawful activity is rare

 and not required; a party may rely on circumstantial evidence to prove the claim. Weberg v.

 Franks, 229 F.3d 514, 528 (6th Cir. 2000). The complaint alleges,

        Defendants conduct in furtherance of the conspiracy described herein was not
        mere parallel conduct because each Defendant acted directly against their
        commercial interests in not reporting the unlawful distribution practices of their
        competitors to the authorities, which they had a legal duty to do. Each Defendant
        acted against their commercial interests in this regard due to an actual or tacit
        agreement between the Defendants that they would not report each other to the
        authorities so they could all continue engaging in their unlawful conduct.

 (R. 514 at ¶1130, see also ¶¶552-553, 764-766). Plaintiffs note that conduct against economic

 self-interest is recognized as a “plus factor” that may support the plausibility of alleged

 conspiratorial behavior. (R. 654, PageID# 15812, citing In re Polyurethane Foam Antitrust

 Litig., 152 F. Supp. 3d 968, 989 (N.D. Ohio 2015)). Furthermore, the complaint alleges that

 Defendants worked together to manipulate quotas (R. 514 at e.g. ¶¶526-528, 548, 550), and that

 their failure to comply with diversion prevention obligations (id., e.g., ¶¶551-553, 565-566, 611-

 619) were mutually beneficial to all Defendants in the scheme to expand the opioid market (id.,

 e.g. ¶¶760-766). The court has also discussed above the many allegations that the three sets of


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 Defendants acted in concert and need not repeat those discussions here. Although Defendants

 fault Plaintiffs for not pleading with pinpoint accuracy, it is alleged that Defendants’ activities

 were clandestine and hidden from the public. Prior to discovery, such precision cannot

 reasonably be expected, and Defendants’ position goes well beyond the Twombly and Iqbal

 pleading requirements. Defendant’s motion to dismiss Count Eleven should, therefore, be

 denied.

 L. Statewide Concern Doctrine

           The Manufacturers and Distributors argue that Plaintiffs’ claims should be dismissed

 under the “statewide concern” doctrine, which “is a fundamental principle of Ohio law that… a

 municipality may not, in the regulation of local matters, infringe on matters of statewide

 concern.” Reading v. Pub. Util. Comm., 846 N.E.2d 840, 845-46 (Ohio 2016) (quoting State ex

 rel. Evans v. Moore, 431 N.E.2d 311 (Ohio 1982) (prevailing-wage law superseded local wage

 regulation)); see also State ex rel. Villari v. Bedford Hts., 465 N.E.2d 64 (Ohio 1984)

 (calculation of employee benefits), overruled on other grounds, State ex rel. Adkins v. Sobb, 496

 N.E.2d 994 (Ohio 1986) (vacation-leave credits); Cleveland Elec. Illum. Co. v. Painesville, 239

 N.E.2d 75 (Ohio 1968) (transmission of electricity through high-voltage lines); State ex rel.

 McElroy v. Akron, 181 N.E.2d 26 (Ohio 1962) (licensing of watercraft). Defendants cite Ohio

 Supreme Court cases recognizing the general doctrine, but have not cited any Ohio authority

 holding that the doctrine applies to preclude lawsuits brought to vindicate rights under federal or

 state law. For instance, in JP Morgan, an Ohio appellate court refrained from making any ruling

 on that ground, offering only dicta to suggest that litigation might, under certain circumstances,

 constitute regulation. 2013 WL 1183332, at *6 (“The existence of regulation should not, itself,

 preclude [a nuisance] cause of action. This will often require more evidentiary development than


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 available when ruling on a motion to dismiss.”)

        Plaintiffs argue that Ohio’s Home Rule Amendment allows a sphere of joint authority

 where local regulation of police powers can co-exist with state regulation in general matters so

 long as the local regulation does not conflict with state law. Ohio Const. Art. XVIII, § 3;

 American Financial Service Ass’n v. Cleveland, 858 N.E.2d 776, 784 (Ohio 2005). Plaintiffs

 assert that they possess police powers, including the power to “adopt and enforce local health

 and safety measures” in order to “protect the public health, safety, or morals, or the general

 welfare of the public.” See Marich v. Bob Bennett Constr. Co., 880 N.E.2d 906, 911 (Ohio

 2008). Therefore, Plaintiffs argue that this litigation presents no conflict with state law.

        The Ohio Supreme Court has explained that even where the doctrine applies, it does not

 trump the state constitutional authority of municipalities to enact legislation pursuant to the

 Home Rule Amendment, provided that the local legislation is not in conflict with general laws.

 American Financial Services, on which Defendants rely, explains that “the Ohio Constitution’s

 home-rule provision protects municipalities’ authority to govern themselves, and it provides

 municipalities some authority to control local health and safety matters when the exercise of that

 authority does not conflict with general laws.” 858 N.E.2d at 784. To determine whether an

 ordinance is in ‘conflict’ with general laws, “the test is whether the ordinance permits or licenses

 that which the statute forbids and prohibits, and vice versa.” Id. The only such conflicts

 Defendants mention are with the Ohio Attorney General’s lawsuit over the opioid crisis and

 Distributors’ unexplained citation to O.R.C. §4729.01. (R. 499-1, PageID# 7662; R. 491-1,

 PageID# 7515). Defendants argue that if both of these suits proceed, they would impermissibly

 split the claims at issue and “risk inconsistent rulings and duplicative recoveries….” (R. 499-1,

 PageID# 7662). Defendants, however, have identified no Ohio Supreme Court authority holding


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  that, in such context, the statewide concern doctrine bars locally-originated municipal or county

  lawsuits seeking to remedy alleged injuries within their borders. Dismissal, therefore, is

  unwarranted.

  M. Article III Standing

         The Pharmacies move to dismiss to the complaint on the ground that Plaintiffs lack

  standing under Article III of the U.S. Constitution. (R. 497-1, PageID# 7595-7598). Article III

  standing requires: (1) an “injury in fact” (2) that is “fairly traceable to the challenged actions of

  the defendant, and not the result of the independent action of some third party not before the

  court” and (3) that is “likely to be redressed by the requested relief.” Bank of Am. Corp. v. City of

  Miami, 137 S. Ct. 1296, 1302 (2017); Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

  The Pharmacies assert that Plaintiffs have not suffered an “injury in fact” but only a “generalized

  grievance” and that Plaintiffs’ injury is not “fairly traceable” to the Pharmacies’ conduct. (R.

  497-1, PageID# 7596-7597). They do not contest the third element.

         1. Injury in Fact

         For purposes of Article III standing, an injury cannot be based on a “generalized

  grievance” that “no more directly and tangibly” affects the plaintiff “than it does the public at

  large.” Lujan, 504 U.S. 555 at 574-575. Cases assessing “generalized grievances” typically

  involve citizens challenging the propriety of governmental action. Id. at 573, 576. The cases the

  Lujan court used to illustrate what is meant by “generalized grievance” involved taxpayer

  lawsuits—not suits brought by governmental entities. See, e.g., Valley Forge Christian Coll. v.

  Ams. United for Separation of Church and State, Inc., 454 U.S. 464, 474 (1982) (no standing

  where taxpayer sued Department of Health, Education and Welfare for allegedly discounted

  conveyance of government property to a Christian college); U.S. v. Richardson, 418, U.S. 166


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  (1974) (holding taxpayers’ challenge to the government’s failure to disclose CIA expenditures

  was a “generalized grievance”). Lujan itself involved a suit by an environmental advocacy

  organization challenging a rule promulgated by the Secretary of the Interior, ruling that plaintiffs

  had alleged an injury to the species in question, but not to themselves. 504 U.S. 555 at 577-578.

         The Defendants rely on Richardson and Coyne v. American Tobacco Co., 183 F.3d 488

  (6th Cir. 1999) to support their conclusion that Plaintiffs allege only a generalized grievance. (R.

  497-1, PageID# 7596). In Coyne, two Ohio local officials sued tobacco companies as private

  citizens—not in their representative capacities—alleging that the tobacco companies had caused

  the State of Ohio to expend public funds on health care costs caused by tobacco-related illnesses.

  Id. at 491. The Sixth Circuit held that these plaintiffs had asserted harms that affected the State

  as a whole and thus had only asserted a generalized grievance. The Pharmacies argue that

  Plaintiffs’ alleged harms are like those in Coyne.

         The court is not persuaded that Plaintiffs have alleged only a “generalized grievance.”

  The plaintiffs in Coyne, Lujan, Richardson, and Valley Forge Christian College lacked standing

  because, as taxpayers, their harms were no different from those of all taxpayers. This is not the

  case here. Plaintiffs’ allegations of extraordinary increases in public expenditures on hospitals,

  law enforcement, emergency and first responders, treatment of infants born with opioids-related

  medical conditions, and the criminal justice system constitute injury in fact. (R. 514 at ¶948).

         2. Fairly Traceable

         The Sixth Circuit has recently addressed the “fairly traceable” prong of the Article III

  standing test, explaining that it is a lower standard than proximate cause. Parsons v. U.S. Dep’t

  of Justice, 701 F.3d 801 (6th Cir. 2015). The Parsons court noted that “even an attenuated line of

  causation to the eventual injury” would suffice. Id. at 713; United States v. Students Challenging


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  Regulatory Agency Procs. (SCRAP), 412 U.S. 669, 688 (1973). The court explained that

  causation in this context “means more than speculative, but less than but-for.” Parsons, 801 F.3d

  at 714. In short, so long as the causal link is more than merely speculative, a plaintiff’s injuries

  will be deemed fairly traceable to the actions of the defendant.

          The Pharmacies argue that any link between Plaintiffs’ alleged harm and their own

  alleged failure to monitor and report suspicious orders is wholly speculative and does not meet

  even the relaxed standard of causation associated with the “fairly traceable” requirement for

  Article III standing. Plaintiffs have alleged that all Defendants, including the Pharmacies, failed

  to monitor, report, and prevent the diversion of prescription opioids and that this failure has

  caused Plaintiffs to incur extraordinary municipal costs. (R. 514 at ¶¶555-556, 579-606, 607-659,

  934). The court finds these allegations are sufficient. Because Plaintiffs have plausibly pleaded

  an injury in fact that is fairly traceable to the actions of Defendants, the claim that Plaintiffs lack

  Article III standing to bring this action should be denied.



                                             IV. Conclusion

          After fully considering the second amended complaint and the memoranda in support and

  against dismissal, it is recommended that the Manufacturers’, Distributors’ and Pharmacies’

  separate Motions to Dismiss (R. 491, R. 497, R. 499) be GRANTED in part and DENIED in

  part. Specifically, it is recommended that the motions be GRANTED with respect to the common

  law absolute public nuisance claim contained in Count Six, and GRANTED with respect to the




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  City of Akron’s statutory public nuisance claim in Count Five to the extent it is based on

  violations of Ohio or federal drug laws, or the rules of the board of pharmacy. In all other

  respects, it is recommended that the motions be DENIED.

                                                s/ David A. Ruiz
                                                David A. Ruiz
                                                United States Magistrate Judge

  Date: October 5, 2018



                                          OBJECTIONS
         Any objections to this Report and Recommendation must be filed with the Clerk of
  Courts within fourteen (14) days after the party objecting has been served with a copy of
  this Report and Recommendation. 28 U.S.C. § 636(b)(1); Local Rule 72.3(b). Failure to file
  objections within the specified time may waive the right to appeal the district court’s order.
  See United States v. Walters, 638 F.2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140
  (1985), reh’g denied, 474 U.S. 1111 (1986).




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